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                                              No. 24-12217-FF

             IN THE UNITED STATES COURT OF APPEALS
                    FOR THE ELEVENTH CIRCUIT
               ________________________________________

                               STATE OF FLORIDA, ET AL.,
                                                  Plaintiffs-Appellants,
                                          V.

              CENTERS FOR MEDICARE AND MEDICAID
                          SERVICES, ET AL.,
                                            Defendants-Appellees.
               ________________________________________
                On Appeal from the United States District Court
                      for the Middle District of Florida
                      Case No. 8:24-cv-317-WFJ-AAS
                _________________________________________________________________________________________________


                                                   APPENDIX
                _________________________________________________________________________________________________




Ashley Moody                                                         R. Trent McCotter
 Attorney General                                                    Jared M. Kelson
Henry C. Whitaker                                                      Counsel of Record
 Solicitor General                                                   BOYDEN GRAY PLLC
Natalie Christmas                                                    800 Connecticut Ave NW, Suite 900
 Counselor to the Attorney General                                   Washington, DC 20006
 Counsel of Record                                                   202-955-0620
                                                                     jkelson@boydengray.com
FLORIDA OFFICE OF THE ATTORNEY
  GENERAL                            Andrew T. Sheeran
The Capitol, Pl-01                    General Counsel
Tallahassee, Florida 32399-1050      FLORIDA AGENCY FOR HEALTH
(850) 414-3300                        CARE ADMINISTRATION
Natalie.Christmas@myfloridalegal.com 2727 Mahan Drive, Mail Stop #3
                                     Tallahassee, Florida 32308
Counsel for State of Florida         Andrew.Sheeran@ahca.myflorida.com

                                                                     Counsel for Florida Agency for
                                                                     Health Care Administration
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               Attorneys
       USCA11 Case:       Jared M.
                    24-12217        Kelson, R.16TrentDate
                                 Document:            McCotter,  and Laura B. Ruppalt
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               pro hac vice, subject to the requirement that counsel submit their Pro Hae Vice E-File
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                 file them on this docket. Rather, copy each other and copy chambers email with pdf
                 and MSWord versions of same. Signed by Judge William F. Jung on 4/23/2024. (Jung,
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                 JUNG. Court Reporter/Transcriber: TRACEY AURELIO. Email address:
               tracey
       USCA11 Case:  _aurelio@flmd.uscourts.gov.
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                 NOTICE TO THE PARTIES - The parties have seven (7) calendar days to file with the
                 court a Notice oflntent to Request Redaction of this transcript. If no such notice is filed,
                 the transcript may be made remotely available to the public without redaction after ninety
                 (90) calendar days. Transcript may be viewed at the court public terminal or purchased
                 through the Court Reporter/Transcriber before the deadline for Release of Transcript
                 Restriction. After that date it may be obtained through PACER or purchased through the
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                 IN THE UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

                                Case No. 8:24-cv-317


STATE OF FLORIDA; and FLORIDA
AGENCY FOR HEALTH CARE
ADMINISTRATION,

Plaintiffs,

v.

CENTERS FOR MEDICARE AND
MEDICAID SERVICES; CHIQUITA
BROOKS-LASURE, in her official capacity as
Administrator for the Centers for Medicare and
Medicaid Services; DEPARTMENT OF
HEALTH AND HUMAN SERVICES; and
XAVIER BECERRA, in his official capacity as
Secretary of Health and Human Services,
Defendants.


     COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF

                                 INTRODUCTION

        1.    On June 22, 2023, Governor DeSantis signed into law Florida H.B. 121

to substantially expand the provision of subsidized health insurance to children in the

State of Florida. See An Act Relating to Florida KidCare Program Eligibility, H.B.

121, 2023 Leg. (Fla. 2023). That program, and especially its expansion, depends on

the collection of monthly premiums. The Biden Administration unlawfully seeks to

undermine that requirement and turn the program into a free-for-all, threatening both

its solvency and long-term stability. Those actions threaten Florida’s expansion of the

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program to more children in need.

      2.     The State of Florida has provided subsidized health insurance for more

than three decades to children in low- and moderate-income families who do not

qualify for Medicaid. Since 1998, Florida has administered this insurance as part of

the Children’s Health Insurance Program (“CHIP”), a federal-state partnership under

Title XXI of the Social Security Act, Pub. L. No. 105-33, 111 Stat. 251 (1997).

      3.     As of October 2023, Florida CHIP provides insurance coverage for more

than 119,000 children. Ex.1, Noll Declaration ¶ 3.

      4.     An essential feature of Florida CHIP is its tiered cost-sharing. Families

who elect to enroll at least one child in the program are required to pay a monthly

premium to obtain insurance coverage, currently between $15 and $20 dollars per

month. Failure to pay the monthly premium, after a 30-day grace period, results in

disenrollment. Ex.2, Florida KidCare Program, Amendment FL-22-0034-CHIP,

Amendment to Florida’s Title XXI Child Health Insurance Plan Submitted to the Centers for

Medicare and Medicaid Services (Mar. 11, 2021) (“Fla. CHIP Plan”), at 22–23, 97–98,

176–78.

      5.     These premiums offset program costs, ensure Florida maintains a

balanced budget as required by its state constitution, and preserve Florida CHIP as a

bridge between Medicaid and private insurance rather than an entitlement program.

      6.     Congress has expressly allowed cost-sharing with CHIP participants,

including through the payment of monthly premiums. 42 U.S.C. § 1397cc(e). Congress

has also allowed for the disenrollment of CHIP participants whose premiums are not
                                           2
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paid. Id. § 1397cc(e)(3)(C). The Centers for Medicare and Medicaid (“CMS”), which

administers CHIP for the federal government, has similarly recognized cost-sharing

and disenrollment for nonpayment. 42 C.F.R. §§ 457.342(b), 457.500–.560.

      7.     Florida also offers CHIP participants 12 months of “continuous

eligibility” and has done so voluntarily for almost two decades. Ex.2, Fla. CHIP Plan

at 83, 91–92. With limited exceptions, that means Florida will not revisit the eligibility

determination of CHIP participants during that period, even if their household

incomes increase. CMS regulations have also allowed States to voluntarily offer

continuous eligibility. 42 C.F.R. § 457.342(a). Both have existed alongside premium

requirements as a condition of enrollment and maintaining CHIP coverage. See id.

§ 457.342(b).

      8.     In late 2023, CMS issued a State Health Official letter (“SHO Letter”),

Ex.3, and Frequently Asked Questions (“FAQs”), Ex.4, notifying States that they

could no longer disenroll participants during periods of continuous eligibility, except

in certain circumstances. The FAQs expressly prohibited disenrollment for

nonpayment of premiums during the continuous eligibility period and announced that

“the existing regulatory option at 42 CFR § 457.342(b)” to do so would “end on

December 31, 2023.” Ex.4, FAQs at 1.

      9.     CMS justified the SHO Letter and FAQs by citing the Consolidated

Appropriations Act, 2023 (“2023 CAA”), in which Congress amended the Social

Security Act to require 12 months of continuous eligibility for any participants found



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eligible for benefits under Medicaid or CHIP. Pub. L. No. 117-328, § 5112, 136 Stat.

4459, 5940 (2022).

      10.    The SHO Letter and FAQs badly misconstrue the 2023 CAA by

incorrectly equating eligibility for CHIP benefits with enrollment in a CHIP plan and

subsequent insurance coverage. Eligibility is the determination that someone qualifies

to participate in CHIP—e.g., meets the State’s income, residency, and age

requirements. Enrollment means the participant is not only eligible but has agreed to

participate in a CHIP plan and will pay the enrollment cost and monthly premiums as

required. A participant can be eligible for CHIP benefits but not enrolled.

      11.    The FAQs are contrary to law. They violate Congress’s express

allowance for “termination of coverage” for a CHIP participant’s “failure to make a

premium payment,” 42 U.S.C. § 1397cc(e)(3)(C)(ii)(I), which was unaffected by the

2023 CAA. They also violate CMS’s own long-existing, and still operative, regulation

expressly permitting disenrollment during a continuous eligibility period, 42 C.F.R.

§ 457.342(b), and fail to provide for programs, like Florida’s, that are statutorily

grandfathered into the federal CHIP. See 42 U.S.C. § 1397cc(a)(3), (d).

      12.    The FAQs also exceed CMS’s authority. The 2023 CAA unambiguously

requires that a child “remain eligible for [CHIP] benefits,” not that the child remain

enrolled in CHIP. 2023 CAA § 5112(a) (emphasis added). Where “the intent of

Congress is clear, . . . the agency must give effect to that clear intent.” In re Gateway

Radiology Consultants, P.A., 983 F.3d 1239, 1255–56 (11th Cir. 2020) (cleaned up).



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      13.    CMS’s new position is also arbitrary and capricious because it lacks a

reasoned explanation, fails to explain adequately CMS’s sudden reversal, and fails to

address States’ considerable reliance interests and grandfathered programs.

      14.    Moreover, though misleadingly labeled “Frequently Asked Questions,”

the FAQs attempt to amend the Code of Federal Regulations, effective December 31,

2023. See Ex.4, FAQs at 1. That final, substantive change to an existing regulation can

only be made through notice-and-comment rulemaking under the Administrative

Procedure Act (“APA”).

      15.    CMS’s fundamental error conflating eligibility and enrollment threatens

the integrity of Florida CHIP, including the more than $30 million collected in

premium payments each year. Ex.1, Noll Declaration ¶ 4. CMS is effectually imposing

an expansion of entitlement benefits for children, requiring the provision of insurance

potentially at no cost for up to 11 months of the year. Florida has declined to expand

many entitlement programs because doing so is not in the interest of the State and its

residents, as it would put a tremendous strain on the provision of services, making it

worse for everyone. Cf. Blase & Gonshorowski, Paragon Health Inst., Resisting the

Wave of Medicaid Expansion: Why Florida           Is Right (Dec. 2023), https://

paragoninstitute.org/wp-content/uploads/2023/12/Resisting-the-Wave-Florida-

Medicaid.pdf. CMS cannot use the 2023 CAA to expand entitlements through the

backdoor. Indeed, CMS undermines the ability of Florida and other States to expand

CHIP to even more children in need.

      16.    The FAQs should be declared unlawful, set aside, and enjoined.
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                                            PARTIES

       17.      Plaintiff Florida is a sovereign state with the authority and responsibility

to protect its sovereign interests, its public fisc, and the health, safety, and welfare of

its citizens.

       18.      Plaintiff Agency for Health Care Administration (“AHCA”) is an agency

and arm of Florida. AHCA administers Florida CHIP under Title XXI of the Social

Security Act.1

       19.      Defendant CMS is the federal agency that oversees federal approval,

oversight, and funding for state CHIPs.

       20.      Defendant Chiquita Brooks-LaSure is the Administrator of CMS. She is

sued in her official capacity.

       21.      Defendant Department of Health and Human Services (“HHS”) is the

parent federal agency of CMS.

       22.      Defendant Xavier Becerra is the Secretary of HHS. He is sued in his

official capacity.

                                    LEGAL STANDARD

       23.      The Administrative Procedure Act (“APA”) “embodies [a] basic

presumption of judicial review,” Abbott Lab’ys. v. Gardner, 387 U.S. 136, 140 (1967),

and requires courts to “hold unlawful and set aside” any agency action that is

“arbitrary, capricious, . . . or otherwise not in accordance with law,” 5 U.S.C.


1
 Plaintiff Florida and Plaintiff AHCA are referred to collectively as “Florida” throughout this Com-
plaint.
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§ 706(2)(A), “in excess of statutory . . . authority,” id. § 706(2)(C), or “without

observance of procedure required by law,” id. § 706(2)(D).

       24.    “Agencies have only those powers given to them by Congress.” West

Virginia v. EPA, 142 S. Ct. 2587, 2609 (2022). Thus, “as mere creatures of statute,”

agencies “must point to explicit Congressional authority justifying their decisions.”

Clean Water Action v. EPA, 936 F.3d 308, 313 n.10 (5th Cir. 2019).

       25.    Agency action also must be “the product of reasoned decisionmaking.”

Motor Vehicle Mfrs. Ass’n of U.S. v. State Farm Mut. Auto Ins. Co., 463 U.S. 29, 52 (1983).

Agencies may not ignore “important aspect[s] of the problem,” id. at 43, or “change

their existing policies” without “provid[ing] a reasoned explanation for the change.”

Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 221 (2016).

       26.    With limited exceptions, “under the APA generally . . . an agency must

afford interested persons notice of proposed rulemaking and an opportunity to

comment.” Florida v. HHS, 19 F.4th 1271, 1286 (11th Cir. 2021); see 5 U.S.C. § 553(c).

The APA’s notice-and-comment requirements apply to, among others, actions that

“effectively amen[d] a prior legislative rule.” Am. Mining Cong. v. Mine Safety & Health

Admin., 995 F.2d 1106, 1112 (D.C. Cir. 1993); see also See Shalala v. Guernsey Mem’l

Hosp., 514 U.S. 87, 100 (1995) (notice-and-comment “rulemaking [is] required” when

an agency “adopt[s] a new position inconsistent with any . . . existing regulations”).

                           JURISDICTION AND VENUE

       27.    This Court has jurisdiction under 5 U.S.C. §§ 701–706, and 28 U.S.C.

§§ 1331, 1346, and 2201.
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      28.    Under the APA, any “final agency action” is subject to judicial review,

and the United States has waived sovereign immunity so long as the plaintiff seeks

only non-monetary relief. 5 U.S.C. §§ 702, 704; Panola Land Buyers Ass’n v. Shuman,

762 F.2d 1550, 1555 (11th Cir. 1985).

      29.    Agency action is “final” when it “mark[s] the consummation of the

agency’s decisionmaking process,” and determines “rights or obligations” or produces

“legal consequences.” Bennett v. Spear, 520 U.S. 154, 178 (1997) (cleaned up).

      30.    The FAQs are final agency action reviewable under the APA. They are

unequivocal in their language and represent the culmination of CMS’s “assess[ment]”

of “how non-payment of premiums intersects with [continuous eligibility] under the

[2023] CAA.” Ex.3, SHO Letter at 4 n.14. They also impose new “obligations” under

CHIP, Bennett, 520 U.S. at 178, because they prohibit Florida from disenrolling

participants who fail to pay their premiums during the continuous eligibility period

and require it to “absorb the costs of unpaid premiums.” Ex.4, FAQs at 2. Moreover,

“‘legal consequences will flow’” from the FAQs, Bennett, 520 U.S. at 178, because

under CMS’s continuous enrollment requirement, States like Florida must alter their

CHIPs, changing the policy balance selected by elected representatives and assuming

the cost of premiums for participants who fail to make payments, or lose federal

funding for operating an allegedly non-compliant program. The FAQs also purport to

amend 42 C.F.R. § 457.342(b), itself a legislative rule that authorizes the very conduct

CMS has prohibited.



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       31.    Venue is proper under 28 U.S.C. § 1391(e)(1) because an agency of the

United States is a Defendant, and Florida is a resident of every judicial district and

division in its sovereign territory, including this judicial district and division. See

Florida v. United States, No. 3:21-cv-1066, 2022 WL 2431443, at *2 (N.D. Fla. Jan. 18,

2022) (“It is well established that a state ‘resides at every point within its boundaries.’”

(alteration omitted) (quoting Atlanta & F.R. Co. v. W. Ry. Co. of Ala., 50 F. 790, 791 (5th

Cir. 1892))); see also California v. Azar, 911 F.3d 558, 569–70 (9th Cir. 2018) (“[A] state

with multiple judicial districts ‘resides’ in every district within its borders.”); Utah v.

Walsh, No. 2:23-CV-016-Z, 2023 WL 2663256, at *3 (N.D. Tex. Mar. 28, 2023)

(“Texas resides everywhere in Texas.”); Alabama v. U.S. Army Corps of Eng’rs, 382 F.

Supp. 2d 1301, 1329 (N.D. Ala. 2005) (“[C]ommon sense dictates that a state resides

throughout its sovereign borders.”).

                             FACTUAL BACKGROUND

Federal CHIP

       32.    In 1997, Congress established CHIP under Title XXI of the Social

Security Act to offer health insurance to “targeted low-income children” and certain

other uninsured individuals who do not qualify for health insurance under Medicaid.

42 U.S.C. §§ 1397aa, 1397bb. CHIP is designed as a cooperative effort between States

and the federal government. Each State develops and administers its own CHIP, and

the federal government provides supplemental funding to help defray the program’s

costs. See 42 U.S.C. §§ 1397aa–1397mm.



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      33.    To obtain federal reimbursement for CHIP expenditures, a State’s CHIP

must generally comply with federal standards. Id. § 1397ff(a), (d)(2). States must

therefore submit their CHIP plans to CMS for approval, and States must operate their

programs in accordance with an approved plan. Id. § 1397ff(a)(1), (d)(1).

      34.    States have considerable flexibility to implement CHIPs that best serve

their residents. For example, Title XXI permits States to select the standards they use

“to determine the eligibility of targeted low-income children,” including standards

“relating to the geographic areas to be served by the plan, age, income and resources

. . . , residency, disability status (so long as any standard relating to such status does

not restrict eligibility), access to or coverage under other health coverage, and

duration of eligibility.” Id. § 1397bb(b)(1)(A); 42 C.F.R. § 457.320(a). States may not,

however, impose eligibility standards that favor children with higher family incomes,

“deny eligibility based on . . . a preexisting medical condition,” or “apply a waiting

period” for certain coverage. 42 U.S.C. § 1397bb(b)(1)(B); 42 C.F.R. § 457.320(b).

      35.    A child determined to be eligible for benefits may then enroll in the state

CHIP and obtain health insurance coverage. See, e.g., 42 U.S.C. § 1397cc(e)(3)(C)(i)

(discussing “individuals enrolled under the plan” (emphasis added)). To qualify for

federal funding, state CHIPs must provide participants with certain baseline insurance

coverage, including coverage for basic health services, mental health services, and

dental services. 42 U.S.C. § 1397cc(a), (c).

      36.    Title XXI allows States to design their CHIPs to require cost-sharing by

participants, including by charging “premiums, deductibles, [and] coinsurance” for
                                           10
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certain covered health services. Id. § 1397cc(e)(1)(A). Federal regulations detail state

obligations related to “Enrollee Financial Responsibilities,” including disclosure

requirements and limitations on charges. 42 C.F.R. part 457, subpart E.

     37.    Once enrolled in a state CHIP, participants are entitled to certain

“[d]isenrollment protections,” including receiving “reasonable notice of and an

opportunity to pay past due” amounts and “an opportunity for an impartial review to

address disenrollment,” and prohibiting States from requiring payment of “past due

premiums . . . as a condition of . . . reenrollment.” Id. § 457.570; see 42 U.S.C.

§ 1397cc(e)(C)(ii). When a State elects to require cost-sharing, Congress has allowed

the State to “terminat[e]” an enrollee’s “coverage” for nonpayment after a 30-day

grace period. 42 U.S.C. § 1397cc(e)(3)(C)(i).

     38.    Through a 2016 rule finalized after notice-and-comment, CMS gave

States the option of providing CHIP participants with a period of “continuous

eligibility.” 42 C.F.R. § 457.342; see 81 Fed. Reg. 86,382 (Nov. 30, 2016); 78 Fed.

Reg. 4,594 (Jan. 22, 2013). Congress had provided States a similar continuous

eligibility “option” for Medicaid by statute. See 42 U.S.C. § 1396a(e)(12).

     39.    If a State provides continuous eligibility in CHIP or Medicaid, “[a]

child’s eligibility may not be terminated during a continuous eligibility period,

regardless of any changes in circumstances, unless:

     (1) The child attains the maximum age . . . ;

     (2) The child or child’s representative requests a voluntary termination of
         eligibility;


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      (3) The child ceases to be a resident of the State;

      (4) The agency determines that eligibility was erroneously granted at the most
          recent determination, redetermination or renewal of eligibility because of
          agency error or fraud, abuse, or perjury attributed to the child or the child’s
          representative; or

      (5) The child dies.”

42 C.F.R. § 435.926(d); see id. § 457.342(b) (citing id. § 435.926(d)).

      40.    CMS provided that for CHIP, coverage (i.e., enrollment) may also “be

terminated during the continuous eligibility period for failure to pay required

premiums or enrollment fees required under the State plan, subject to the

disenrollment protections afforded under section 2103(e)(3)(C) of the [Social Security]

Act (related to premium grace periods) and [42 C.F.R.] § 457.570 (related to

disenrollment protections).” Id. § 457.342(b). This provision gives effect to the

statutory allowance for termination of coverage for nonpayment of premiums. 42

U.S.C. § 1397cc(e)(3)(C).

      41.    States can amend their plans at any time and may be required to do so

when necessary to conform to new federal requirements. See id. § 1397ff(b)(1); 42

C.F.R. § 457.204(c). Plan amendments must be submitted to CMS for approval, and

CMS is required to “promptly review . . . plan amendments . . . to determine if they

substantially comply with” federal standards. 42 U.S.C. § 1397ff(c)(1); see 42 C.F.R.

§ 457.150. If CMS concludes the plan amendments do not “substantially comply,”

CMS “withholds payments to the State, in whole or in part,” after “giving the State




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notice” and “a reasonable opportunity for correction.” 42 C.F.R. § 457.204(a); see 42

U.S.C. § 1397ff(d)(2).

      42.    Congress also expressly grandfathered preexisting plans in three states—

New York, Florida, and Pennsylvania—into CHIP. Id. § 1397cc(a)(3), (d)(1). These

States are permitted to continue operating their plans, which Congress determined

already provided “comprehensive . . . coverage” to children, under the CHIP

program. Id. § 1397cc(a)(3); 42 C.F.R. § 457.440(a).

      43.    States operating grandfathered programs may “modify” those programs

“from time to time so long as [the program] continues to [include coverage of a range

of benefits] and does not reduce the actuarial value of the coverage under the program

below the lower of– (A) the actuarial value of the coverage under the program as of

August 5, 1997, or (B) the actuarial value [of ‘one of the benchmark benefit

packages’].” Id. § 1397cc(d)(2), (a)(2)(B); 42 C.F.R. § 457.440(b).

      44.    States must submit annual reports to CMS on the operation of their

CHIPs. 42 C.F.R. § 457.750. “CMS reviews State and local administration of the

CHIP plan through analysis of the State’s policies and procedures, on-site reviews of

selected aspects of agency operation, and examination of samples of individual case

records.” Id. § 457.200. A State found to be operating its program in a way that does

not comply with its approved plan or with federal standards is subject to withholding

of federal funds. Id. § 457.204(a)(2).




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Florida CHIP

      45.      In 1990, before Congress established CHIP, the Florida Legislature

created the Florida Healthy Kids Corporation as a public-private partnership to

“improve access to health insurance for the state’s uninsured children.” History,

Healthy Kids, https://www.healthykids.org/healthykids/history/ (last visited Jan.

31, 2024).

      46.      The program began in Volusia County as a demonstration project under

the Omnibus Budget Reconciliation Act of 1989, Pub. L. No. 101-239, § 6407, 103

Stat. 2106, 2266 (1989), which required States to charge premiums to participating

families with incomes between 100% and 185% of the FPL, id. § 6407(c)(2), 103 Stat.

at 2266. By 1995, the federal funding had ended, but Florida continued its efforts and

the program expanded to additional counties, funded by state, local, and private

sources. Ex.5, Demonstration Report at 1–2, 62.

      47.      When Congress established CHIP in 1997, it expressly grandfathered the

programs in Florida, New York, and Pennsylvania into CHIP. 42 U.S.C.

§ 1397cc(a)(3), (d)(1). Congress permitted these States to continue operating their

programs, which already provided “comprehensive . . . coverage” to children, under

the auspices of CHIP. Id. § 1397cc(a)(3); 42 C.F.R. § 457.440(a). Congress also gave

these States discretion to modify their programs within broad limits. See 42 U.S.C.

§ 1397cc(d)(2), (a)(2)(B); 42 C.F.R. § 457.440(b).




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        48.    Florida subsequently transferred administration of its program to

“Florida KidCare,” an umbrella program that oversees both Florida Medicaid and

CHIP.

        49.    Generally, Florida Medicaid offers no-cost health insurance to children

under age 1 whose household incomes are up to 206% of the FPL, children ages 1

through 5 whose household incomes are up to 140% of the FPL, and children ages 6

through 18 whose household incomes are up to 133% of the FPL.2 Florida CHIP offers

subsidized health insurance coverage to children ages 1 through 18 who are not eligible

for Medicaid and whose household incomes are up to 210% of the FPL. Ex.2, Fla.

CHIP Plan, at 5, 23. As of October 2023, Florida CHIP provides subsidized health

insurance coverage to more than 119,000 Florida children. Ex.1, Noll Declaration ¶ 3.3

        50.    Children must also meet other criteria to be eligible for Florida CHIP.

For example, the child must be a U.S. citizen or qualified alien, a Florida resident, and

uninsured at the time of application. Ex.2, Fla. CHIP Plan at 80–84, 86.

        51.    If a child is determined to meet the eligibility criteria for participation in

Florida CHIP, the child’s family is notified and invited to enroll the child in the

program.




2
  Income thresholds are specified in terms of modified adjusted gross income (MAGI). 42 U.S.C.
§ 1396a(e)(14).
3
  Families that do not qualify for subsidies under CHIP or Medicaid are also eligible to purchase health
insurance for children through Florida KidCare, but are required to pay the full premium cost. Ex.2,
Fla. CHIP Plan at 5, 23, 177.
                                                  15
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      52.    Since its inception, Florida CHIP has required cost-sharing. Families

who elect to enroll at least one child in the plan are required to pay a modest monthly

premium to obtain insurance coverage, at a rate that scales with family income.

Families with incomes up to 158% of the FPL pay a monthly premium of $15 per

family, and families with incomes between 158% and 210% of the FPL pay a monthly

premium of $20 per family. The monthly premiums are the same regardless of the

number of children in the family enrolled. Ex.2, Fla. CHIP Plan at 22–23, 176–77.

      53.    Premium payments help offset the costs of Florida CHIP. In fiscal year

2019–2020, Florida collected over $30 million in premium payments from families

with children enrolled in Florida CHIP. Ex.1, Noll Declaration ¶ 4.

      54.    The Florida Constitution requires balanced annual budgets. Fla. Const.

art. III, § 19(a); id. art. VII, § 1(d). Premium payments play an important role in

achieving the requirement and maintaining the long-term stability of Florida CHIP.

      55.    Requiring participants to make modest contributions to the cost of health

insurance also reflects a conscious policy choice by the Florida Legislature, which

concluded that Florida residents are best-served when those receiving state-subsidized

healthcare retain a measure accountability for, and investment in, the benefits they

receive. Florida CHIP is thus a personal responsibility program, intended to bridge the

gap between families with the lowest incomes, who receive no-cost health insurance

through Medicaid, and families with higher incomes who must obtain insurance on

their own. See Fla. Stat. § 409.812 (Florida KidCare provides “health benefits coverage

options from which families may select coverage and through which families may
                                          16
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contribute financially to the health care of their children”); id. § 409.813 (“[C]overage

under the Florida Kidcare program is not an entitlement.”); Staff of Florida H.R.

Health Care Servs. Comm., Review of the Implementation of the Florida KidCare Act 7–8

(Sept.    1999), http://www.leg.state.fl.us/data/Publications/2000/House/reports/

interim_reports/pdf/kidcare.pdf.

         56.   Since January 2005, Florida CHIP has provided 12 months of continuous

eligibility for participants.4 During the continuous eligibility period, an enrolled child

remains eligible for subsidized health insurance regardless of changes in the child’s

circumstances (unless the child reaches age 19 or moves out of state). This means that

even if the child’s household income increases above 210% of the FPL during the

relevant period, the child retains access to health insurance through Florida CHIP with

no change in monthly premiums for 12 months, measured from the first month of

coverage or the month following the date the participant completed renewal. Ex.2,

Fla. CHIP Plan at 83, 91–92.

         57.   Payment of monthly premiums is required to maintain enrollment in

(and thus coverage under) Florida CHIP, but not to maintain underlying eligibility. A

child whose family does not pay the monthly premium will be disenrolled from

insurance coverage after a 30-day grace period regardless of the child’s eligibility. The

child can, however, reenroll after a short lock-out period without going through a new

eligibility application and determination. Id. at 97–98. Florida has required


4
 From 1998 to 2005, Florida CHIP provided six months of continuous eligibility. Ex.2, Fla. CHIP
Plan at 83, 91–92.
                                              17
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disenrollment for nonpayment of premiums since it started offering subsidized health

insurance to children in 1991. Ex.5, Demonstration Report at 25; cf. Omnibus Budget

Reconciliation Act of 1989, § 6407, 103 Stat. at 2266. And disenrollment for

nonpayment of premiums is required by state law. See Fla. Stat. 624.91(5)(b)(9).

      58.    CHIP premiums are due on the first day of the month prior to the month

of coverage. Ex.2, Fla. CHIP Plan at 178. Disenrollments from Florida CHIP occur

monthly and become effective on the first day of the month after the unpaid premium

was due. For example, disenrollments are February 1, 2024, for participants who have

not paid premiums that were due January 1, 2024. Ex.1, Noll Declaration ¶ 11.

      59.    In June 2023, Governor Ron DeSantis signed into law Florida H.B. 121,

which makes Florida children with household incomes up to 300% of the FPL eligible

for subsidized insurance through Florida CHIP. See An Act Relating to Florida

KidCare Program Eligibility, H.B. 121, 2023 Leg. § 1 (Fla. 2023). The increased

income limit is estimated to make subsidized health insurance available to an

additional 26,000 Florida children in its first full year of operation alone. See Ex.1,

Noll Declaration ¶ 5. The expansion will be funded partially through state funds, with

the remaining costs covered through the collection of premium payments and

matching federal funds. Ex.1, Noll Declaration ¶ 6; Florida H.R. Staff Final Bill Analysis:

H.B. 121, at 6–7 (June 23, 2023), https://www.flsenate.gov/Session/Bill/2023/121/

Analyses/h0121z1.HRS.PDF.

      60.    Under the current proposal for Florida’s expanded program, premiums

for those already eligible for the program would rise modestly. Families with incomes
                                            18
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between 133% and 175% of the federal poverty level would pay $17 per month, and

families with incomes between 175% and 200% of the federal poverty level would pay

$30 per month. Newly-eligible families with higher incomes would pay a higher

premium, ranging from $60 to $195 per month, depending on income. See Fla.

AHCA, New 5-Year Section 1115 Demonstration Request 3 (Jan. 23, 2024),

https://ahca.myflorida.com/content/download/23901/file/Children%27s%20

Health%20Insurance%20Program%20Eligibility%20Extension%20Full%20Public%

20Notice%20Document.pdf.

      61.    Florida anticipates collecting approximately $53 million in premium

payments (from both existing and new participants) in the first full year of the

expanded CHIP plan. Approximately $23.1 million of these are a result of the

expanded program and help offset the cost of the expansion. Ex.1, Noll Declaration

¶¶ 6–7.

2023 CAA

      62.    In the 2023 CAA, Congress amended the Social Security Act to make

continuous eligibility mandatory for both Medicaid and CHIP. Pub. L. No. 117-328,

§ 5112, 136 Stat. at 5940.

      63.    Specifically, Congress amended section 1902(e)(12) of the Social Security

Act, 42 U.S.C. § 1396a(e)(12), applicable to Medicaid benefits, to read:

      The State plan (or waiver of such State plan) shall provide that an individual
      who is under the age of 19 and who is determined to be eligible for benefits
      under a State plan (or waiver of such plan) approved under this title under
      subsection (a)(10)(A) shall remain eligible for such benefits until the earlier of—

                                          19
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                (A) the end of the 12-month period beginning on the date of such
                    determination;
                (B) the time that such individual attains the age of 19; or
                (C) the date that such individual ceases to be a resident of such State.
2023 CAA § 5112(a), 136 Stat. at 5940.
        64.     Congress then amended section 2107(e)(1) of the Social Security Act, 42

U.S.C. § 1397gg(e)(1), to specify that the Medicaid mandatory continuous eligibility

provision also applies to state CHIPs. 2023 CAA § 5112(b), 136 Stat. at 5940 (adding

42 U.S.C. § 1397gg(e)(1)(K)).5

        65.     The 2023 CAA addresses only whether a child is “eligible” for CHIP

benefits. It says nothing about a child’s enrollment in, or coverage under, a state CHIP.

        66.     Nor does the 2023 CAA address or modify any of the statutory or

regulatory provisions allowing States to require participant cost-sharing under CHIP.

See, e.g., 42 U.S.C. § 1397cc(e); 42 C.F.R. part 457, subpart E. Nor does it modify

Congress’s express allowance that States may “terminat[e]” an “individual’s

coverage” for “failure to make a premium payment” after a 30-day grace period. 42

U.S.C. § 1397cc(e)(3)(C). Nor does it modify 42 C.F.R. § 457.342(b), which expressly

permits the termination of CHIP enrollment “during the continuous eligibility period

for failure to pay required premiums or enrollment fees.”




5
 The 2023 CAA also provides that “a targeted low-income child enrolled under the State child health
plan or waiver may be transferred to the Medicaid program . . . for the remaining duration of the 12 -
month continuous eligibility period, if the child becomes eligible for full [Medicaid] benefits . . . during
such period.” 2023 CAA § 5112(b), 136 Stat. at 5940.
                                                    20
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       67.    Congress has previously considered bills that would have provided for

continuous enrollment in a state CHIP. See Stabilize Medicaid and CHIP Coverage

Act of 2021, S. 646, 117th Cong. (2021); Stabilize Medicaid and CHIP Coverage Act,

H.R. 1738, 117th Cong. (2021). Those bills contained express language requiring that

“an individual who is determined to be eligible for benefits . . . shall remain eligible

and enrolled for such benefits” for the duration of the specified period. S. 646 § 3(b)(1)

(emphasis added); H.R. 1738 § 2(b)(1) (same). Those bills have not passed, and the

2023 CAA includes no language referencing “enrollment.”

September 29, 2023, SHO Letter

       68.    On September 29, 2023, CMS issued a State Health Official letter “to

provide states with guidance on implementing” the new continuous eligibility

requirement in the 2023 CAA. Ex.3, SHO Letter at 1. But CMS’s “guidance” is, itself,

misguided.

       69.    In the SHO Letter, CMS conflates “eligibility” and “enrollment,”

incorrectly stating that continuous eligibility “provides coverage to children in . . . CHIP

for a full 12-month period regardless of changes in circumstances.” Id. at 2 (emphasis

added). The SHO Letter thus prohibits disenrollment during continuous eligibility

period. See, e.g., id. at 8 (“States may not terminate coverage . . . during a [continuous

eligibility] period . . . [r]ather, the child must remain eligible for coverage through the

end of the 12-month period” (emphasis original)).

       70.    CMS also observed that the 2023 CAA “explicitly provide[s]” only two

“exception[s]” to continuous eligibility: for children who “[r]each age 19” or “[c]ease
                                            21
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to be state residents.” Id. at 4. But CMS explained that States “will be expected to”

continue terminating eligibility for three other reasons currently expressed in CHIP

and Medicaid regulations: when eligibility is voluntarily terminated, when the agency

determines eligibility was erroneously granted, or when the child dies. Id. at 4–5 (citing

42 C.F.R. §§ 435.926(d), 457.342(b)).

       71.    According to CMS, these five circumstances are the only situations in

which a State can terminate CHIP eligibility during the continuous eligibility period.

Id. at 7, 8. States with nonconforming CHIPs “must” submit plan amendments “no

later than the end of the state fiscal year in which January 1, 2024 falls.” Id. at 14.

       72.    The SHO Letter did not discuss termination of coverage for nonpayment

of premiums, noting instead that CMS was “still assessing how non-payment of

premiums intersects with [continuing eligibility] under the CAA” and indicating

CMS’s “inten[t] to issue separate guidance on [the] topic.” Id. at 4 n.14.

October 27, 2023, FAQs

       73.    On October 27, 2023, CMS issued a document labeled “Frequently

Asked Questions” about continuous eligibility under the 2023 CAA. Ex.4, FAQs.

Despite its title, the FAQs impose new substantive obligations on States operating

CHIPs and effectively amend CMS’s existing regulations.

       74.    In the FAQs, CMS instructs that beginning January 1, 2024, States

cannot “terminate CHIP coverage during a continuous eligibility . . . period due to

nonpayment of premiums” (emphasis added). Id. at 1. As in the SHO Letter, CMS



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mistakenly equates eligibility for CHIP benefits with coverage under—and thus

enrollment in—a state CHIP.

       75.     CMS further reasons that because “[t]here is not an exception to

[continuous eligibility] for nonpayment of premiums” under the 2023 CAA, “the

existing regulatory option at 42 CFR § 457.342(b) for states operating a separate CHIP

to consider non-payment of premiums as an exception to [continuous eligibility] will

end on December 31, 2023.” Ex.4, FAQs at 1. “States that have already adopted

[continuous eligibility] for children and treat nonpayment of premiums as an exception

to [continuous eligibility] in CHIP will need to submit a CHIP [state plan amendment]

as outlined in … [the] SHO Letter.” Id.

       76.     Moreover, CMS continues that States must “absorb the costs of unpaid

premiums,” as those costs are not eligible for federal reimbursement. Id. at 2.

       77.     CMS, however, insists that five regulatory reasons for terminati ng

eligibility remain operable. See 42 C.F.R. §§ 435.926(d), 457.342(b). Two of those—

aging out or moving out-of-state—are expressly included in the 2023 CAA. Ex.4,

FAQs at 1. CMS justifies retaining the other three—when the child dies, “requests

disenrollment,”6 or eligibility was erroneously granted—because they “do not




6
 While 42 C.F.R. § 435.926(d)(2) permits termination of “eligibility” during the continuous eligibility
period whenever “[t]he child or child’s representative requests a voluntary termination of eligibility”
(emphasis added), the FAQs permit States to “terminate coverage” whenever “the child or their repre-
sentative requests disenrollment,” Ex.4, FAQs at 1 (emphases added), again conflating “eligibility” with
“enrollment.”
                                                  23
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undermine the [continuous eligibility] mandate . . . and are important to protecting

program integrity.” Id.

      78.    But CMS does not explain how allowing termination of coverage (i.e.,

disenrollment)—not termination of eligibility—based on premium nonpayment

undermines the 2023 CAA’s continuous eligibility requirement. Nor does CMS

explain why allowing disenrollment for nonpayment of premiums is not important for

program integrity.

Florida’s CHIP Expansion Threatened

      79.    In October 2023, CMS informed Florida that it could not obtain approval

for Florida’s expanded CHIP—including the new premium tiers—through a

conventional plan amendment, but would need to apply for a waiver under section

1115 of the Social Security Act, 42 U.S.C. § 1315(a). At the same time, CMS informed

Florida that it would need to submit an amendment modifying Florida CHIP to

conform with the SHO Letter and FAQs.

      80.    CMS indicated that it would not approve Florida’s proposed expansion

without accompanying modifications to Florida CHIP’s continuous eligibility

provisions, namely, the provisions that allow the State to disenroll an eligible child for

nonpayment of premiums during the continuous eligibility period.

      81.     On January 23, 2024, Florida posted for public review and input their

application for a section 1115 waiver for the expanded Florida CHIP plan. See New 5-

Year Section 1115 Demonstration Request, supra.



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Secretary Becerra’s December 18, 2023, Letter to Governor DeSantis

      82.    On December 18, 2023, Secretary Becerra sent a letter to Governor

DeSantis, discussing trends in Medicaid and CHIP enrollment and “urg[ing]”

Governor DeSantis “to ensure that no child in [Florida] who still meets eligibility

criteria for Medicaid or CHIP loses their health coverage due to ‘red tape’ or other

avoidable reasons.” Ex.6, Letter from Secretary Becerra to Governor DeSantis (Dec.

18, 2023) (“Becerra Letter”) at 1.

      83.    Secretary Becerra’s letter listed several recommended “proactive actions

to prevent eligible children from losing Medicaid and CHIP,” and closed with a

suggestion to “[e]xpand Medicaid.” Id. at 1–2.

      84.    The letter also included the ominous warning that “HHS takes its

oversight and monitoring role . . . extremely seriously and will not hesitate to take

action to ensure states’ compliance with federal Medicaid requirements.” Id. at 1.

The FAQs Undermine the Integrity and Sustainability of Florida CHIP

      85.    The FAQs impose a continuous enrollment requirement that requires

Florida to administer its CHIP without the cost-sharing that Florida deems critical to

its program and that has been expressly allowed by Congress.

      86.    The FAQs allow eligible children to obtain health insurance for a full 12

months—the duration of the continuous eligibility period—by enrolling and paying

the first month’s premium only. 42 C.F.R. §§ 435.916(a), 457.343. The same scenario

can then repeat following the next eligibility determination, and the next, and so on.



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      87.    Under the FAQs, there is no consequence for failing to pay premiums,

severely diminishing the incentive of participants to make any premium payment after

the first month. As a result, widespread nonpayment is a reasonable expectation.

Florida’s revenue from premium collection could therefore drop by eleven-twelfths

(91.67%), which would mean a loss of more than $27.5 million annually under

Florida’s current program, and an anticipated loss of more than $48.5 million in the

first year under an expanded program. See Ex.1, Noll Declaration ¶¶ 4, 7. According

to CMS, these sums are not federally reimbursable, forcing Florida to assume the

losses. Ex.4, FAQs at 2.

      88.    Florida anticipates    that compliance       with the     FAQs will cost

approximately $1 million each month to provide benefits to CHIP participants who

should have been disenrolled. Ex.1, Noll Declaration ¶ 10.

      89.    Forcing Florida to comply with the FAQs will also impact the planned

expansion of the program, preventing thousands of Florida children from accessing

health insurance coverage.

      90.    The FAQs amount to a backdoor expansion of no-cost health insurance

coverage. Although entitlement programs may be the Biden Administration’s

preferred policy, see Ex.6, Becerra Letter at 2 (suggesting Florida “dramatically reduce

barriers for families to enroll their children in coverage, including eliminating CHIP

premiums”    or “[e]xpand Medicaid”),          Congress   disagreed.    See 42   U.S.C.

§ 1397bb(b)(5) (“Nothing in [Title XXI] shall be construed as providing an individual

with an entitlement to child health assistance under a State child health plan.”).
                                          26
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        91.   Florida disagrees, too. Fla. Stat. § 409.813 (“coverage under the Florida

KidCare program is not an entitlement”); see also id. § 409.812. And under the federal

CHIP framework, it is Florida’s preferred policy that matters. See, e.g., 42 U.S.C.

§ 1397gg(a) (permitting State to “identify specific strategic objectives” and

“performance goals” for CHIP plan); id. § 1397ff(d) (providing for “withholding of

funds” only “in the case of substantial noncompliance” with “the requirements of”

Title XXI).

        92.   Florida’s approach has been expressly authorized by Congress. Under

Title XXI, Congress has recognized that States may “impos[e]” “charges” on CHIP

participants for health insurance coverage, including “premiums, deductibles, [and]

coinsurance.” 42 U.S.C. § 1397cc(e)(1)(A). And Congress has allowed States to

“terminat[e]” an enrollee’s “coverage under the plan” for “failure to make a premium

payment” after a grace period. Id. § 1397cc(e)(3)(C)(i). Florida’s approach is also

authorized by 42 C.F.R. § 457.342(b), which the FAQs purport to “end,” Ex.4, FAQs

at 1.

        93.   The 2023 CAA does not impose a continuous enrollment requirement.

By its plain terms, the 2023 CAA requires continuous eligibility for CHIP benefits, not

continuous enrollment in a CHIP plan. Florida CHIP provides what the 2023 CAA

requires: Once a child is determined to be eligible for CHIP benefits, the child remains

eligible for those benefits for an entire year. And if the child is disenrolled for

nonpayment of premiums, the child can reenroll during the continuous eligibility

period without a new eligibility determination.
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       94.     The FAQs are unlawful. They must be enjoined and set aside.

                                CLAIMS FOR RELIEF

                                     COUNT ONE

                       (Violation of the APA: Contrary to Law)

       95.     The allegations in paragraphs 1–94 are expressly incorporated herein as

if restated in full.

       96.     The APA requires a reviewing court to “hold unlawful and set aside

agency action” that is “not in accordance with law.” 5 U.S.C. § 706(2)(A).

       97.     The FAQs contradict Congress’s express allowance for States to

terminate coverage for nonpayment of premiums in section 2103(e)(3)(C) of the Social

Security Act, 42 U.S.C. § 1397cc(e)(3)(C) (allowing States to “terminat[e]” an

enrollee’s “coverage” for nonpayment after a 30-day grace period). Under the FAQs,

States have no opportunity to “terminat[e] . . . coverage.” Id. They thus violate 42

U.S.C. § 1397cc(e)(3)(C) or otherwise render it a dead letter, contravening “one of the

most basic interpretive canons, that a statute should be construed so that effect is given

to all its provisions, so that no part will be inoperative or superfluous, void or

insignificant.” Corley v. United States, 556 U.S. 303, 314 (2009) (cleaned up).

       98.     The FAQs also violate CMS’s own operative regulations, which

expressly permit States to terminate a participant’s coverage “during the continuous

eligibility period for failure to pay required premiums.” 42 C.F.R. § 457.342(b). “So

long as this regulation is extant it has the force of law.” United States v. Nixon, 418 U.S.

683, 695 (1974). CMS has not amended or rescinded 42 C.F.R. § 457.342(b) through

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notice-and-comment, nor can it simply “end” the provision by fiat in an FAQs. “So

long as this regulation remains in force [CMS] is bound by it[.]” Nixon, 418 U.S. at

696.

       99.     The FAQs are also contrary to law because they fail to provide for plans,

like Florida’s, that are grandfathered into CHIP. States with grandfathered programs

are permitted to maintain their existing CHIPs and have discretion to modify those

programs within broad limits. 42 U.S.C. § 1397cc(a)(3), (d).

       100. Since its inception, Florida CHIP has permitted disenrollment for

nonpayment of premiums, including during continuous eligibility periods. The FAQs

prevent Florida from exercising its authority under the grandfathering provisions of

Title XXI to maintain its existing CHIP, including disenrolling participants for

nonpayment of premiums.

                                    COUNT TWO

                 (Violation of the APA: Excess of Statutory Authority)

       101. The allegations in paragraphs 1–94 are expressly incorporated herein as

if restated in full.

       102. The APA requires a reviewing court to “hold unlawful and set aside

agency action” that is “in excess of statutory . . . authority.” 5 U.S.C. § 706(2)(C).

       103. CMS has no authority to impose a continuous enrollment requirement.

The 2023 CAA provides only that a child “who is determined to be eligible for benefits

under” a state CHIP “shall remain eligible for such benefits” for 12 months, unless the



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child first reaches age 19 or ceases to be a state resident. 2023 CAA § 5112(a), (b), 136

Stat. at 5940 (emphases added).

       104. A child is eligible for CHIP benefits if the child meets the relevant state-

established criteria. 42 U.S.C. § 1397bb(b)(1). For Florida CHIP, eligibility criteria

include having a household income under 210% of the federal poverty level, being a

U.S. citizen or qualified alien, being a Florida resident, and being uninsured. Ex.2,

Fla. CHIP Plan at 5, 80–84, 86, 177. Florida’s eligibility criteria do not include any

standard related to payment of premiums.

       105. Children determined eligible for CHIP benefits are then offered the option

to enroll in CHIP and obtain health insurance coverage. Enrollment may require an

eligible child’s family to take additional actions, for example, paying an enrollment fee

and monthly premiums. See, e.g., 42 C.F.R. § 457.510 (discussing, among other

permissible charges, “enrollment fees”).

       106. Title XXI consistently distinguishes eligibility from enrollment. See, e.g.,

42 U.S.C. § 1397bb(b)(4) (discussing “barriers to the enrollment” of “eligible”

individuals); id. § 1397hh(c)(3) (“enrollees, disenrollees, and individuals eligible for

but not enrolled” in a CHIP plan); id. § 1397mm(a)(1) (“efforts . . . to increase the

enrollment . . . of eligible children”); id. § 1397mm(h)(1) (“campaigns to link the

eligibility and enrollment systems”); id. § 1397mm(h)(6) (“enrollment . . . strategies for

eligible children”).

       107. CMS regulations do the same. See, e.g., 42 C.F.R. § 457.10 (discussing

information in an “eligibility notice,” including the potential impact of a
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“determination of eligibility for, or enrollment in, another insurance affordability

program”); id. § 457.60 (“[e]ligibilty standards, enrollment caps, and disenrollment

policies”); id. § 457.300 (“[r]egulations relat[ed] to eligibility, screening, applications

and enrollment”); id. § 457.350(i)(2)(ii)(A) (“the date on which the individual will be

eligible to enroll”); id. § 457.525(b) (cost-sharing information must be made available

to “[e]nrollees, at the time of enrollment and reenrollment after a redetermination of

eligibility”); id. § 457.570(b) (adjustment to a “child’s cost-sharing category” if “the

enrollee may have become eligible ... for a lower level of cost sharing”).

       108. Had Congress intended to require continuous enrollment in a state

CHIP, it would have said so, as has been done in proposed but unenacted bills. See S.

646 § 3(b)(1) (requiring that “an individual who is determined to be eligible for benefits

. . . shall remain eligible and enrolled for such benefits” for the duration of the specified

period (emphasis added)); H.R. 1738 § 2(b)(1) (same).

       109. Nor is there is any inherent conflict in requiring continuous eligibility for

CHIP while permitting disenrollment for failure to pay premiums. A participant may

remain eligible for CHIP benefits even if the participant is not presently enrolled in a

CHIP plan for whatever reason. During the continuous eligibility period, a participant

disenrolled from a plan for nonpayment of premiums can reenroll without applying

again for an eligibility determination—the participant remains “eligible” for CHIP

benefits, but simply is not enrolled if the modest premium requirements are not

satisfied.



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      110. Indeed, CMS has long recognized by regulation that continuous

eligibility and disenrollment for nonpayment of premiums comfortably co-exist. See 42

C.F.R. § 457.342(b) (permitting termination for nonpayment of premium during the

continuous eligibility period). And Florida has successfully implemented both for

decades.

      111. To the extent that there is any discernible tension between the 2023

CAA’s continuous eligibility requirement and the allowance for termination of

coverage for nonpayment of premiums under 42 U.S.C. § 1397cc(e)(3)(C), the specific

provisions about disenrollment for nonpayment of premiums must govern. Nat’l Cable

& Telecomms. Ass’n, Inc. v. Gulf Power Co., 534 U.S. 327, 335 (2002) (explaining that

“specific statutory language. . . control[s] more general language when there is a

conflict between the two”).

      112. By its plain language, the 2023 CAA unambiguously requires that a child

“remain eligible for [CHIP] benefits,” not that the child remain enrolled in a CHIP.

2023 CAA § 5112(a), 136 Stat. at 5940. CMS “must give effect to that clear intent.” In

re Gateway Radiology Consultants, 983 F.3d at 1256. CMS’s attempt to impose a

continuous enrollment requirement thus exceeds the agency’s authority.

      113. It is irrelevant that CMS believes a continuous enrollment requirement

may be more beneficial. See Ex.3, SHO Letter at 2. “[P]olicy considerations cannot

create an ambiguity when the words on the page are clear.” SAS Inst., Inc. v. Iancu, 138

S. Ct. 1348, 1358 (2018). The 2023 CAA is clear: States must provide continuous

eligibility. The 2023 CAA says nothing about enrollment or coverage.
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         114. Failure to account in the FAQs for existing plans, like Florida’s, that are

grandfathered into the federal CHIP program also exceeds CMS’s authority. See 42

U.S.C. § 1397cc(a)(3), (d).

                                      COUNT THREE

                       (Violation of the APA: Arbitrary or Capricious)

         115. The allegations in paragraphs 1–94 are expressly incorporated herein as

if restated in full.

         116. The APA requires a reviewing court to “hold unlawful and set aside

agency action” that is “arbitrary, [or] capricious.” 5 U.S.C. § 706(2)(A). Agency

actions thus must be “the product of reasoned decisionmaking.” State Farm, 463 U.S.

at 52.

         117. CMS observes that the 2023 CAA “provide[s] for limited exceptions” to

the continuous eligibility requirement, namely “the child turning age 19, no longer

being a state resident or, in the case of a child enrolled in a separate CHIP, becoming

eligible for Medicaid.” Ex.4, FAQs at 1. Because “[t]here is not an exception to

[continuous eligibility] for non-payment of premiums,” CMS asserts that the “existing

regulatory option” for termination of enrollment for nonpayment does not survive. Id.

         118. It is logically inconsistent for CMS to permit three other “exceptions” to

terminating eligibility—when the child dies, the child (or the child’s representative)

requests termination, or the agency determines eligibility was erroneously granted—

none of which are provided for in the 2023 CAA. Id.; see also Ex.3, SHO Letter at 4–5.

The 2023 CAA either forecloses non-statutory exceptions or it does not.

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      119. The same justification that CMS offers for its preferred exceptions—that

they “do not undermine the [continuous eligibility] mandate . . . and are important to

protecting program     integrity,” Ex.4, FAQs at 1—also applies to allowing

disenrollment for nonpayment of premiums. As explained above, such disenrollment

does not affect eligibility for CHIP benefits. And allowing disenrollment is crucial to

maintaining the integrity and long-term sustainability of programs, like Florida’s, that

incorporate cost-sharing as a fundamental component of their CHIPs.

      120. Moreover, “[w]hen an agency changes its existing position” it “must at

least display awareness that it is changing position,” “show that there are good reasons

for the new policy,” and “be cognizant that longstanding policies may have

engendered serious reliance interests that must be taken into account.” Encino

Motorcars, 579 U.S. at 221–22 (cleaned up). “[A]n ‘[u]nexplained inconsistency’ in

agency policy is ‘a reason for holding an interpretation to be an arbitrary and

capricious change from agency practice.’” Id. at 222.

      121. CMS completely ignores the distinction between eligibility and

enrollment, including that continuous eligibility and disenrollment for nonpayment of

premiums have co-existed in its regulations for nearly a decade. See 42 C.F.R.

§ 457.342(b). CMS does not explain why it elides this distinction and has reversed its

long-held position that disenrollment for nonpayment is compatible with continuous

eligibility. “This lack of reasoned explication for a regulation that is inconsistent with

[CMS’s] longstanding earlier position,” is reason for the court to set aside the FAQs.

Encino Motorcars, 579 U.S. at 224.
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       122. CMS has also “entirely failed to consider . . . important aspect[s] of the

problem.” State Farm, 463 U.S. at 43. CMS never considered the authority granted to

States, like Florida, whose plans were grandfathered into the CHIP program. Under

Title XXI, these States are permitted to continue operating their existing plans and

have discretion to modify those plans within broad limits. 42 U.S.C. § 1397cc(a)(3),

(d). Neither the SHO Letter nor the FAQs acknowledge or account for this authority.

       123. CMS similarly failed to consider that States have relied on their authority

to terminate coverage for nonpayment when implementing and expanding their

CHIPs. Florida, in particular, has significant reliance interests because it recently

enacted legislation expanding the state CHIP to offer subsidized coverage to more

children. This was based on the expectation that the expansion will be partially funded

through premium payments. See Florida H.R. Staff Final Bill Analysis: H.B. 121, supra, at

6–7. “When an agency changes course,” it is “arbitrary and capricious to ignore

[reliance interests].” Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 140 S. Ct. 1891,

1913 (2020) (cleaned up).

                                      COUNT FOUR

        (Violation of the APA: Without Observance of Required Procedure)

       124. The allegations in paragraphs 1–94 are expressly incorporated herein as

if restated in full.

       125. The APA requires agencies to provide “notice” of an intended

rulemaking and “give interested persons an opportunity to participate in the rule

making,” typically through a comment process. 5 U.S.C. § 553(b), (c).

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       126. The APA’s notice-and-comment requirements apply to, among others,

actions that “effectively amen[d] a prior legislative rule,” Am. Mining Cong., 995 F.2d

at 1112. The requirements also apply to actions that “create new law, rights or duties”

or “have effects completely independent of the statute.” Warshauer v. Solis, 577 F.3d 1330,

1337 (11th Cir. 2009) (cleaned up).

       127. The FAQs are agency action subject to APA’s notice-and-comment

requirements because they purport to “end” 42 C.F.R. § 457.342(b), Ex.4, FAQs at 1,

which is, itself, a legislative rule promulgated after notice-and-comment, see 81 Fed.

Reg. 86,382 (Nov. 30, 2016).

       128. The FAQs are also subject to notice-and-comment because their

requirement that States guarantee enrollment for the duration of the continuous

eligibility period is a “new . . . dut[y]” on States, whose “effect[t] [is] completely

independent of the statute.” Warshauer, 577 F.3d at 1337 (cleaned up)

       129. CMS issued the FAQs to effectively amend its regulations and impose a

continuous enrollment requirement without notice and without providing interested

parties opportunity to comment, as required by the APA.

                                      COUNT FIVE

                                (Declaratory Judgment)

       130. The allegations in paragraphs 1–94 are expressly incorporated herein as

if restated in full.

       131. Under the Declaratory Judgment Act, 28 U.S.C. § 2201, “any court of

the United States, upon the filing of an appropriate pleading, may declare the rights

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and other legal relations of any interested party seeking such declaration, whether or

not further relief is or could be sought.”

       132. For the same reasons described in Counts 1 through 4, Florida is entitled

to a declaratory judgment that the FAQs are contrary to law, in excess of statutory

authority, arbitrary and capricious, and without observance of procedure required by

law, and thus do not bind or otherwise limit Florida.

                                PRAYER FOR RELIEF

       Plaintiffs respectfully request that the Court:

       A.     Declare that the FAQs are unlawful, in violation of 5 U.S.C. §§ 553 and

              706(2)(A), (C), (D); 42 U.S.C. § 1397gg(e)(1)(K), as amended by 2023

              CAA § 5112(b), 136 Stat. at 5940; 42 U.S.C. § 1397cc(a)(3), (d), (e)(3)(C);

              and 42 C.F.R. § 457.342(b).

       B.     Vacate and set aside the FAQs, as required by 5 U.S.C. § 706(2).

       C.     Enjoin Defendants from enforcing the FAQs, including but not limited

              to disapproving a state CHIP plan amendment, denying a CHIP waiver,

              or initiating a non-compliance finding or corrective action plan based on

              the FAQs.

       D.     Award reasonable attorneys’ fees and allowable costs, including under

              the Equal Access to Justice Act, 5 U.S.C. § 504, and 28 U.S.C. § 2412;

              and

       E.     Grant Plaintiffs such other and further relief to which they are justly

              entitled at law and in equity.

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Dated: February 1, 2024



Respectfully submitted,

ASHLEY MOODY                           /s/ R. Trent McCotter
ATTORNEY GENERAL                       R. Trent McCotter (pro hac vice forthcoming)*
                                       Jared M. Kelson (pro hac vice forthcoming)
Henry C. Whitaker (FBN 1031175)        Laura B. Ruppalt (pro hac vice forthcoming)
SOLICITOR GENERAL                      BOYDEN GRAY PLLC
                                       801 17th St NW, Suite 350
/s/ Natalie Christmas                  Washington, DC 20006
Natalie Christmas (FBN 1019180)*       (202) 706-5488
COUNSELOR TO THE ATTORNEY              tmccotter@boydengray.com
 GENERAL
                                       ANDREW T. SHEERAN
Office of the Attorney General         GENERAL COUNSEL
The Capitol, Pl-01                     Florida Bar No. 0030599
Tallahassee, Florida 32399-1050        Agency for Health Care Administration
(850) 414-3300                         2727 Mahan Drive, Mail Stop #3
(850) 410-2672 (fax)                   Tallahassee, Florida 32308
Natalie.Christmas@myfloridalegal.com   (850) 412-3670
                                       Andrew.Sheeran@ahca.myflorida.com
* Lead Counsel
Counsel for the State of Florida       * Lead Counsel
                                       Counsel for Agency for Health Care
                                         Administration




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               IN THE UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

                              Case No. 8:24-cv-_____


STATE OF FLORIDA; and
FLORIDA AGENCY FOR                  HEALTH
CARE ADMINISTRATION,

Plaintiffs,

v.

CENTERS FOR MEDICARE AND
MEDICAID SERVICES;           CHIQUITA
BROOKS-LASURE, in her official
capacity as Commissioner of Centers for
Medicare     and    Medicaid   Services;
DEPARTMENT OF HEALTH AND
HUMAN SERVICES; and XAVIER
BECERRA, in his official capacity as
Secretary of Health and Human Services,
Defendants.


                     DECLARATION OF AUSTIN NOLL

      I, Austin Noll, declare as follows:

      1.      My name is Austin Noll, I am over 18 years of age, of sound mind, and

capable of making this declaration. This declaration is based on my personal

knowledge and other information known to the Florida Agency for Health Care

Administration (“AHCA”). I believe the facts stated herein to be true and correct. I

would testify to the facts stated in this declaration in open court if called upon to do

so.

                                            1
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      2.     I am the Deputy Secretary for Medicaid Policy, Quality, and Operations

for AHCA. In this role, I oversee the bureaus of Medicaid Policy, Medicaid Quality,

Medicaid Plan Management Operations, Medicaid Recipient and Provider

Assistance, and Medicaid Third Party Liability. I have held this position since

February 2023. Prior to my role as Deputy Secretary, I served as the Chief Operating

Officer of the Florida Healthy Kids Corporation, which operates Florida’s Children’s

Health Insurance Program (“CHIP”) under the direction of AHCA. From November

2016 to February 2023, I oversaw CHIP eligibility and enrollment, plan management

operations, quality, information systems, and data analytics.

      3.     As of October 2023, more than 119,000 children in low- and moderate-

income families statewide receive subsidized health insurance through Florida CHIP.

      4.     In fiscal year 2019–2020, Florida collected over $30 million in premium

payments from CHIP participants.

      5.     On June 22, 2023, Governor DeSantis signed into law Florida H.B. 121

to substantially expand the provision of subsidized health insurance to Florida

children. See An Act Relating to Florida KidCare Program Eligibility, H.B. 121, § 1,

2023 Leg. (Fla. 2023). Florida anticipates that its expanded CHIP plan will provide

subsidized health insurance to an additional 26,096 children in its first full year.

      6.     Florida anticipates that the expanded CHIP will cost an additional $90

million in its first full year. That cost is expected to be funded through approximately

$23.1 million in additional premium payments from families, $19.7 million in

additional state funds, and $47.2 million in additional federal funds.
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      7.     Florida anticipates collecting more than $53 million in total premium

payments from new and existing CHIP participants in the first full year of the

expanded CHIP.

      8.     In October 2023, Centers for Medicare and Medicaid (CMS) issued a

Frequently Asked Questions (FAQs) that prohibits states from disenrolling CHIP

participants for failure to pay premiums during the continuous eligibility period.

      9.     In any given month, Florida anticipates approximately 3% of Florida

CHIP participants will be disenrolled for failing to pay premiums.

      10.    Florida anticipates that if it complies with the CMS FAQs, it will spend

approximately $1 million each month to provide benefits to CHIP participants who

would otherwise have been disenrolled for failing to pay premiums.

      11.    Disenrollments from Florida CHIP occur monthly and become effective

on the first day of the month after the unpaid premium was due. The next

disenrollments will be effective February 1, 2024, for participants who have not paid

premiums due January 1, 2024.



      I declare under penalty of perjury that the foregoing is true and correct.

      Executed on January __,
                          31 2024




                                               _________________________________
                                               AUSTIN NOLL




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                                               State of Florida
       Florida KidCare Program
                               Amendment to Florida’s Title XXI Child Health Insurance Plan
                                Submitted to the Centers for Medicare and Medicaid Services


                                                             Amendment FL-22-0034-CHIP
                                                                         March 11, 2021




FJf rid a Kid Care
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                                                     State Children’s Health Insurance Program


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Phase 1 Effective Date:      April 1, 1998                              2               Revised: 1/26/98, 2/19/98, 3/3/98, 3/6/98
Phase 2 Effective Date:      July 1, 1998                                               Revised: 8/20/98, 8/24/98, 10/1/99, 7/28/00, 1/31/01,
                                                                                        7/02/02, 7/22/02, 1/3/03, 2/13/04, 9/27/04, 11/15/04,
                                                                                        8/11/05, 10/1/06, 7/1/09, 7/1/10, 7/1/11, 7/1/12,
                                                                                        10/1/12, 8/1/2014, 7/1/2014, 5/1/2015, 7/1/16,
                                                                                        9/1/2017, 10/1/17, 7/1/2018, 3/9/2020, 7/1/2020,
                                                                                        3/11/2021
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                                                 State Children’s Health Insurance Program


STATE CHILD HEALTH PLAN UNDER TITLE XXI OF THE SOCIAL SECURITY ACT
               STATE CHILDREN’S HEALTH INSURANCE PROGRAM

                             (Required under 4901 of the Balanced Budget Act of 1997 (New section 2101(b)))




State/Territory:____State of Florida____________________________________________________
                              (Name of State/Territory)



As a condition for receipt of Federal funds under Title XXI of the Social Security Act, (42 CFR, 457.40(b))

____________________________________                                     _______________________________
Tom Wallace, Deputy Secretary for Medicaid                               Date

submits the following State Child Health Plan for the State Children’s Health Insurance Program and hereby
agrees to administer the program in accordance with the provisions of the approved State Child Health Plan, the
requirements of Title XXI and XIX of the Act (as appropriate) and all applicable Federal regulations and other
official issuances of the Department.


The following state officials are responsible for program administration and financial oversight (42 CFR 457.40(c)):
Name: Tom Wallace                                   Position/Title: Deputy Secretary for Medicaid
Name:                                              Position/Title:
Name:                                              Position/Title:


According to the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it displays a
valid OMB control number. The valid OMB control number for this information collection is 0938-0707. The time required to
complete this information collection is estimated to average 160 hours (or minutes) per response, including the time to review
instructions, search existing data resources, gather the data needed, and complete and review the information collection. If you have any
comments concerning the accuracy of the time estimate(s) or suggestions for improving this form, please write to: CMS, P.O. Box
26684, Baltimore, Maryland 21207 and to the Office of the Information and Regulatory Affairs, Office of Management and Budget,
Washington, D.C. 20503.




Phase 1 Effective Date:    April 1, 1998                           3              Revised: 1/26/98, 2/19/98, 3/3/98, 3/6/98
Phase 2 Effective Date:    July 1, 1998                                           Revised: 8/20/98, 8/24/98, 10/1/99, 7/28/00, 1/31/01,
                                                                                  7/02/02, 7/22/02, 1/3/03, 2/13/04, 9/27/04, 11/15/04,
                                                                                  8/11/05, 10/1/06, 7/1/09, 7/1/10, 7/1/11, 7/1/12,
                                                                                  10/1/12, 8/1/2014, 7/1/2014, 5/1/2015, 7/1/16,
                                                                                  9/1/2017, 10/1/17, 7/1/2018, 3/9/2020, 7/1/2020,
                                                                                  3/11/2021
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Section 1.       General Description and Purpose of the Children’s Health Insurance Plans and the
                 Requirements

1.1.              The state will use funds provided under Title XXI primarily for (Check appropriate box)
                 (Section 2101)(a)(1)); (42 CFR 457.70):

    Guidance: Check below if child health assistance shall be provided primarily through the development of a
              separate program that meets the requirements of Section 2101, which details coverage
              requirements and the other applicable requirements of Title XXI.

    1.1.1.
             □ Obtaining coverage that meets the requirements for a separate child health program (Sections
               2101(a)(1) and 2103); OR

    Guidance: Check below if child health assistance shall be provided primarily through providing expanded
              eligibility under the State’s Medicaid program (Title XIX). Note that if this is selected the State
              must also submit a corresponding Medicaid SPA to CMS for review and approval.
    1.1.2.
           □ Providing
              OR
                          expanded benefits under the State’s Medicaid plan (Title XIX) (Section 2101(a)(2));


    Guidance: Check below if child health assistance shall be provided through a combination of both 1.1.1.
              and 1.1.2. (Coverage that meets the requirements of Title XXI, in conjunction with an expansion
              in the State’s Medicaid program). Note that if this is selected the state must also submit a
              corresponding Medicaid state plan amendment to CMS for review and approval.
    1.1.3.    A combination of both of the above. (Section 2101(a)(2))

1.1-DS           The State will provide dental-only supplemental coverage. Only States operating a separate
                 CHIP program are eligible for this option. States choosing this option must also complete
                 sections 4.1-DS, 4.2-DS, 6.2-DS, 8.2-DS, and 9.10 of this SPA template. (Section 2110(b)(5))

Major elements of Florida’s Title XXI plan, known as the Florida KidCare Program, include:

Phase 1 (effective April 1, 1998)

         •       Extending Medicaid coverage for children ages 15 to 19 in families with incomes up to 100% of the
                 Federal Poverty Level;
         •       Expanding the Florida Healthy Kids program, modified to meet the requirements of Title XXI;
Phase 2 (effective July 1, 1998)

         •       Implementing the Florida KidCare program for children in families with incomes up to 200% of the
                 federal poverty level, except for Medicaid. The components of the Florida KidCare program include:

Phase 1 Effective Date:   April 1, 1998                      4            Revised: 1/26/98, 2/19/98, 3/3/98, 3/6/98
Phase 2 Effective Date:   July 1, 1998                                    Revised: 8/20/98, 8/24/98, 10/1/99, 7/28/00, 1/31/01,
                                                                          7/02/02, 7/22/02, 1/3/03, 2/13/04, 9/27/04, 11/15/04,
                                                                          8/11/05, 10/1/06, 7/1/09, 7/1/10, 7/1/11, 7/1/12,
                                                                          10/1/12, 8/1/2014, 7/1/2014, 5/1/2015, 7/1/16,
                                                                          9/1/2017, 10/1/17, 7/1/2018, 3/9/2020, 7/1/2020,
                                                                          3/11/2021
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                                                                       State Children’s Health Insurance Program


                                        −         MediKids, ages 1 to 5;

                                        −         Florida Healthy Kids, ages 5 to 19;

                                        −         the Children’s Medical Services Network for children with special health care needs, ages 0 to
                                                  19; and

                                        −         Medicaid for children under age 19.
                             •          Initiating preventive dental coverage for selected sites for Florida Healthy Kids enrollees
                             •          Converting children under the age of 1 in families with income up to 200% of the federal poverty level, to
                                        Title XIX Medicaid.
                             •          Expanding comprehensive dental coverage for the Florida Healthy Kids program.

                                                                  Florida KidCare Eligibility
                                                                           Florida Healthy Kids Full Pay > 210%
                                 210%   ..................................................
                                 206%
                                        •         MediKids                                                                                       ••
                                 192%                (CHIP                               Florida Healthy Kids                                    •
                                                                                                                                                 ••
     Federal Poverty Level




                                                    funded)                                   (Title XXI-funded)
                                                                                                                                                  ••
                                 140%
                                 133%
                                 112%



                                                                           Medicaid for Children
                                                        (DCF, Eligibility; AHCA, Program Administration)



                                         Ages           Ages
                                         0 to 1     1 through 4    Age 5                       Ages 6 through 18

                                         Medicaid
                                                                                                                        CMS Network
                                         Title XIX-Funded                                                                               ■ ■ ■ ■
                                                                                                                   Title XIX and Title XXI
                                         Title XXI-Funded                                                             (Dept. of Health)
Phase 1 Effective Date:                           April 1, 1998                         5            Revised: 1/26/98, 2/19/98, 3/3/98, 3/6/98
Phase 2 Effective Date:                           July 1, 1998                                       Revised: 8/20/98, 8/24/98, 10/1/99, 7/28/00, 1/31/01,
                                                                                                     7/02/02, 7/22/02, 1/3/03, 2/13/04, 9/27/04, 11/15/04,
                                                                                                     8/11/05, 10/1/06, 7/1/09, 7/1/10, 7/1/11, 7/1/12,
                                                                                                     10/1/12, 8/1/2014, 7/1/2014, 5/1/2015, 7/1/16,
                                                                                                     9/1/2017, 10/1/17, 7/1/2018, 3/9/2020, 7/1/2020,
                                                                                                     3/11/2021
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1.2               Check to provide an assurance that expenditures for child health assistance will not be
                 claimed prior to the time that the State has legislative authority to operate the State plan or plan
                 amendment as approved by CMS. (42 CFR 457.40(d))

                        Florida assures CMS that it will not claim expenditures for child health insurance prior to
                 obtaining legislative authority to operate the CMS-approved plan amendment.

1.3                    Check to provide an assurance that the state complies with all applicable civil rights
                 requirements, including Title VI of the Civil Rights Act of 1964, Title II of the Americans with
                 Disabilities Act of 1990, section 504 of the Rehabilitation Act of 1973, the Age Discrimination
                 Act of 1975, 45 CFR part 80, part 84, and part 91, and 28 CFR part 35. (42CFR 457.130)
                 Guidance: The effective date as specified below is defined as the date on which the State begins to
                 incur costs to implement its State plan or amendment. (42 CFR 457.65) The implementation date

                          The state assures that it complies with all applicable civil rights requirements.

1.4              Provide the effective (date costs begin to be incurred) and implementation (date services begin to be
                 provided) dates for this SPA (42 CFR 457.65). A SPA may only have one effective date, but
                 provisions within the SPA may have different implementation dates that must be after the effective
                 date.

                 Original Plan
                 Effective Date: July 1, 2018

                 Implementation Date: July 1, 2018

                 SPA #FL-19-00XX Purpose of SPA: Medicaid and Children’s Health Insurance Program (CHIP)
                 Programs; Medicaid Managed Care, CHIP Delivered in Managed Care and Revisions Related to
                 Third Party Liability Final Rule – To demonstrate compliance with the CHIP Managed Care final
                 regulations reflecting changes in the usage of managed care delivery systems.

                 Proposed effective date: July 1, 2018

                 Proposed implementation date: July 1, 2018

                 SPA #1 (MediKids and CMSN Expansion)
                        Effective date:      July 1, 1998
                        Implementation date: October 1998

                 SPA #2 (Employer-sponsored Insurance)

Phase 1 Effective Date:   April 1, 1998                      6            Revised: 1/26/98, 2/19/98, 3/3/98, 3/6/98
Phase 2 Effective Date:   July 1, 1998                                    Revised: 8/20/98, 8/24/98, 10/1/99, 7/28/00, 1/31/01,
                                                                          7/02/02, 7/22/02, 1/3/03, 2/13/04, 9/27/04, 11/15/04,
                                                                          8/11/05, 10/1/06, 7/1/09, 7/1/10, 7/1/11, 7/1/12,
                                                                          10/1/12, 8/1/2014, 7/1/2014, 5/1/2015, 7/1/16,
                                                                          9/1/2017, 10/1/17, 7/1/2018, 3/9/2020, 7/1/2020,
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                           Disapproved:         November 5, 1999

                 SPA #3 (Healthy Kids Dental Pilot)
                        Effective date:      October 1, 1999
                        Implementation date: October 1, 1999

                 SPA #4 (Expands Medicaid <1, MediKids Mandatory Assignment)
                        Effective date:      July 1, 2000
                        Implementation date: July 1, 2000

                 SPA #5 (Expands Healthy Kids Dental Coverage)
                        Effective date:      February 1, 2001
                        Implementation date: February 1, 2001

                 SPA #6 (School-based Health Services)
                        Effective date:      July 1, 2002
                        Implementation date: July 1, 2002

                 SPA #7 (Employer-Sponsored Coverage)
                        SPA Withdrawn

                 SPA #8 (Compliance)
                        Effective date:      February 7, 2003
                        Implementation date: July 1, 2002

                 SPA #9 (Legislative Changes)
                        Effective date:       July 1, 2003 & December 1, 2003
                        Implementation date: July 1, 2003

                 SPA#10 (PIC Services)
                       Effective date:      March 11, 2004
                       Implementation date: March 11, 2004

                 SPA#11 (Change in Source of State Funding)
                       Withdrawn: April 10, 2006

                 SPA#12 (Legislative Changes)
                       Effective date:       April 1, 2004 and July 1, 2004
                       Implementation date: April 1, 2004 and July 1, 2004


Phase 1 Effective Date:   April 1, 1998                    7            Revised: 1/26/98, 2/19/98, 3/3/98, 3/6/98
Phase 2 Effective Date:   July 1, 1998                                  Revised: 8/20/98, 8/24/98, 10/1/99, 7/28/00, 1/31/01,
                                                                        7/02/02, 7/22/02, 1/3/03, 2/13/04, 9/27/04, 11/15/04,
                                                                        8/11/05, 10/1/06, 7/1/09, 7/1/10, 7/1/11, 7/1/12,
                                                                        10/1/12, 8/1/2014, 7/1/2014, 5/1/2015, 7/1/16,
                                                                        9/1/2017, 10/1/17, 7/1/2018, 3/9/2020, 7/1/2020,
                                                                        3/11/2021
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                 SPA#13 (KidCare Policy Changes)
                       Effective date:      September 14, 2004
                       Implementation date: September 14, 2004 and March 12, 2004

                 SPA#14 (Hurricane Premium Credits)
                        Effective date:     September 1, 2004
                        Implementation date: September 1, 2004

                 SPA#15 (Legislative Changes)
                        Effective date:       December 21, 2004
                        Implementation date: December 21, 2004

                 SPA #16 (Legislative Changes)
                         Effective date:       June 1, 2005
                         Implementation date: June 10, 2005

                 SPA #17 (Policy Clarifications)
                         Effective Date:         October 1, 2006
                         Implementation Date: October 1, 2006


                 SPA #18 (Legislative Changes)
                           Effective Date:        July 1, 2009
                           Implementation Date: July 1, 2009 and October 1, 2009 (for removal of
                 limitations for mental health and substance abuse services)

                 SPA #19 (CHIPRA Dental Compliance)
                        Effective Date:      July 1, 2010
                        Implementation Date: July 1, 2010

                 SPA #19 (Legislative Changes and Improvements)
                        Effective Date:       July 1, 2011

                 SPA #20 (Legislative Changes and Improvements)
                       SPA Withdrawn:         January 31, 2012

                 SPA #21 (Legislative Changes and Improvements)
                       Effective Date:       July 1, 2011
                       Implementation Date: July 1, 2011


Phase 1 Effective Date:   April 1, 1998                    8            Revised: 1/26/98, 2/19/98, 3/3/98, 3/6/98
Phase 2 Effective Date:   July 1, 1998                                  Revised: 8/20/98, 8/24/98, 10/1/99, 7/28/00, 1/31/01,
                                                                        7/02/02, 7/22/02, 1/3/03, 2/13/04, 9/27/04, 11/15/04,
                                                                        8/11/05, 10/1/06, 7/1/09, 7/1/10, 7/1/11, 7/1/12,
                                                                        10/1/12, 8/1/2014, 7/1/2014, 5/1/2015, 7/1/16,
                                                                        9/1/2017, 10/1/17, 7/1/2018, 3/9/2020, 7/1/2020,
                                                                        3/11/2021
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                 SPA #22 (Legislative Changes and Clarifications)
                       Effective Date:       July 1, 2012
                       Implementation Date: July 1, 2012

                 SPA #23 (Provisional Eligibility)
                       Effective Date:            October 1, 2012
                       Implementation Date: October 1, 2012

                 SPA #24 Temporary Renewal Grace Period Extension
                       Effective Date:       August 1, 2014
                       Implementation Date:  August 1, 2014

                                    Superseding Pages of MAGI CHIP State Plan Material

            Transmittal                SPA        PDF            Description               Superseded Plan Section(s)
             Number                   Group         #
        FL-13-0001                  MAGI          CS7      Eligibility – Targeted        Supersedes the current sections
                                    Eligibility            Low Income Children           Geographic Area 4.1.1; Age
                                    &                                                    4.1.2; and Income 4.1.3:
        Effective/                  Methods                                              Supersede all
        Implementation Date:                      CS7      Eligibility – Special
        January 1, 2014                                    Program for Children          Sections 3.1, 3.2, 4.1.6, 4.1.9, 4.3
                                                           with Disabilities             and 4.4.1: Supersede Information
                                                  CS10                                   on Children’s Medical Services
                                                           Children With Access          Network
                                                           to Public Employee
                                                  CS10     Coverage                      Section 4.4.1: Supersede
                                                                                         information on dependents of
                                                           Maintenance of                employees of a public agency
                                                  CS15     Agency Contribution           Appendix: Supersede current
                                                                                         documentation
                                                           MAGI-Based Income
                                                           Methodologies                 Section 4.3: Add new subsection
                                                                                         and supersede information on
                                                                                         income eligibility and methods
                                                                                         Appendix A: supersedes all

        FL-13-0002                  XXI           CS3      Eligibility for             Supersedes the current Medicaid
                                    Medicaid               Medicaid Expansion          expansion section 4.0
        Effective/                  Expansion              Program
Phase 1 Effective Date:   April 1, 1998                      9             Revised: 1/26/98, 2/19/98, 3/3/98, 3/6/98
Phase 2 Effective Date:   July 1, 1998                                     Revised: 8/20/98, 8/24/98, 10/1/99, 7/28/00, 1/31/01,
                                                                           7/02/02, 7/22/02, 1/3/03, 2/13/04, 9/27/04, 11/15/04,
                                                                           8/11/05, 10/1/06, 7/1/09, 7/1/10, 7/1/11, 7/1/12,
                                                                           10/1/12, 8/1/2014, 7/1/2014, 5/1/2015, 7/1/16,
                                                                           9/1/2017, 10/1/17, 7/1/2018, 3/9/2020, 7/1/2020,
                                                                           3/11/2021
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            Transmittal                SPA         PDF             Description              Superseded Plan Section(s)
              Number                  Group         #
        Implementation Date:
        January 1, 2014

        FL-13-0003                  Establish     CS14      Children Ineligible for       Incorporate within a separate
                                    2101(f)                 Medicaid as a Result          subsection under section 4.1
        Effective/                  Group                   of the Elimination of
        Implementation Date:                                Income Disregards
        January 1, 2014

        FL-13-0004                  Non-          CS17      Non-Financial           Supersedes the current section
                                    Financial               Eligibility – Residency 4.1.5
        Effective/                  Eligibility
        Implementation Date:                      CS18      Non-Financial –
        January 1, 2014                                     Citizenship                   Supersedes the current sections
                                                                                          4.1.0; 4.1-LR; 4.1.1-LR
                                                  CS19
                                                            Non-Financial –               Supersedes the current section
                                                            Social Security               4.1.9.1
                                                  CS20      Number

                                                  CS21      Substitution of               Supersedes the current section
                                                            Coverage                      4.4.4
                                                  CS27
                                                            Non-Payment of                Supersedes the current section 8.7
                                                            Premiums
                                                                                          Supersedes the current section
                                                            Continuous Eligibility        4.1.8

                 SPA #25 Monthly Premium Conversion and Prospective Payment System
                         Effective Date:        July 1, 2014
                         Implementation Date: July 1, 2014
                         Premium change to Modified Adjusted Gross Income (MAGI) conversion will
                 be retroactive to January 1, 2014.
                         The Medicaid Prospective Payment System was implemented October 1, 2009.
                 SPA #25 is updated to include this policy.

                 SPA FL-15-0026-CHIP, CS7 (Changes to Program for Children with Disabilities)
                       Effective Date:          May 1, 2015
Phase 1 Effective Date:   April 1, 1998                       10            Revised: 1/26/98, 2/19/98, 3/3/98, 3/6/98
Phase 2 Effective Date:   July 1, 1998                                      Revised: 8/20/98, 8/24/98, 10/1/99, 7/28/00, 1/31/01,
                                                                            7/02/02, 7/22/02, 1/3/03, 2/13/04, 9/27/04, 11/15/04,
                                                                            8/11/05, 10/1/06, 7/1/09, 7/1/10, 7/1/11, 7/1/12,
                                                                            10/1/12, 8/1/2014, 7/1/2014, 5/1/2015, 7/1/16,
                                                                            9/1/2017, 10/1/17, 7/1/2018, 3/9/2020, 7/1/2020,
                                                                            3/11/2021
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                          Implementation Date:           May 1, 2015

                 SPA FL-16-0027-CHIP, CS18 (CHIPRA Section 214 for Lawfully Residing Children)
                       Effective Date:          July 1, 2016
                       Implementation Date:     July 1, 2016

                 SPA FL-17-0028-CHIP (Disaster Relief –To implement provisions for temporary adjustments to
                 enrollment and renewal policies and cost sharing requirements for children in families living
                 and/or working in Governor or FEMA declared disaster areas. In the event of a natural disaster,
                 the State will notify CMS that it intends to provide temporary adjustments to its enrollment
                 and/or renewal policies and cost sharing requirements, the effective and duration date of such
                 adjustments, and the applicable Governor or FEMA declared disaster areas.)
                         Effective Date:                        September 1, 2017
                         Proposed Implementation Date:          September 7, 2017

                SPA FL-17-0029-CHIP (Mental Health Parity and Addiction Equity Act (MHPAEA) - To
                implement the requirements of the Mental Health Parity and Addiction Equity Act of 2008
                preventing group health plans and health insurance issuers from imposing less favorable benefit
                limitations on mental health or substance use disorder benefits.

                          Effective Date:                        October 1, 2017
                          Proposed Implementation Date:          October 1, 2017


                 SPA #FL-19-0030-CHIP - Medicaid and Children’s Health Insurance Program (CHIP)
                 Programs; Medicaid Managed Care, CHIP Delivered in Managed Care and Revisions Related to
                 Third Party Liability Final Rule – To demonstrate compliance with the CHIP Managed Care
                 final regulations reflecting changes in the usage of managed care delivery systems.

                 Proposed effective date: July 1, 2018

                 Proposed implementation date: July 1, 2018

                 SPA #FL-19-0031-CHIP - SPA withdrawn. The Florida Legislature removed provision from
                 the state statute permitting the Florida KidCare Program to impose a $1 million maximum
                 lifetime limit on covered benefits and services for children enrolled in the Florida Healthy Kids
                 program.

                 SPA #FL-20-0032-CHIP - The state is revising the CHIP State Plan to include Disaster Relief
                 Provisions for co-payments during a declared emergency.

Phase 1 Effective Date:   April 1, 1998                    11            Revised: 1/26/98, 2/19/98, 3/3/98, 3/6/98
Phase 2 Effective Date:   July 1, 1998                                   Revised: 8/20/98, 8/24/98, 10/1/99, 7/28/00, 1/31/01,
                                                                         7/02/02, 7/22/02, 1/3/03, 2/13/04, 9/27/04, 11/15/04,
                                                                         8/11/05, 10/1/06, 7/1/09, 7/1/10, 7/1/11, 7/1/12,
                                                                         10/1/12, 8/1/2014, 7/1/2014, 5/1/2015, 7/1/16,
                                                                         9/1/2017, 10/1/17, 7/1/2018, 3/9/2020, 7/1/2020,
                                                                         3/11/2021
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                 Proposed effective date: March 9, 2020

                 Proposed implementation date: March 9, 2020

                 SPA #FL-2021-0033 Purpose of SPA: To demonstrate compliance with section 5022 of the
                 Substance Use-Disorder Prevention that Promotes Opioid Recovery and Treatment for Patients
                 and Communities (SUPPORT Act) in areas related to coverage of behavioral health screening
                 prevention and treatment services, strategies to facilitate use of appropriate screening and
                 assessment tools and the requirement that these services be provided in a culturally and
                 linguistically appropriate manner.

                 Proposed effective date: July 1, 2020

                 Proposed implementation date: July 1, 2020

                 SPA #FL-2021-0034 Purpose of SPA: The purpose of this SPA is to demonstrate compliance with
                 the American Rescue Plan Act provisions that require states to cover treatment (including
                 treatment of a condition that may seriously complicate COVID-19 treatment), testing, and
                 vaccinations for COVID-19 without cost sharing in CHIP.

                 Proposed effective date: March 11, 2021

                 Proposed implementation date: March 11, 2021

1.4- TC          Tribal Consultation (section 2107(e)(1)(C) Describe the consultation process that occurred
                 specifically for the development and submission of the State Plan Amendment, when it occurred
                 and who was involved.

                 SPA #21 – Proposed Effective Date: September 1, 2011
                 In accordance with out tribal consultation process described in Section 2.3-TC, letters were sent
                 to the Seminole and Miccosukee Tribes on 9/7/2011 outlining the SPA changes. The letters ask
                 that comments or questions be directed to Gail Hansen at the Agency for Health Care
                 Administration.

                 SPA #22 –Effective Date:                 July 1, 2012
                 In accordance with our approved tribal consultation process described in Section 2.3-TC, the
                 tribal notification letters were sent to the Seminole and Miccousukee Tribes on June 21, 2012,
                 listing the SPA changes. The letters asked that comments be directed to Gail Hansen at the
                 Agency for Health Care Administration. The letters advised the tribes that no response would be

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Phase 2 Effective Date:   July 1, 1998                                  Revised: 8/20/98, 8/24/98, 10/1/99, 7/28/00, 1/31/01,
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                 interpreted as they had no comments. No response was received from either tribe.

                 SPA #23 – Effective Date:                October 1, 2012
                 In accordance with our approved tribal consultation process described in Section 2.3-TC, the
                 tribal notification letters were sent to the Seminole and Miccosukee Tribes on August 13, 2012,
                 listing the SPA changes. The letters asked that comments be directed to Gail Hansen at the
                 Agency for Health Care Administration. The letters advised the tribes that no response would be
                 interpreted as they had no comments. No response was received from either tribe.

                 SPA #24 – Effective Date:                August 1, 2014
                 In accordance with our approved tribal consultation process described in Section 2.3-TC, the
                 tribal notification letters were sent to the Seminole and Miccosukee Tribes on June 18, 2014,
                 describing the SPA changes, The letters asked that comments be directed to Gail Hansen at the
                 Agency for Health Care Administration. The letters advised the tribes that no response would be
                 interpreted as they had no comments. No response was received from either tribe.

                 SPA #25 – Effective Date:                July 1, 2014
                 In accordance with our approved tribal consultation process described in Section 2.3-TC, the
                 tribal notification letters were sent to the Seminole and Miccosukee Tribes on December 10,
                 2014, describing the SPA changes. The letters asked that comments be directed to Gail Hansen
                 at the Agency for Health Care Administration. The letters advised the tribes that no response
                 would be interpreted as they had no comments. On December 28, 2014, the Seminole Tribe
                 requested further clarification. The requested clarification was provided on December 28, 2014.
                 On December 31, 2014, a follow-up question was received, and a response was provided on
                 December 31, 2014. No further comments or requests were received.

                 SPA #26, CS7 - Effective Date:         May 1, 2015

                 This SPA clarifies changes to the Program for Children with Disabilities. The tribal notification
                 letters were sent to the Seminole and Miccosukee Tribes on May 21, 2015, describing the State
                 Plan Amendment changes. The letters advised the Tribes that no response would be interpreted
                 as the Tribes having no comments.

                 No further comments or requests were received.

                 SPA#27 -Effective Date:                July 17, 2016

                 This SPA clarifies lawfully residing children may receive CHIP coverage and will no longer be
                 subject to a five-year waiting period as provided under section 214 of the Children’s Health
                 Insurance Program Reauthorization Act of 2009 (CHIPRA). The tribal notification letters were

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Phase 2 Effective Date:   July 1, 1998                                   Revised: 8/20/98, 8/24/98, 10/1/99, 7/28/00, 1/31/01,
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                 sent to the Seminole and Miccosukee Tribes on April 28, 2016, describing the State Plan
                 Amendment changes. The letters advised the Tribes that no response would be interpreted as the
                 Tribes having no comments

                 No further comments or requests were received.


                 SPA #28 - Effective Date:               September 7, 2017

                 According to Florida’s Tribal Consultation Policy, the state does not need to provide tribal
                 consultation in the event that a SPA is not restrictive. In the event of a natural disaster, this SPA
                 permits the State to notify CMS that it intends to provide temporary adjustments to its enrollment
                 and/or renewal policies and cost sharing requirements, the effective and duration date of such
                 adjustments, in the applicable Governor or FEMA declared disaster areas.)

                 SPA #29 - Effective Date:              October 17, 2017

                 According to Florida’s Tribal Consultation Policy, the state does not need to provide tribal
                 consultation in the event that a SPA is not restrictive. This SPA implements the requirements of
                 the Mental Health Parity and Addiction Equity Act of 2008 preventing group health plans and
                 health insurance issuers from imposing less favorable benefit limitations on mental health or
                 substance use disorder benefits.

                 SPA #30 - Effective Date:              July 1, 2018

                 This SPA demonstrates compliance with the CHIP Managed Care final regulations reflecting
                 changes in the usage of managed care delivery systems. The tribal notification letters were sent
                 to the Seminole and Miccosukee Tribes on June 4, 2019, describing the State Plan Amendment
                 changes. The letters advised the Tribes that no response would be interpreted as the Tribes
                 having no comments. On June 11, 2019, the Seminole Tribe requested further clarification. The
                 Agency provided clarification on June 18, 2019.

                 No further comments or requests were received.

                 SPA #31 - Effective Date:              SPA Withdrawn

                 SPA #32 - Effective Date:               March 9, 2020

                 According to Florida’s Tribal Consultation Policy, the state does not need to provide tribal
                 consultation in the event that a SPA is not restrictive. This SPA provides the state with an option

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Phase 2 Effective Date:   July 1, 1998                                   Revised: 8/20/98, 8/24/98, 10/1/99, 7/28/00, 1/31/01,
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                 to waive cost sharing during a state of emergency. The SPA is not restrictive, and therefore did
                 not require Tribal consultation.”

                 SPA #33 - Effective Date:                July 1, 2020

                 The State issued Tribal Correspondence to the Seminole and Miccosukee Tribes of Florida on
                 May 28, 2021, describing the amendment. The State received no feedback regarding this
                 amendment.

                 SPA #34 - Effective Date:                March 11, 2021

                 According to Florida’s Tribal Consultation Policy, the state does not need to provide tribal
                 consultation in the event that a SPA is not restrictive. This SPA demonstrates compliance with
                 the American Rescue Plan Act provisions that require states to cover treatment (including
                 treatment of a condition that may seriously complicate COVID-19 treatment), testing, and
                 vaccinations for COVID-19 without cost sharing in CHIP.

    Section 2. General Background and Description of Approach to Children’s Health Insurance Coverage
    and Coordination

                 Guidance: The demographic information requested in 2.1. can be used for State planning and will be
                 used strictly for informational purposes. THESE NUMBERS WILL NOT BE USED AS A BASIS
                 FOR THE ALLOTMENT.

                 Factors that the State may consider in the provision of this information are age breakouts, income
                 brackets, definitions of insurability, and geographic location, as well as race and ethnicity. The State
                 should describe its information sources and the assumptions it uses for the development of its
                 description.

                 •   Population
                 •   Number of uninsured
                 •   Race demographics
                 •   Age Demographics
                 •   Info per region/Geographic information



        2.1.     Describe the extent to which, and manner in which, children in the state including targeted low-
                 income children and other classes of children, by income level and other relevant factors, such as
                 race and ethnicity and geographic location, currently have creditable health coverage (as defined
                 in 42 CFR 457.10). To the extent feasible, make a distinction between creditable coverage under
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Phase 2 Effective Date:   July 1, 1998                                    Revised: 8/20/98, 8/24/98, 10/1/99, 7/28/00, 1/31/01,
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                 public health insurance programs and public-private partnerships (See Section 10 for annual
                 report requirements). (Section 2102(a)(1)); (42 CFR 457.80(a))

                 Guidance: Section 2.2 allows states to request to use the funds available under the 10 percent limit on
                 administrative expenditures in order to fund services not otherwise allowable. The health services
                 initiatives must meet the requirements of 42 CFR 457.10.

                 Insured Children

                 Almost 2.8 million of Florida’s 3.6 million children under age 19 are insured. Females represent
                 49 percent of insured children and males represent 51 percent. White children account for 80.4
                 percent of insured children under age 19, and non-whites account for 19.6 percent.
                 At the inception of the Florida KidCare Program, the state lacked sufficient information about
                 the distribution of the insured by geographic region. However, the 1998 Legislature authorized
                 funding for a comprehensive health care study, the primary goal of which was to update the
                 estimates of Florida’s insured and uninsured populations. This study included information on
                 insurance and uninsurance status by geographic region, race and ethnicity, employment and
                 income level, the extent of dependent coverage, and type of coverage employees select. (See
                 updated information from the insurance study, on page 10)
                 Uninsured Children

                 Florida has one of the nation’s largest uninsured populations. An estimated 12.1 percent of
                 Florida’s 4.4 million children under age 19 are uninsured. Of the approximately 646,430
                 uninsured children, males represent slightly more than one half (53 percent). Whites account for
                 42.1 percent, African Americans account for 19.3 percent, Hispanics account for 36.3 percent,
                 Asian and Pacific Islanders account for 2.2 percent, and Native Americans account for less than
                 0.1 percent. As a consequence, uninsured children are typically treated for urgent or emergent
                 conditions in inappropriate settings and do not share the continuity of care enjoyed by their
                 insured peers.
                  Most of Florida’s uninsured children — 42 percent — reside in the southern part of the state.
                  Thirty-six percent reside in Central Florida counties, and 22 percent reside in North Florida.
                  Estimates of the uninsured children by geographic region were obtained by assuming that the
                  statewide uninsurance rate of 23 percent is equally distributed among all 67 Florida counties.
                  These estimates were derived from the 1993 RAND survey and updated by population estimates
                  from Florida’s Joint Legislative Management Committee, Division of Economic and
                  Demographic Research, the 1997 Florida Statistical Abstract, and the Urban Institute’s State-
                  Level Data Book on Health Care Access and Financing.
                  art of Florida’s high uninsurance rate can be attributed to the characteristics of the state’s
                  business economy. Larger firms are more likely to offer health insurance as a benefit than small
                  firms. More than 95 percent of Florida’s businesses employ fewer than 25 individuals.
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Phase 2 Effective Date:   July 1, 1998                                    Revised: 8/20/98, 8/24/98, 10/1/99, 7/28/00, 1/31/01,
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                 Health Insurance and Access to Care

                 Access to health care is crucial to a child’s development. Children who have health insurance
                 are more likely to receive preventive care — care that helps keep them in good health. Children
                 who lack affordable access to a doctor are less likely to seek treatment for minor illnesses,
                 suffering until the body heals itself or the condition becomes too severe for home treatments.
                 For many children, the emergency room is their primary source of care. The Centers for Disease
                 Control in 1991 reported that, for 13 percent of children ages 15 and under, hospital outpatient
                 departments were their primary contact for health care services.
                 Another study found that uninsured children under the age of 19 are eight times more likely to
                 receive care in an emergency room than children with insurance. This type of care is devastating
                 to the child. The severe outcomes of these medical conditions reduce the child’s ability to attend
                 school and participate in the activities of a normal childhood. The costs associated with this
                 level of care are not limited to the child, but affect the community as a whole. Emergency room
                 services are expensive, especially when they are used to treat illnesses that could have been
                 prevented by an earlier visit to a physician. According to the Journal of the American Medical
                 Association, lack of health care coverage is an important factor in the delay of seeking preventive
                 and acute care. Children with health insurance are more likely to be fully immunized, have more
                 preventive care visits, fewer physician office visits for illnesses and fewer emergency room
                 visits. For children with a regular source of care, total health care costs are lowered by 25%.
                 Prior to the inception of Florida KidCare, the structure of health insurance programs left more
                 than 823,000 Florida children uninsured. This problem was partly a result of the system of
                 employment-based health insurance. Although no single approach can solve the problems, Title
                 XXI funding for the Florida KidCare program significantly reduced the number of uninsured
                 children.
                 The Institute for Child Health Policy released their Statewide Children’s Health Insurance
                 Survey dated June 2002. The results show that approximately 15% of Florida’s children are
                 currently uninsured. The figures varied by federal poverty level (FPL) and have increased in
                 both the less than 100% FPL category and the greater than 200% FPL category.
                 The Urban Institute and Kaiser Commission on Medicaid and the Uninsured, based on estimates
                 from the March 2002 and 2003 Current Population Surveys, determined that 16% of Florida’s
                 children are currently uninsured.
                 Florida KidCare Law

                 The 1998 Legislature enacted the Florida KidCare Act, which dramatically enhances child health
                 insurance options under Florida’s Title XXI child health insurance plan. Florida KidCare
                 consists of the following components:
                 •        MediKids, a Medicaid “look-alike” program for children ages 1 to 5;
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Phase 2 Effective Date:   July 1, 1998                                   Revised: 8/20/98, 8/24/98, 10/1/99, 7/28/00, 1/31/01,
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                 •        Healthy Kids for children ages 5 to 19;
                 •        The Children’s Medical Services Network (CMSN) for children ages 0 to 19 who have a
                          special health care need; and
                 •        Medicaid for children under age 19.
                 Except for Medicaid, financial eligibility for the Florida KidCare program is 200 percent of the
                 federal poverty level. Except for Medicaid, the Florida KidCare program is not an entitlement
                 and participants contribute to the cost of their monthly premiums. The KidCare law also
                 provides for six months of continuous eligibility for coverage.
                 The 2000 Florida Legislature authorized the following changes affecting the Title XXI Florida
                 KidCare Program:
                 •        Funding for 102,000 additional children in KidCare
                 •        Mandatory Assignment for MediKids: This is a vehicle that is not intended to restrict
                          enrollee choices. It is a measure to speed up the actual enrollment process by assuring a
                          provider choice is made.
                 •        Medicaid Expansion for Children Under Age 1: This is an expanded Medicaid eligibility
                          for children under the age of 1 to 200% of poverty. Medicaid covers children under age 1
                          up to 185% FPL, and the Medicaid expansion for children under Age 1 covers children
                          from 185% FPL to 200% FPL. These children are not included in the MediKids
                          program, as MediKids covers children ages one through four.
                 •        Expedited eligibility for KidCare program components: This authorized each of the
                          KidCare partners to seek innovative measures to speed up the eligibility process.
                 •        Implementing a comprehensive dental benefit program for the Florida Healthy Kids
                          Corporation for counties that contribute at least $4,000 annually in local match funds,
                          effective February 1, 2001. The Corporation began a staggered implementation of this
                          program to eligible counties on February 1, 2001.
                 The 2001 Florida Legislature further amended the Florida KidCare program in the following
                 areas:
                 •        Removed the $4,000 local match requirement in order to have a comprehensive dental
                          program in the Healthy Kids program. Healthy Kids was then required to expand this
                          benefit statewide by June 30, 2002.
                 •        Waived any local match requirements for the Healthy Kids program for the 2001-2002
                          state fiscal year.
                 The 2002 Florida Legislature amended the Healthy Kids’ enabling statute, the Florida Healthy
                 Kids Corporation Act, in order to address the issue of local match and to prescribe a specific

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                 formula for the calculation of match only on Healthy Kids’ non-Title XXI enrollees. The 2002
                 Legislature also provided $33.8 million in additional state funds to meet projected enrollment
                 needs during the 2002-2003 state fiscal year.

                 The 2003 Florida Legislature made several statutory changes to the Florida KidCare Program’s
                 enabling legislation and adjusted the funding for the Florida KidCare Program based on several
                 program modifications including:

                 •          Effective July 1, 2003, the family premium payment increased from $15 per family per
                            month to $20 per family per month for all Florida KidCare Program components (non-
                            Medicaid). Effective January 1, 2004, a tiered monthly premium system will be
                            implemented as follows: the family premium will be $15 for families with income less
                            than or equal to 150% of the federal poverty level and $20 for families with incomes
                            above 150% to 200% of the federal poverty level ($5 credits were provided in January to
                            those families whose incomes were less than or equal to 150% of the Federal Poverty
                            Level for each month of coverage their children had received between August 2003 and
                            December 2003);

                 •          Effective July 1, 2003, dental benefits were capped at $750 per enrollee per year (July 1 –
                            June 30) for children enrolled in the Florida Healthy Kids program; and,

                 •          Effective October 1, 2003, co-payments are increased from $3 to $5 for certain health
                            care services for children enrolled in the Florida Healthy Kids program.

                 In addition to the statutory changes, the 2003 Florida Legislature eliminated funding for outreach
                 for the KidCare Program, and appropriated funds that will limit enrollment to the June 30, 2003
                 enrollment levels.

                 The 2004 Florida Legislature made several statutory changes to the Florida KidCare Act, as
                 follows:

                           Provides an interim appropriation for SFY 2003-2004 to fund the enrollment of children
                            who were on the wait list on or before March 11, 2004;

                           Restricts application processing and enrollment for the Florida KidCare Program to no
                            more than two 30-day open enrollment periods per year, in September and January,
                            subject to available funding;

                           Applications for the KidCare program, except Medicaid, will be accepted and processed
                            only during open enrollment periods; applications for Title XXI received outside of an

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                                                                            7/02/02, 7/22/02, 1/3/03, 2/13/04, 9/27/04, 11/15/04,
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                              open enrollment period will not be processed and no wait lists will be maintained;

                           Requires verification and proof of income supported by copies of any federal income tax
                            return for the prior year, any wages and earnings statements (W-2 forms), and any other
                            appropriate document;

                           Changes eligibility criteria to include accessibility to employer-based insurance coverage
                            and provides an affordability test allowing families whose coverage would exceed 5% of
                            the family’s income to continue to be eligible for KidCare;

                           Excludes from eligibility any applicant who has voluntarily canceled employer-based
                            coverage in the six months prior to application for Title XXI, provides an exception for
                            children whose pre-existing condition would exclude them from their parents’ employer-
                            sponsored health insurance;

                           Requires disenrollment from Title XXI Florida KidCare when the program is over-
                            enrolled, except for those children enrolled in CMSN;
                           Authorizes Children’s Medical Services Network (CMSN) to enroll up to 120 additional
                            children outside of open enrollment periods annually, within existing resources, and
                            based on emergency disability criteria outside the open enrollment periods. CMSN is
                            exempt from disenrollment provisions. Children will not be required to disenroll from
                            other components to support the 120 CMSN enrollment slots;

                           Modifies the Healthy Kids dental benefit language to require dental benefits coverage
                            for Healthy Kids enrollees and further provides that the benefit may include all services
                            available to children under Medicaid. Effective July 1, 2004 the dental premium rate
                            capped at $12 per member per month;

                           Provides for the withhold of benefits and prosecution of fraud for applicants and
                            enrollees who submit fraudulent information or fail to provide evidence of eligibility;

                           Establishes a 12-month continuous eligibility period, effective January 1, 2005;

                           Changes the standards for Healthy Kids insurer contracting process; and

                           Eliminates the statutory references related to outreach functions.

                 During the 2004 December special session, the Florida Legislature made a statutory change to
                 the Florida KidCare Act, revising the income documentation requirement, as follows:

                              Effective December 21, 2004, families are required to provide proof of income,
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                               including a copy of the most recent federal income tax return. In the absence of a
                               federal income tax return, the family may submit wages and earnings statements, W-2
                               forms, or other appropriate documents.

                 The 2005 Florida Legislature made several statutory changes to the Florida KidCare Act, as
                 follows:

                              Upon a determination from the Social Services Estimating Conference, applications for
                               the Florida KidCare Program will be accepted at any time throughout the year for the
                               purpose of enrolling children eligible for all Title XXI program components. Children
                               will be enrolled on a first-come, first-served basis using the date the application is
                               received. Enrollment will cease when the enrollment ceiling is reached. The
                               enrollment ceiling is based on available funding. Enrollment will resume when the
                               Social Services Estimating Conference determines sufficient federal and state funds are
                               available to finance the increased enrollment through federal fiscal year 2007.

                              The Florida KidCare application will be valid for a period of 120 days after the date it
                               was received. At the end of the 120-day period, if the applicant has not been enrolled in
                               the program, the application shall be invalid and the applicant shall be notified. The
                               applicant may resubmit another application, or request that a previously submitted
                               application be reactivated.

                              Eliminates the provision that Children’s Medical Services Network (CMSN) may enroll
                               up to 120 additional children outside of open enrollment periods.

                              Allocates up to $40,000 in state funds for the production and distribution of information
                               about the Florida KidCare program through the school system. The materials are to be
                               distributed on the first day of the 2005-2006 school year.

                              Caps the dental premium rate for the Healthy Kids program at not more than $12 per
                               member per month for the 2005/2006 state fiscal year.

                 The 2006 Florida Legislature made the following statutory changes to the Florida KidCare Act:

                              Requires the Agency for Health Care Administration to implement a Full Pay buy-in
                               program for MediKids-aged children by July 1, 2006.

                         Allocates $1,000,000 in state funds for a KidCare community-based marketing and
                          
                         outreach matching grant program. No federal matching funds will be used.
                 The 2009 Florida Legislature made the following statutory changes to the Florida KidCare:

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Phase 2 Effective Date:       July 1, 1998                                   Revised: 8/20/98, 8/24/98, 10/1/99, 7/28/00, 1/31/01,
                                                                             7/02/02, 7/22/02, 1/3/03, 2/13/04, 9/27/04, 11/15/04,
                                                                             8/11/05, 10/1/06, 7/1/09, 7/1/10, 7/1/11, 7/1/12,
                                                                             10/1/12, 8/1/2014, 7/1/2014, 5/1/2015, 7/1/16,
                                                                             9/1/2017, 10/1/17, 7/1/2018, 3/9/2020, 7/1/2020,
                                                                             3/11/2021
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                     •    Requires the marketing of the program as “Florida KidCare”.

                     •    Reduces the voluntary nonpayment of premium penalty from 60 days to 30 days.

                     •    Allows children clinically eligible for Children’s Medical Services Network to opt out of
                          the CMS Network and instead be enrolled in MediKids or Healthy Kids, depending on
                          the child’s age.

                     •    Waives the waiting period for enrollees who cancelled employer sponsored health
                          insurance coverage prior to application if the cost of the coverage was greater than five
                          (5) percent of the family’s income.

                     •    Reduces the waiting period from 6 months to 60 days, if health insurance is voluntarily
                          canceled.
                     •    Waives the waiting period for voluntary cancellation of health insurance coverage under
                          certain good cause exceptions.
                          Requires proof of income only if income cannot be determined or substantiated
                          electronically.

                     •    Allows 10 working days from an adverse action notice for enrollees to request
                          reinstatement while pending a dispute resolution; clarifying that the timeline is working
                          days rather than calendar days.

                 The 2010 Florida Legislature increased funding for the Florida Healthy Kids Corporation’s
                 dental plans and eliminated the annual benefit limit on dental services.

        The 2011 Florida Legislature appropriated Title XXI funding for Full Service School Health Services in
        addition to the Comprehensive School Health Services already included.

        The 2012 Florida Legislature made the statutory change to allow dependents of state employees who
        meet Title XXI eligibility requirements to receive subsidized Title XXI coverage.

        In 2014 with the implementation of the Affordable Care Act changes and requirements, the grace period
        for renewals will be extended to 60 days to allow additional time for families to comply. This will
        promote continuity of care and avoid breaks in coverage. The 60 day grace period will be in effect from
        August 2014 through July 2015.

        In 2014 with the implementation of the Affordable Care Act, the CHIP family premium levels have
        changed based on MAGI conversion. The upper income level for the $15 monthly family premium
        changes from 150% of the federal poverty level (FPL) to 158% FPL. The upper income level for the
Phase 1 Effective Date:   April 1, 1998                     22            Revised: 1/26/98, 2/19/98, 3/3/98, 3/6/98
Phase 2 Effective Date:   July 1, 1998                                    Revised: 8/20/98, 8/24/98, 10/1/99, 7/28/00, 1/31/01,
                                                                          7/02/02, 7/22/02, 1/3/03, 2/13/04, 9/27/04, 11/15/04,
                                                                          8/11/05, 10/1/06, 7/1/09, 7/1/10, 7/1/11, 7/1/12,
                                                                          10/1/12, 8/1/2014, 7/1/2014, 5/1/2015, 7/1/16,
                                                                          9/1/2017, 10/1/17, 7/1/2018, 3/9/2020, 7/1/2020,
                                                                          3/11/2021
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        $20 monthly family premium changes from 200% FPL to 210% FPL.

        2.2      Health Services Initiatives – (formerly 2.4) Describe if the States will use the health services
        initiative option as allowed at 42 CFR 457.1005. If so, describe what services or programs the State is
        proposing to cover with administrative funds, including the cost of each program, and how it is currently
        funded (if applicable, also update the budget accordingly. (Section 2105(a)(1)(D)(ii)); (42 CFR 457.10)

                 School Health Services
                        Since July 2002, Title XXI administrative funds have been used to fund Comprehensive
                        School Health Services. In recent years the Florida Legislature has limited the Title XXI
                        funding to $7 million per year. Starting July 1, 2011, the 2011 Florida Legislature
                        appropriated a total of $7.5 million using Title XXI administrative funds for
                        Comprehensive and Full Service School Health Services. Increasing the number of
                        counties therefore increases the number of students served which also increases the
                        volume of the services provided by the school nurses. Full-service school health services
                        do not duplicate services offered through SNAP and TANF. The same safeguards as
                        explained in Section 3.1 will apply to Full Service School Health Services.

                 2.2.1. The steps the state is currently taking to identify and enroll all uncovered children who
                        are eligible to participate in public health insurance programs (i.e. Medicaid and state-
                        only child health insurance):
                        Florida uses several programs to provide health care coverage to eligible low-income
                        children:
                          Medicaid

                          The Agency for Health Care Administration is Florida’s designated single state agency
                          for the Medicaid program. The Department of Children and Families is Florida’s
                          designated Title IV-A agency and conducts Medicaid eligibility determination and
                          enrollment functions.
                          Over half of Florida’s 3.8 million Medicaid recipients are children — about 2.1million.
                          Florida Medicaid covers children at the following income levels:
                                Age                       Federal Poverty Level
                              0 to 1                       192% (Title XIX)
                              0 to 1        above 192% - 206% (Title XXI Medicaid Expansion)
                              1 to 6                              140%
                              6 to 19                             133%
                              6 to 19          112% -133% (Title XXI Medicaid Expansion)
                          Managed care is an integral part of the Florida Medicaid program.
Phase 1 Effective Date:   April 1, 1998                   23            Revised: 1/26/98, 2/19/98, 3/3/98, 3/6/98
Phase 2 Effective Date:   July 1, 1998                                     Revised: 8/20/98, 8/24/98, 10/1/99, 7/28/00, 1/31/01,
                                                                           7/02/02, 7/22/02, 1/3/03, 2/13/04, 9/27/04, 11/15/04,
                                                                           8/11/05, 10/1/06, 7/1/09, 7/1/10, 7/1/11, 7/1/12,
                                                                           10/1/12, 8/1/2014, 7/1/2014, 5/1/2015, 7/1/16,
                                                                           9/1/2017, 10/1/17, 7/1/2018, 3/9/2020, 7/1/2020,
                                                                           3/11/2021
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                                             benefit plan is greater than 5 percent of the family’s gross
                                             income;
                                          2. The parent lost a job that provided an employer-sponsored
                                             health benefit plan for children;
                                          3. The parent who had health benefits coverage for the child is
                                             deceased;
                                          4. The child has a medical condition that, without medical care,
                                             would cause serious disability, loss of function, or death;
                                          5. The employer of the parent canceled health benefits coverage
                                             for children;
                                          6. The child’s health benefits coverage ended because the child
                                             reached the maximum lifetime coverage amount;
                                          7. The child has exhausted coverage under a COBRA continuation
                                             provision;
                                          8. The health benefits coverage does not cover the child’s health
                                             care needs; or
                                          9. Domestic violence led to loss of coverage.
                                  State law provides an exception for children whose pre-existing
                                  condition would exclude them from participation in their parents’
                                  employer-sponsored coverage.

                 4.1.8.          Duration of eligibility: Florida KidCare covers children up to age 19.
                                  Florida law provides for six months of continuous eligibility for the
                                  Florida KidCare program. Effective January 1, 2005, enrollees will
                                  receive twelve months of continuous eligibility. In addition:
                                  MediKids:            A child is eligible for Title XXI subsidies until the end
                                                       of the month of the child’s 5th birthday. The month
                                                       following the child’s fifth birthday, the child, if still
                                                       eligible is transferred to the Healthy Kids program.
                                  Healthy Kids:         A child is eligible for Title XXI subsidies up to age
                                                        19.

Phase 1 Effective Date:   April 1, 1998                    83                  Revised: 1/26/98, 2/19/98, 3/3/98,
                                                                               3/6/98
Phase 2 Effective Date:   July 1, 1998                                         Revised: 8/20/98, 8/24/98, 10/1/99,
                                                                               7/28/00, 1/31/01, 7/02/02, 7/22/02,
                                                                               1/3/03, 2/13/04, 9/27/04, 11/15/04,
                                                                               8/11/05, 10/1/06, 7/1/09, 7/1/10, 7/1/11,
                                                                               7/1/12, 10/1/12, 8/1/2014, 7/1/2014,
                                                                               5/1/2015, 7/1/16, 9/1/2017, 10/1/17,
                                                                               7/1/2018, 3/9/2020, 7/1/2020, 3/11/2021
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                                  CMSN :               A child is eligible for Title XXI subsidies up to age
                                                       19.

                 4.1.9.          Other standards (identify and describe):
                                  All Partners:        The Florida SCHIP requires social security numbers
                                                       for applicants enrolling in Florida KidCare. This
                                                       requirement is consistent with 42 CFR 457.340(b).
                                  CMSN :               A child must meet criteria indicating that the child has
                                                       a special health care need. However, CMSN clinically
                                                       eligible children may opt out of CMSN and enroll in
                                                       MediKids or Healthy Kids, depending on their age.
                                  Healthy Kids, MediKids and the CMSN :
                                                       Effective June 10, 2005, with the approval of year-
                                                       round enrollment by the Social Services Estimating
                                                       Conference, applications for Title XXI coverage are
                                                       accepted continuously throughout the year. Year-
                                                       round enrollment shall cease when the enrollment
                                                       ceiling is reached. Enrollment may resume when the
                                                       Social Services Estimating Conference determines
                                                       sufficient federal and state funds are available to
                                                       finance the increased enrollment through federal fiscal
                                                       year 2007. Applications received during a closed
                                                       enrollment period will be screened for Medicaid and
                                                       referred to the Department of Children and Families if
                                                       a child appears eligible. All other applicants will
                                                       receive a letter informing them that enrollment is
                                                       closed and to re-apply during the next open enrollment
                                                       period.
                                                       Healthy Kids and MediKids: Effective July 1, 2004,
                                                       state law provides for mandatory disenrollments on a
                                                       last-in, first-out basis, if the programs are over-
                                                       enrolled or exceed budget limits. Children enrolled in
                                                       the CMSN are exempt from mandatory
                                                       disenrollments.
                                                       Florida does not anticipate the need for mandatory
Phase 1 Effective Date:   April 1, 1998                  84                 Revised: 1/26/98, 2/19/98, 3/3/98,
                                                                              3/6/98
Phase 2 Effective Date:   July 1, 1998                                        Revised: 8/20/98, 8/24/98, 10/1/99,
                                                                              7/28/00, 1/31/01, 7/02/02, 7/22/02,
                                                                              1/3/03, 2/13/04, 9/27/04, 11/15/04,
                                                                              8/11/05, 10/1/06, 7/1/09, 7/1/10, 7/1/11,
                                                                              7/1/12, 10/1/12, 8/1/2014, 7/1/2014,
                                                                              5/1/2015, 7/1/16, 9/1/2017, 10/1/17,
                                                                              7/1/2018, 3/9/2020, 7/1/2020, 3/11/2021
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                 known that the child was not eligible, or for those who assist others in committing
                 fraud against the program. For those accused of fraud, the Medicaid fraud provisions
                 in state law are to be utilized for prosecution.
                 4.3.1 Describe the state’s policies governing enrollment caps and waiting lists (if
                 any). (Section 2106(b)(7)) (42CFR 457.305(b))

                 Effective July 1, 2003, each of the Florida KidCare components implemented a
                 waiting list. The waiting list was eliminated as of March 11, 2004. Additional state
                 funds were provided to extend coverage to those who entered the list on or before
                 March 11, 2004. Applicants after that date were not processed for coverage and
                 received a letter informing them to re-apply during the next open enrollment period.
                 Effective June 10, 2005, the two annual open enrollment periods were eliminated by
                 the Florida legislature and after approval by the state’s Social Services Estimating
                 Conference, Florida KidCare resumed accepting applications on a year-round basis.
                 Year-round enrollment shall cease when the enrollment ceiling is reached. The
                 enrollment ceiling will be determined by the amount of funding available. Florida will
                 notify the federal Centers for Medicare and Medicaid (CMS) in the event that the
                 enrollment ceiling is reached and enrollment has ceased. Year-round enrollment may
                 resume when the Social Services Estimating Conference determines sufficient federal
                 and state funds are available to finance the increased enrollment through federal fiscal
                 year 2007. No waiting list currently exists and no future waiting lists will be
                 maintained.
                 New legislation effective July 1, 2004, does allow for transfers among the KidCare
                 program components so long as space and funding are available. The programs are
                 directed to establish reserves so these transfers can be managed within existing
                 funding. Florida will notify the federal Centers for Medicare and Medicaid (CMS) in
                 the event that transfers are no longer allowed between programs. We do not anticipate
                 the need for this to occur.

                                                                     Transfer to Title XXI
                                  Enrollee Status
                                                                          Coverage
                     New Applicants – Enrollment ceiling
                                                                                Yes
                     not reached
                     New Applicants – Enrollment ceiling
                                                                                 No
                     reached


Phase 1 Effective Date:   April 1, 1998                   96                  Revised: 1/26/98, 2/19/98, 3/3/98,
                                                                              3/6/98
Phase 2 Effective Date:   July 1, 1998                                        Revised: 8/20/98, 8/24/98, 10/1/99,
                                                                              7/28/00, 1/31/01, 7/02/02, 7/22/02,
                                                                              1/3/03, 2/13/04, 9/27/04, 11/15/04,
                                                                              8/11/05, 10/1/06, 7/1/09, 7/1/10, 7/1/11,
                                                                              7/1/12, 10/1/12, 8/1/2014, 7/1/2014,
                                                                              5/1/2015, 7/1/16, 9/1/2017, 10/1/17,
                                                                              7/1/2018, 3/9/2020, 7/1/2020, 3/11/2021
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                     Current Title XXI Enrollee
                     Transferring to New Title XXI                                Yes
                     Component
                     Current Medicaid Expansion Under 1
                     Year Old – Turning 1 Year Old and                            Yes
                     Losing Medicaid Eligibility
                     Current Title XIX Under 1 Year Old
                     – turning 1 Year Old and Losing Title                        Yes
                     XIX Eligibility
                     Current Title XIX losing Title XIX
                                                                                  Yes
                     Eligibility
                     Title XIX CMSN Eligible Losing
                     Title XIX Eligibility & Transferring                         Yes
                     to Title XXI CMSN
                     Current Title XXI Enrollee who                                      Families who
                                                                          Yes (after 30 days)
                                                                                         do not pay
                     Misses a Premium Payment
                     Previous Title XXI Enrollee with a                                  their monthly
                     break in Coverage Due to Reason                   Yes               premium on
                     Other than Non-Payment of premium                                   time will be
                                                                                         disenrolled
                 from coverage and will not be eligible for reinstatement for a minimum of 60 days, in
                 accordance with state law. Effective July 1, 2009, children disenrolled due to
                 voluntary non-payment of premium will be eligible for reinstatement after 30 days.
                 The following chart shows the minimum waiting period for cancellation due to non-
                 payment of premium since the inception of the Florida KidCare program.
                                                                   Waiting Period Before Reinstatement – For
                           Effective Date of Policy                  Cancellations Due to Non-Payment of
                                                                                   Premium
                          July 1998 – December 2003                 Minimum 60 day waiting period before
                                                                                 reinstatement
                     December 2003 – October 2004                   Minimum 6 month waiting period before
                                                                                 reinstatement
                          October 2004 – June 2009                  Minimum 60 day waiting period before
                                                                                 reinstatement
                              July 2009 - Present                   Minimum 30 day waiting period before
                                                                                 reinstatement

Phase 1 Effective Date:     April 1, 1998                   97                  Revised: 1/26/98, 2/19/98, 3/3/98,
                                                                                3/6/98
Phase 2 Effective Date:     July 1, 1998                                        Revised: 8/20/98, 8/24/98, 10/1/99,
                                                                                7/28/00, 1/31/01, 7/02/02, 7/22/02,
                                                                                1/3/03, 2/13/04, 9/27/04, 11/15/04,
                                                                                8/11/05, 10/1/06, 7/1/09, 7/1/10, 7/1/11,
                                                                                7/1/12, 10/1/12, 8/1/2014, 7/1/2014,
                                                                                5/1/2015, 7/1/16, 9/1/2017, 10/1/17,
                                                                                7/1/2018, 3/9/2020, 7/1/2020, 3/11/2021
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                 At the end of any disenrollment period for non-payment of premium, the children will
                 be reinstated, provided the premium has been paid prior to the end of the
                 disenrollment period. Reinstated children receive coverage without being required to
                 re-apply for the program; however, a reinstatement date may not be assigned until the
                 family has complied with any new eligibility requirements.
                 In such instances when enrollment caps are reached or Title XXI enrollment is closed,
                 applications will continue to be accepted and will be screened for potential Medicaid
                 eligibility. All applicants that appear to be Medicaid eligible will be referred to DCF
                 in the same manner as is done when enrollment is open. If not eligible for Medicaid,
                 the family will be notified that they must re-apply or call to re-activate their
                 application during the next open enrollment period. Once new enrollment can be
                 processed, applications will be approved for coverage based on a first completed, first
                 served basis, and based on available funding.

                 The number of children able to receive PIC services will be limited based on funding
                 available at each of the pilot sites. It is estimated that approximately 15 children will
                 be able to receive services at each site for an expected target enrollment of 150 Title
                 XXI children. The goal of enrollment is to have 50 newly diagnosed children, 50 in
                 the mid-stage of their life-threatening illness, and 50 at the end-of-their life. The total
                 target enrollment in the pilot is 150 Title XXI children and an additional 150 Title
                 XIX children.

                  Check here if this section does not apply to your state.

        4.4.     Describe the procedures that assure that:
                 4.4.1. Through the screening procedures used at intake and follow-up eligibility
                        determination, including any periodic redetermination, that only targeted low-
                        income children who are ineligible for Medicaid or not covered under a group
                        health plan or health insurance coverage (including a state health benefits plan)
                        are furnished child health assistance under the state child health plan. (Section
                          2102)(b)(3)(A)) (42CFR 457.350(a)(1) and 457.80(c)(3))

                          The Florida Healthy Kids Corporation or its third party administrator will
                          perform Title XXI eligibility determinations for the Florida KidCare program
                          except for Medicaid eligibility determinations. Applications for all children

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                                                                                   3/6/98
Phase 2 Effective Date:   July 1, 1998                                             Revised: 8/20/98, 8/24/98, 10/1/99,
                                                                                   7/28/00, 1/31/01, 7/02/02, 7/22/02,
                                                                                   1/3/03, 2/13/04, 9/27/04, 11/15/04,
                                                                                   8/11/05, 10/1/06, 7/1/09, 7/1/10, 7/1/11,
                                                                                   7/1/12, 10/1/12, 8/1/2014, 7/1/2014,
                                                                                   5/1/2015, 7/1/16, 9/1/2017, 10/1/17,
                                                                                   7/1/2018, 3/9/2020, 7/1/2020, 3/11/2021
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Section 8. Cost Sharing and Payment                (Section 2103(e))


       Check here if the state elects to use funds provided under Title XXI only to provide
        expanded eligibility under the state’s Medicaid plan, and continue on
        to Section 9.

        8.1. Is cost sharing imposed on any of the children covered under the plan? (42CFR 457.505)
             Indicate if this also applies for pregnant women. (CHIPRA #2, SHO # 09-006, issued
             May 11, 2009)

                 8.1.1.                    YES
                 8.1.2.                    NO, skip to question 8.8.

                 8.1.1-PW                   Yes
                 8.1.2-PW                   No, skip to question 8.8.

Guidance:        It is important to note that for families below 150 percent of poverty, the same
                 limitations on cost sharing that are under the Medicaid program apply. (These cost-
                 sharing limitations have been set forth in Section 1916 of the Social Security Act, as
                 implemented by regulations at 42 CFR 447.50 - 447.59). For families with incomes of
                 150 percent of poverty and above, cost sharing for all children in the family cannot
                 exceed 5 percent of a family's income per year. Include a statement that no cost
                 sharing will be charged for pregnancy-related services. (CHIPRA #2, SHO # 09-006,
                 issued May 11, 2009) (Section 2103(e)(1)(A)) (42CFR 457.505(a), 457.510(b) and
                 (c), 457.515(a) and (c))

        8.2.     Describe the amount of cost-sharing, any sliding scale based on income, the group or
                 groups of enrollees that may be subject to the charge and the service for which the
                 charge is imposed or time period for the charge, as appropriate.
                 (Section 2103(e)(1)(A)) (42CFR 457.505(a), 457.510(b) &(c), 457.515(a)&(c))



        8.2.1.            Premiums:

                          All Florida KidCare program components, except Medicaid, adhere to the
                          same monthly premium provisions. The maximum monthly premium per
                          household is $20 beginning with the payment due July 1, 2003, regardless of
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                                                                                 3/6/98
Phase 2 Effective Date:   July 1, 1998                                           Revised: 8/20/98, 8/24/98, 10/1/99,
                                                                                 7/28/00, 1/31/01, 7/02/02, 7/22/02,
                                                                                 1/3/03, 2/13/04, 9/27/04, 11/15/04,
                                                                                 8/11/05, 10/1/06, 7/1/09, 7/1/10, 7/1/11,
                                                                                 7/1/12, 10/1/12, 8/1/2014, 7/1/2014,
                                                                                 5/1/2015, 7/1/16, 9/1/2017, 10/1/17,
                                                                                 7/1/2018, 3/9/2020, 7/1/2020, 3/11/2021
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                          the number of children in the family. Effective with the premium payment due
                          January 1, 2004, the monthly premium per household is $15 for families with
                          income less than or equal to 150% of the federal poverty level and $20 for
                          families with income above 150% to 200% of the federal poverty level.
                          Effective January 1, 2004, for families at or below 150% of the federal poverty
                          level, Florida Healthy Kids is applying $5.00 credits per month for every
                          month the $20.00 premium was paid for coverage during August through
                          December 2003.
                          Effective January 1, 2014, the income levels for the monthly family premiums
                          changed due to MAGI conversion. The upper income level for the $15
                          monthly family premium changed from 150% of the federal poverty level
                          (FPL) to 158% FPL. Families with income above 158% FPL to 210% FPL
                          will be charged a $20 monthly family premium. Families with children at
                          different premium levels will be charged the lesser rate for their family
                          premium. This conversion will be implemented effective April 1, 2015 and
                          made retroactive to January 1, 2014. Families will receive correspondence
                          advising them of their new premium payment.
                          The following table shows the changes in premium levels.

                                              Florida KidCare Family Premiums
                                                          $15 Premium                           $20 Premium
              Age             Time Period
                                                    Minimum           Maximum            Minimum              Maximum
                           Effective 1/1/14          140% FPL         158% FPL        Above 158% FPL           210% FPL
        1 through 5
                           Prior to MAGI             133% FPL         150% FPL        Above 150% FPL           200% FPL
                           Effective 1/1/14          133% FPL         158% FPL        Above 158% FPL           210% FPL
        6 through 18
                           Prior to MAGI             100% FPL         150% FPL        Above 150% FPL           200% FPL


                          For Healthy Kids and MediKids enrollees with family incomes above 210%
                          (200% FPL prior to MAGI conversion) of the federal poverty level, and
                          therefore not eligible under Title XXI, the family pays a non-subsidized
                          monthly premium on a per child basis.
                          Families who do not make their monthly premium payments on time will be
Phase 1 Effective Date:   April 1, 1998                  177                  Revised: 1/26/98, 2/19/98, 3/3/98,
                                                                              3/6/98
Phase 2 Effective Date:   July 1, 1998                                        Revised: 8/20/98, 8/24/98, 10/1/99,
                                                                              7/28/00, 1/31/01, 7/02/02, 7/22/02,
                                                                              1/3/03, 2/13/04, 9/27/04, 11/15/04,
                                                                              8/11/05, 10/1/06, 7/1/09, 7/1/10, 7/1/11,
                                                                              7/1/12, 10/1/12, 8/1/2014, 7/1/2014,
                                                                              5/1/2015, 7/1/16, 9/1/2017, 10/1/17,
                                                                              7/1/2018, 3/9/2020, 7/1/2020, 3/11/2021
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                                         State Children’s Health Insurance Program


                          disenrolled from coverage and will not be eligible for reinstatement for a
                          minimum of 30 days, in accordance with state law.
                          Premium payments are due on the first day of the month prior to the month of
                          coverage. Families receive a coupon book upon enrollment that indicates the
                          amount of the monthly premium and the day the premium is due for each
                          month. Families that do not make a premium payment are sent a letter on the
                          7th of the month informing them that coverage will be cancelled if payment is
                          not received. These letters are followed be a series of automated reminder
                          calls and email reminders. If payment is not received by the 20th of the month
                          a termination letter is issued effective the last day of the month. Families that
                          make payment within the 30-days are issued a reinstatement letter informing
                          them that coverage is still in effect. Premiums are considered late if not
                          received by the first of the month prior to coverage. A 30 day grace period is
                          given to families to make a payment prior to cancellation of coverage.
                          The late notice is generated by the TPA and also reminds the family that if the
                          premium is not received during the grace period, the child’s coverage will be
                          canceled for the next month and a minimum of a 30 day wait before
                          reinstatement would be imposed as required by state law.
                          On October 7, 2004, the Governor announced temporary changes to the
                          KidCare program to assist families affected by the four hurricanes that
                          impacted the state. The Governor announced that no children would be
                          cancelled due to failure to pay premiums in the aftermath of the storms. The
                          KidCare program adopted a temporary measure to reduce premium payments
                          to $0 for the months of August (for September coverage), September (for
                          October coverage) and October 2004 (for November coverage), for all children
                          enrolled in Title XXI. Any payments received during this period are credited
                          to future months.
                          Once a month, the TPA sends electronic enrollment files to the Healthy Kids
                          health and dental plans for Healthy Kids enrollees and electronic enrollment
                          files for MediKids to the Agency for Health Care Administration and for the
                          CMSN to the Department of Health. The files include all eligible children who
                          have also made a premium payment by that date. Families who have not paid
                          by this date will receive a second letter indicating that the child’s coverage will
                          be canceled at the end of the month and that a minimum 30 day wait will be
                          imposed before coverage can be reinstated if canceled.
                          A supplemental file is prepared and distributed the first week of the coverage
Phase 1 Effective Date:   April 1, 1998             178                Revised: 1/26/98, 2/19/98, 3/3/98,
                                                                             3/6/98
Phase 2 Effective Date:   July 1, 1998                                       Revised: 8/20/98, 8/24/98, 10/1/99,
                                                                             7/28/00, 1/31/01, 7/02/02, 7/22/02,
                                                                             1/3/03, 2/13/04, 9/27/04, 11/15/04,
                                                                             8/11/05, 10/1/06, 7/1/09, 7/1/10, 7/1/11,
                                                                             7/1/12, 10/1/12, 8/1/2014, 7/1/2014,
                                                                             5/1/2015, 7/1/16, 9/1/2017, 10/1/17,
                                                                             7/1/2018, 3/9/2020, 7/1/2020, 3/11/2021
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                                         State Children’s Health Insurance Program


                          month that will include the children for whom payment had not been received
                          prior to the previous file but was received within the 30 day grace period.
                          Additionally, families also have the option of making their monthly family
                          premium payment by credit card. Automated telephone payments were
                          implemented on October 20, 2003, and web payments were implemented
                          effective November 20, 2003. Families may make credit card payments 24
                          hours a day, seven days a week, either by phone or by accessing the Healthy
                          Kids web site. Families may also arrange to have payment automatically
                          withdrawn (ACH) from their accounts on an ongoing basis.
                          Beginning in 2010, families have the option of paying their monthly premium
                          by cash. The vendor selected to accept cash payments has hundreds of
                          locations throughout Florida. Families can make their premium payment in
                          person by providing their family account number and their cash payment. The
                          payment is electronically transferred to Florida Healthy Kids Corporation’s
                          third party administrator. Another payment option starting in 2011 is for
                          families to pay by text message. Families choosing this payment method are
                          provided an online link to sign up for the service. During the sign up process
                          the family identifies the cell phone number they will be using and the account
                          from which the funds will be deducted and select a personal identification
                          number (PIN). Once enrolled, the family will receive a text message at the
                          beginning of each month reminding them that a payment is due. To make a
                          payment, the family provides their PIN authorizing the payment and deduction
                          from their account. The funds will be automatically withdrawn from their
                          account and the family will receive a text message confirming the payment has
                          been made.
                          Coinsurance or co-payments:
                          Healthy Kids

                          Healthy Kids charges minimal co-payments for some managed care services.
                          Services that require co-payments are listed in the chart below.
                          Disaster Relief Provisions

                          At the State’s discretion, working collaboratively, and with the agreement of
                          FHKC and/or CMS Plan, the premium due date may be extended or premiums
                          may be waived, in addition, the State may waive or lower copayments for a
                          specific period of time for CHIP enrollees who meet income and other eligibility
Phase 1 Effective Date:   April 1, 1998               179                 Revised: 1/26/98, 2/19/98, 3/3/98,
                                                                             3/6/98
Phase 2 Effective Date:   July 1, 1998                                       Revised: 8/20/98, 8/24/98, 10/1/99,
                                                                             7/28/00, 1/31/01, 7/02/02, 7/22/02,
                                                                             1/3/03, 2/13/04, 9/27/04, 11/15/04,
                                                                             8/11/05, 10/1/06, 7/1/09, 7/1/10, 7/1/11,
                                                                             7/1/12, 10/1/12, 8/1/2014, 7/1/2014,
                                                                             5/1/2015, 7/1/16, 9/1/2017, 10/1/17,
                                                                             7/1/2018, 3/9/2020, 7/1/2020, 3/11/2021
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                          requirements and who reside and/or work in Governor or Federally declared
                          disaster areas or state of emergency areas (i.e. pandemic).


        8.2.2.            Deductibles:
                          None of the Florida KidCare components charge deductibles.
                          Other:
                          MediKids and CMS : No other cost sharing will be applied.
                          Healthy Kids: All services are provided by managed care organizations and
                          the following co-payments are applicable.
        8.2.3.            Coinsurance or copayments:
                          Healthy Kids

                          Healthy Kids charges minimal co-payments for some managed care services.
                          Services that require co-payments are listed in the chart below.
                          Effective March 11, 2021 and through the last day of the first calendar quarter
                          that begins one year after the last day of the COVID-19 emergency period
                          described in section 1135(g)(1)(B) of the Act, and for all populations covered
                          in the CHIP state child health plan, the state assures the following:

                          COVID-19 Vaccine:
                          • The state provides coverage of COVID-19 vaccines and their
                            administration without cost sharing, in accordance with the requirements of
                            section 2103(c)(11)(A) and 2013(e)(2) of the Act.

                          COVID-19 Testing:
                          • The state provides coverage of COVID-19 testing without cost sharing, in
                            accordance with the requirements of section 2103(c)(11)(B) and 2103(e)(2)
                            of the Act.

                          COVID-19 Treatment:
                          • The state provides coverage of COVID-19-related treatments without cost
                            sharing, in accordance with the requirements of section 2103(c)(11)(B) and
                            2103(e)(2) of the Act.

                          Coverage for a Condition That May Seriously Complicate the Treatment of
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                                                                             3/6/98
Phase 2 Effective Date:   July 1, 1998                                       Revised: 8/20/98, 8/24/98, 10/1/99,
                                                                             7/28/00, 1/31/01, 7/02/02, 7/22/02,
                                                                             1/3/03, 2/13/04, 9/27/04, 11/15/04,
                                                                             8/11/05, 10/1/06, 7/1/09, 7/1/10, 7/1/11,
                                                                             7/1/12, 10/1/12, 8/1/2014, 7/1/2014,
                                                                             5/1/2015, 7/1/16, 9/1/2017, 10/1/17,
                                                                             7/1/2018, 3/9/2020, 7/1/2020, 3/11/2021
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                  Exhibit 3
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DEPARTMENT OF HEALTH & HUMAN SERVICES
Centers for Medicare & Medicaid Services
7500 Security Boulevard, Mail Stop: S2-26-12
Baltimore, Maryland 21244-1850




                                                                      SHO #23-004

                                                                      RE: Section 5112 Requirement for
                                                                      all States to Provide Continuous
                                                                      Eligibility to Children in Medicaid
                                                                      and CHIP under the Consolidated
                                                                      Appropriations Act, 2023



September 29, 2023

Dear State Health Official:

Section 5112 of the Consolidated Appropriations Act, 2023 (CAA, 2023) amended titles XIX
and XXI of the Social Security Act (the Act) to require that states 1 provide 12 months of
continuous eligibility (CE) for children under the age of 19 in Medicaid and the Children’s
Health Insurance Program (CHIP) effective January 1, 2024. The Centers for Medicare &
Medicaid Services (CMS) is issuing this State Health Official (SHO) letter to provide states with
guidance on implementing this requirement.

This letter provides background on the importance of CE in preventing interruptions that impede
access to health coverage to support better short- and long-term health outcomes, 2 and describes
policies related to implementing CE under the CAA, 2023 amendments. We also discuss the
differences between the CE requirements that exist today and those specified in the CAA. This
letter also clarifies which states will need to submit Medicaid and CHIP state plan amendments
(SPA) and reminds states that section 1115 demonstration authority may also serve as a
mechanism to extend the CE period for children beyond 12 months and/or to apply CE to adults.


1
  For the purposes of this letter, “states” refer to the 50 states, the District of Columbia, and the United States
territories of American Samoa, Commonwealth of the Northern Mariana Islands, Guam, Puerto Rico, and the U.S.
Virgin Islands.
2
  Brooks, T., & Gardner, A. (2021). Continuous Coverage in Medicaid and CHIP. Georgetown University Center for
Children and Families. Retrieved from: https://ccf.georgetown.edu/wp-content/uploads/2012/03/CE-program-
snapshot.pdf
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I. Background

A. Importance of CE for Medicaid and CHIP Children

CE provides coverage to children in Medicaid and CHIP for a full 12-month period regardless of
changes in circumstances with certain exceptions as described in more detail throughout this
letter.

Research has shown that children who are disenrolled for all or part of the year are more likely to
have fair or poor health care status compared to children who have health coverage continuously
throughout the year. 3 Guaranteeing ongoing coverage ensures that children have continuous
access to the Early and Periodic Screening, Diagnostic and Treatment (EPSDT) benefit, which
includes comprehensive and preventive health care services for children under age 21 who are
enrolled in Medicaid. Some states also offer EPSDT in their separate CHIP. EPSDT is key to
ensuring that children and adolescents receive appropriate preventive, dental, mental health,
developmental, and specialty services. Stable coverage enables health care professionals to
provide EPSDT within a well-developed relationship with children and their parents, track their
health and development, and avoid expensive emergency room visits.

In addition to improving short- and long-term health status, CE has been shown to reduce
financial barriers to care for low-income families, promote health equity, and provide states with
better tools to hold health plans accountable for quality care and improved health outcomes. 4
Additionally, the literature shows that CE policies are cost-effective for both families and states
by mitigating the impact of income volatility on enrollment, as children lose and then regain
eligibility when their family’s income fluctuates. When families maintain coverage year-round,
it reduces the administrative burden on state agencies due to repeated eligibility reviews and re-
enrollment after a gap in coverage. 5

CE has been shown to reduce rates of churn, or the percentage of children who disenroll in
Medicaid and re-enroll within the year. For example, one analysis found that the churn rate was
lower in states with 12-month CE (2.9 percent) than in states without CE (5.3 percent). 6




3
  Brantley, E., & Ku, L. (2022). Continuous eligibility for Medicaid associated with improved child health
outcomes. Medical Care Research and Review, 79(3), 404-413.
4
  Park, E., Alker, J., & Corcoran, A. (2020). Jeopardizing a Sound Investment: Why Short-Term Cuts to Medicaid
Coverage During Pregnancy and Childhood Could Result in Long-Term Harm. Retrieved from:
https://www.commonwealthfund.org/publications/issue-briefs/2020/dec/short-term-cuts-medicaid-long-term-harm
5
  Georgetown University. (2021). Advancing Health Equity for Children and Adults with a Critical Tool: Medicaid
and Children’s Health Insurance Program Continuous Coverage. Retrieved from https://ccf.georgetown.edu/wp-
content/uploads/2021/10/continuity-of-coverage-final.pdf
6
  Williams, E., Corallo, B., Tolbert, J., Burns, A., & Rudowitz, R. (2021). Implications of Continuous Eligibility
Policies for Children’s Medicaid Enrollment Churn. Retrieved from https://www.kff.org/medicaid/issue-
brief/implications-of-continuous-eligibility-policies-for-childrens-medicaid-enrollment-churn/
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Additionally, CE helps to address racial and ethnic disparities by reducing churn rates in groups
disproportionately impacted by disenrollment. 7

Many states elected to provide CE in Medicaid and/or CHIP before enactment of the CAA in
December 2022. As of September 2023, 21 states had implemented CE for children in both
Medicaid and CHIP. An additional 11 states had implemented CE in at least one program.
During the COVID-19 public health emergency (PHE), 8 CE protected families and children from
experiencing gaps in coverage, and also demonstrated that CE improves access to care, 9
continuity of coverage and lowers the uninsured rate for children. 10


II. CE Requirements

    A. Overview and Exceptions to CE

Current State Plan Option

Under section 1902(e)(12) of the Act, implemented at 42 CFR §435.926, states have long had the
option to provide 12 months of CE to children under age 19 in Medicaid. A similar option exists
in CHIP at 42 CFR § 457.342. States have had the flexibility to elect a younger age limit and/or
a shorter CE period in both programs. Currently, children under the state-specified age who are
determined eligible for Medicaid or CHIP at initial application or a regularly-scheduled annual
renewal remain eligible for Medicaid or CHIP for the duration of the CE period regardless of
most changes in circumstances (CIC) that may affect eligibility, such as:

     •   Changes in income or household composition,
     •   Loss of Supplemental Security Income (SSI) for children eligible for Medicaid based on
         their eligibility for SSI, or
     •   Obtaining other health insurance for children enrolled in CHIP.




7
  Georgetown University. (2021). Advancing Health Equity for Children and Adults with a Critical Tool: Medicaid
and Children’s Health Insurance Program Continuous Coverage. Retrieved from https://ccf.georgetown.edu/wp-
content/uploads/2021/10/continuity-of-coverage-final.pdf
8
  See Section 6008 of the Families First Coronavirus Response Act (P.L. 116-127).
9
  Vasan, A., Kenyon, C., Fiks, A. G., & Venkataramani, A. S. (June 2023). Continuous Eligibility and Coverage
Policies Expanded Children’s Medicaid Enrollment: Study examines state continuous eligibility and coverage
policies and children’s Medicaid enrollment during COVID-19. Health Affairs, 42(6), 753-758.
10
   Alker, J., Osorio, A., Park, E., Guest, Brooks, T., &amp; Schneider, A. (December 2022). Number of uninsured
children stabilized and improved slightly during the pandemic. Center for Children and Families. Retrieved from
https://ccf.georgetown.edu/2022/12/07/number-of-uninsured-children-stabilized-and-improved-slightly-during-the-
pandemic-2/
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Medicaid and CHIP regulations 11 establish limited exceptions to this general rule, and when a
CIC can result in termination of eligibility during a CE period. A child's eligibility may not be
terminated during a CE period unless one of the following exceptions applies: 12

     (1) The child attains age 19 or a lower age specified by the state;
     (2) The child or child’s representative requests a voluntary termination of eligibility;
     (3) The child ceases to be a resident of the state;
     (4) The agency determines that eligibility was erroneously granted at the most recent
     determination, redetermination, or renewal of eligibility because of agency error or fraud,
     abuse, or perjury attributed to the child or the child's representative; or
     (5) The child is deceased.

The CHIP regulation also provides two additional CHIP-specific exceptions:

     (6) The child becomes eligible for Medicaid; and
     (7) At state option, the family fails to pay premiums or enrollment fees.

Changes to CE under the CAA, 2023

Section 5112 of the CAA, 2023 amended section 1902(e)(12) and added a new paragraph (K) to
section 2107(e)(1) of the Act to require one year of CE under the state plan or a waiver of the
state plan for children under age 19 enrolled in Medicaid and CHIP, effective January 1, 2024.
The amendments to section 1902(e)(12) of the Act explicitly provide for an exception to CE for
children who:

     •   Reach age 19; or
     •   Cease to be state residents.

Section 2107(e)(1)(K) of the Act applies these exceptions through cross reference to section
1902(e)(12) of the Act. In the case of a child transferred from CHIP to Medicaid during a CE
period, the state must maintain the child’s enrollment in Medicaid for the remaining duration of
their current CE period (unless the child experiences another exception to the provision of CE
provided under the statute).
The following current regulatory exceptions, discussed above, are not explicitly identified in the
CAA, 2023. However, states will be expected to take appropriate steps to terminate eligibility in
the following situations, including providing required Medicaid and CHIP notice and appeals
rights with sufficient advanced notice. 13,14
11
   §§ 435.926(d) and 457.342(b)
12
   For Medicaid, termination of coverage during a CE period must comply with notice and explanation of fair
hearings process requirements at part 431 Subpart E. For separate CHIP, termination of coverage during a CE period
must comply with the requirements for notice and explanation of rights to a review process at §§ 457.340(e) and
457.1180.
13
   42 CFR part 431, subpart E and §§ 457.340(e) and 457.1180
14
   CMS is still assessing how non-payment of premiums intersects with CE under the CAA. We intend to issue
separate guidance on this topic.
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     • The child or child’s representative requests a voluntary termination of eligibility (same as
       #2 above);
     • The agency determines that eligibility was erroneously granted at the most recent
       determination, redetermination or renewal of eligibility because of agency error or fraud,
       abuse, or perjury attributed to the child or the child's representative (same as #4 above); or
     • The child is deceased (same as #5 above).




     B. Populations Covered under CE

Section 1902(e)(12) of the Act, as amended by the CAA, 2023, applies to all children under age
19 who are enrolled under the state plan in a mandatory or optional Medicaid eligibility group
described in section 1902(a)(10)(A) of the Act and implementing regulations at 42 CFR part 435
subparts B and C. 15 Section 2107(e)(1)(K) of the Act, added by the CAA, 2023, applies to all
targeted-low income children 16 enrolled in a separate CHIP under the state plan. This includes
targeted low-income children covered from-conception-to-end-of-pregnancy (FCEP) option.
States also are required to provide CE to children enrolled in Medicaid or CHIP under a section
1115 demonstration.

States are not required to provide 12 months of CE to children who have only established
eligibility through medically needy Medicaid coverage under section 1902(a)(10)(C) of the Act,
or children who have been determined presumptively eligible for Medicaid or CHIP consistent
with section 1920A of the Act, but who have not yet received a determination of eligibility based
on a regular application. States also are not required to provide 12 months of CE to children
who, upon a renewal, are determined to only be eligible for Medicaid based on transitional
medical assistance (TMA) under section 1925 of the Act. (See discussion below on “Duration of
CE Period.”)

Effective January 1, 2024, states will no longer have the option to limit CE in both Medicaid and
CHIP to children under an age (up to age 19) specified by the state, or apply CE to a subset of
children in CHIP.

     C. Duration of CE Period



15
   This includes children eligible under the mandatory group codified at § 435.121 for individuals age 65 or over or
who have disabilities or blindness in section 209(b) states as well as children who are eligible under section
1902(e)(3) of the Act and § 435.225 (relating to individuals under age 19 who would be eligible for Medicaid if they
were in a medical institution, commonly referred to as the “Katie Beckett” group). Section 1902(f) generally
requires that individuals eligible in a 209(b) state’s mandatory eligibility group for individuals 65 years old or who
have blindness or disabilities be considered eligible under section 1902(a)(10)(A) of the Act. Similarly, section
1902(e)(3) of the Act requires that Katie Beckett enrollees be treated as SSI beneficiaries.
16
   Targeted low-income child is defined in Section 2110(b) of the Act and § 457.310.
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Effective January 1, 2024, states that have adopted a period of less than 12 months under existing
policy will need to extend the CE period for children to 12 months as this policy is no longer
permissible under the CAA.

Beginning of CE Period for New Applicants

Current Medicaid regulations 17 specify that the CE period for new applicants determined eligible
for coverage begins on the effective date of the individual's eligibility – either the date of
application or the first day of the month when the application is submitted, depending on the
state’s election. 18 Current CHIP regulations 19 specify that the CE period begins on the effective
date of the child’s eligibility. 20 States have the flexibility to determine the effective date of
eligibility based on the date of application or another reasonable methodology that ensures
coordinated transition of children between CHIP and other insurance affordability programs as
family circumstances change to avoid gaps or overlaps in coverage.

Sections 1902(e)(12) and 2107(e)(1)(K) of the Act, as amended by the CAA, 2023, do not
expressly address when a child’s CE period begins. Therefore, the current Medicaid and CHIP
regulations governing the beginning of the CE period for new applicants will continue to apply
to children enrolled in Medicaid or CHIP on or after January 1, 2024, when the requirement to
provide CE to children under age 19 in Medicaid and CHIP goes into effect.

Beginning of CE Period Following a Periodic Renewal of Eligibility

States must renew eligibility for Medicaid and CHIP beneficiaries whose financial eligibility is
determined using Modified Adjusted Gross Income (MAGI)-based methodologies every 12
months and no more frequently than once every 12 months. 21 States must renew eligibility for
Medicaid beneficiaries excepted from MAGI-based financial methodologies at least once every
12 months, but may conduct regular renewals more frequently but no more frequently than every
six months. 22 We refer to the period between regular renewals as the “eligibility period.”

For children whose Medicaid or CHIP eligibility is being redetermined at a regular renewal,
current regulations provide that the CE period begins on the effective date of the individual's
renewal, which begins a new eligibility period. 23 Because almost all children have 12-month
eligibility periods and the 12-month CE period begins on the effective date of the child’s most
recent determination or redetermination of eligibility, a child’s CE period generally will align
with their renewal cycle. 24

17
   § 435.926
18
   § 435.915
19
   § 457.342
20
   §457.340(g)
21
   §§ 435.916(a) and 457.343
22
   §435.916(b)
23
   §§ 435.926 and 457.342
24
   The only exception would involve children enrolled in Medicaid whose eligibility is not based on MAGI if the
state has elected a shorter renewal period permitted under § 435.916(b). For these individuals, states may only act on
changes in circumstance that fall into one of the exceptions to the provision of CE discussed in section II.A of this
SHO letter.
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Current Enrollees Whose Eligibility Period Ends After January 1, 2024

Because the CE period is based on the effective date of the child’s last eligibility determination
(either at initial application or last renewal), for states newly implementing CE children under
age 19 enrolled in Medicaid and CHIP will receive CE for the remainder of their eligibility
period based on the date of their last determination. For example, Elijah is enrolled in a state that
implements CE for the first time on January 1, 2024. Elijah’s most recent determination of
eligibility was completed in September 2023, and his current eligibility period began on October
1, 2023. Effective January 1, 2024, the state must provide Elijah with CE for the remainder of
his 12-month eligibility period (through September 30, 2024), unless he experiences one of the
exceptions to the provision of CE discussed in section II.A of this SHO letter. States that already
implement CE for a 12-month period will continue to provide CE through a child’s existing CE
period. States that currently provide less than 12 months of CE will have to extend a child’s CE
period to 12 months.

Interaction of CE and Continuous Enrollment during the COVID-19 PHE Unwinding Period

Congress enacted the Families First Coronavirus Response Act (FFCRA) at the start of the
COVID-19 Public Health Emergency (PHE) on March 18, 2020. Section 6008 of the FFCRA
allowed states to claim a temporary 6.2 percentage point increase in Federal Medical Assistance
Percentage (FMAP) if they met certain conditions, including a continuous enrollment condition
to keep nearly all individuals, including children, continuously enrolled in Medicaid for most of
the period while the COVID-19 PHE was in effect. The CAA, 2023 amended section 6008 of
the FFCRA to end the continuous enrollment condition on March 31, 2023. While the
continuous enrollment provision was not applicable to separate CHIPs, some states obtained
authority through a CHIP disaster relief SPA to delay processing renewals or through a section
1115 demonstration to authorize continuous coverage in CHIP, which had the similar result of
maintaining continuous enrollment of children in CHIP.

CMS recognizes that states will be in the process of unwinding when mandatory CE for children
becomes effective. As a result, states likely will have some children whose eligibility was not
renewed during the 12-month period preceding January 1, 2024.

For children who have not had a determination or renewal of eligibility within the 12 months
preceding January 1, 2024, and whose renewal during the unwinding period is conducted on or
after that date, states will begin a new CE period when the renewal during the state’s unwinding
occurs, provided that the child is determined to be eligible at that time. For example, Mia’s last
redetermination was August 1, 2021. The state initiates a renewal for Mia during its unwinding
period in December 2023. The state typically takes three months to complete the renewal for a
given cohort, such that Mia’s coverage is expected to end or be renewed effective March 1,
2024. The state determines that she is still eligible for Medicaid. Mia’s CE period will align with
her new eligibility period, beginning March 1, 2024, and extending through February 28, 2025.

Conversely, if the state had determined Mia was ineligible when the state completed her renewal,
Mia’s coverage would end effective March 1, 2024. Mia no longer gets the benefit of CE
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because her last redetermination was completed more than 12 months ago (August 1, 2021) and
the state has determined that she no longer meets eligibility requirements.

    D. Acting on Information from Electronic Data Sources During a CE Period

Changes in Circumstances Experienced Between Renewal Periods

As noted above, states must renew eligibility for CHIP and MAGI-based Medicaid beneficiaries
once a year and may renew eligibility for MAGI-excepted Medicaid beneficiaries more
frequently. 25 States also are expected to have procedures in place designed to ensure that
beneficiaries make timely and accurate reports of any CICs that may affect their eligibility, and
to redetermine eligibility when such changes are reported. 26 States also can elect to obtain
information from reliable outside sources (e.g., through conducting periodic data matches (PDM)
with electronic data sources) between regular renewals to detect CICs that may impact eligibility.

For children entitled to a 12-month CE period, states may not terminate eligibility based on CICs
either reported by the family or detected through a PDM prior to the child’s regularly scheduled
renewal (which is conducted at the end of the child’s eligibility period), unless the change relates
to one of the exceptions to CE listed in section II.A of this letter.

Since children are protected from termination due to most CICs, but adults are not, states cannot
delay acting on CICs that may impact eligibility for adults ages 19 or older that are also enrolled
in Medicaid or CHIP. When both children and adults in a given household are enrolled in
Medicaid or CHIP, states must ensure that, when acting on a CIC that impacts the eligibility of a
household member age 19 or older, the eligibility of a child in a CE period is not impacted unless
the change relates to one of the exceptions to CE in section II.A of this letter.

Post-Enrollment Verification

In processing applications, states have the option to enroll individuals based on self-attested
information and conduct required verifications post-enrollment, consistent with the state’s
verification plan. 27 This process is commonly referred to as "post-enrollment verification."
Children who have been determined eligible for Medicaid or CHIP based on attested information
are entitled to a 12-month CE period. States may not terminate coverage for such children during
a CE period if, in conducting post-enrollment verification, the state obtains information that
indicates that the child does not meet all of the eligibility requirements unless the information
indicates that one of the limited exceptions to CE discussed in section II.A of this letter applies
(e.g., the child turns age 19 or ceases to be a state resident). Such information is considered a
CIC, and the child’s coverage may not be terminated. Rather, the child must remain eligible for
coverage through the end of the 12-month period following the effective date of eligibility based

25
   As mentioned earlier, if states conduct renewals for MAGI-excepted beneficiaries more than once a year, states
may only act on changes in circumstance that fall into one of the exceptions to the provision of CE discussed in
section II.A of this SHO letter.
26
   § 435.916(c) and (d), and § 457.343
27
   Per §§ 435.945(j) and 457.380(j), states are required develop, and update as needed, a verification plan that
describes the verification policies and procedures.
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on the initial determination. As long as the attested information indicates that the child is
eligible, the state is not considered to have made an erroneous determination, even if there is an
inconsistency between the attested information and information subsequently obtained from
electronic data sources after enrollment. 28


III. Considerations for Specific Populations

     A. Summary of Existing Medicaid Incarceration Policies


Medicaid: Eligibility for Children who Become Incarcerated

Federal law provides that incarceration status does not preclude eligibility for Medicaid.
Individuals who are incarcerated are eligible for Medicaid if they otherwise meet all eligibility
requirements under the state plan. However, the provision of federal financial participation
(FFP) for inmates of a public institution under Medicaid, including children, is limited to
inpatient services that are furnished to the individual while admitted to a medical institution for
at least a 24-hour inpatient stay. 29 This policy does not apply to children who have attested to
being a U.S. citizen or in a satisfactory immigration status, 30 and who are receiving benefits
during a reasonable opportunity period (ROP), 31 if the state is unable to verify the child’s status
during the ROP.

To comply with the FFP limitation, states historically have either terminated or suspended
coverage for Medicaid beneficiaries who become incarcerated. However, the Substance Use
Disorder Prevention that Promotes Opioid Recovery and Treatment for Patients and
Communities Act (SUPPORT Act) prohibits the termination of “eligible juveniles” who are
incarcerated and instead requires states to suspend their Medicaid coverage for the duration of




28
   Children whose citizenship or satisfactory immigration status is not verified have not been determined eligible for
Medicaid or CHIP. If a state is unable to verify a child’s status prior to the end of the ROP, the state must take action
within 30 days, to terminate benefits in accordance with §§ 435.956(b)(3) and 457 380(b)(1)(ii).
29
   For additional information on when individuals are considered an inmate of a public institution see § 435.1010
and State Health Official Letter # 16-007 available at https://www.medicaid.gov/sites/default/files/Federal-Policy-
Guidance/Downloads/sho16007.pdf. Subdivision (A) of the matter following section 1905(a)(30) of the Act limits
the provision of FFP to inpatient services provided to individuals who are incarcerated. For purposes of this payment
exclusion, “medical institutions” include hospitals, nursing facilities, intermediate care facilities for individuals with
intellectual disabilities, and to facilities pursuant to the inpatient psychiatric services available for individuals under
age 21 through the EPSDT benefit, including psychiatric residential treatment facilities. To qualify for the medical
institution exception, services must be covered under the state’s Medicaid plan, delivered in a prescribed setting in a
way that is consistent with other terms of the state’s Medicaid plan, and provided by a certified or enrolled provider
that maintains compliance with federal requirements.
30
   Applicable regulations are at §§ 435.406(a) and 457.320(d),
31
   Applicable reasonable opportunity period regulations are at §§ 435.956(b) and 457.380(b)(1)(ii).
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    their incarceration. 32,33 To comply with these requirements, states can elect to either suspend
    benefits or eligibility when a child in Medicaid is incarcerated: 34

         •   Under a benefits suspension, individuals who become incarcerated continue to be eligible
             for Medicaid, but coverage is limited only to inpatient services. When benefits are
             suspended, the state must complete regular annual renewals and redetermine eligibility
             when the incarcerated individual experiences a CIC that may impact their eligibility for
             the duration of the individual’s incarceration.

•    Under an eligibility suspension, the individual’s Medicaid eligibility is not terminated, but is
     effectively paused. Eligibility can be reinstated if the individual needs covered inpatient
     services. Depending on when the individual’s last full determination was conducted (i.e., at
     application or most recent regular renewal), the state may need to conduct a renewal prior to
     reinstating eligibility. When eligibility is suspended, a state may, but is not required to, conduct
     regular annual renewals. We also note that states electing to suspend eligibility will need to
     conduct a redetermination prior to release 35 for individuals who were determined eligible more
     than 12 months prior to the date of release, if the state has not redetermined eligibility within the
     12-month period preceding release.

    Medicaid: CE for Children who Become Incarcerated

    Current Medicaid regulations 36 do not include incarceration as a permissible reason to end a
    child’s CE period in Medicaid if a state has elected to provide CE. The CAA, 2023 does not
    change the current policy. Therefore, if a child becomes incarcerated during their CE period, the
    child remains eligible for the remainder of the CE period while incarcerated.

    During a CE period, states that implement a benefits suspension for children in Medicaid who
    become incarcerated may not act on CICs that occur, unless the CIC triggers one of the
    exceptions to CE listed in section II.A of this SHO letter. This means that the child would be
    eligible for any necessary inpatient services under Medicaid until the end of their CE period.
    The state would complete an annual renewal at the end of a child’s CE period.

    During a CE period, states that implement an eligibility suspension would not take CICs into
    account if a child in Medicaid needed inpatient services while incarcerated prior to their annual
    renewal. Under an eligibility suspension, if a child in a carceral setting needed inpatient services,
    the state only would consider whether the child’s last eligibility determination was within the

    32
       Section 1001 of the SUPPORT Act, Public Law 115-271, enacted October 24, 2018, added section 1902(a)(84) of
    the Act.
    33
       An “eligible juvenile” is defined as an individual who is under 21 years of age or an individual eligible under the
    mandatory eligibility group for former foster care children who was determined eligible for Medicaid prior to
    becoming or while an inmate of a public institution.
    34
       See SMDL #21-002 “Implementation of At-Risk Youth Medicaid Protections for Inmates of a Public Institution
    (Section 1001 of the SUPPORT Act)” (available at https://www.medicaid.gov/sites/default/files/2021-
    12/smd21002.pdf) for additional information regarding suspension strategies available under Medicaid.
    35
       States are required to redetermine eligibility for eligible juveniles prior to their release from a carceral facility
    consistent with section 1902(a)(84)(B) of the Act. See SMDL #21-002 for more information.
    36
       § 435.926
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previous 12 months, such that the child is still in their CE period. If it has been more than 12
months since the child’s last eligibility determination, the child’s CE period would have expired,
and the state would need to redetermine their eligibility prior to providing inpatient services.

       B. Summary of CHIP Incarceration Policies

CHIP: Eligibility for Children who Become Incarcerated
Unlike in Medicaid, incarceration status is a factor of eligibility in CHIP. A child who is an
inmate of a public institution is excluded from the statutory definition of a targeted low-income
child and therefore, without CE, a child who is in a carceral setting is ineligible for a separate
CHIP. 37

CHIP: CE for Children who Become Incarcerated

Under current CHIP regulations, 38 incarceration is not an exception to CE. Thus, in the case of a
child currently enrolled in CHIP, incarceration is not a permissible reason to terminate coverage
during a CE period. This means that children determined eligible for CHIP at initial application
or renewal who later become incarcerated during a CE period, remain eligible. In addition, these
children continue to receive services that are covered under the CHIP state plan through the end
of their CE period, if the services are not otherwise provided by the carceral setting. However, if
a child remains incarcerated at the end of their CE period, the state must terminate the child’s
CHIP coverage because they no longer meet the definition of a targeted low-income child.

CHIP: Modifications under the CAA, 2023 to CHIP Eligibility for Children who Become
Incarcerated

The CAA, 2023 amendments to sections 1902(e)(12) and 2107(e)(1)(K) of the Act do not
explicitly change the incarceration policy for CHIP enrollees in a CE period. However, another
provision in the CAA, 2023, has led us to reconsider the policy for operationalizing CE for
children enrolled in a separate CHIP who become incarcerated. Specifically, section 5121 of the
CAA, 2023 added a new section 2102(d) of the Act to require, effective January 1, 2025, that
“[s]tate[s] shall not terminate eligibility for child health assistance under the State child health
plan for a targeted low-income child because the child is an inmate of a public institution, but
may suspend coverage during the period the child is such an inmate.”

The language added at section 2102(d) of the Act is virtually identical to the existing Medicaid
requirements at section 1902(a)(84) of the Act, which require states to suspend coverage rather
than terminate individuals because they are an inmate of a public institution. Due to the
similarity of the language, we look to the current interpretation of section 1902(a)(84) of the Act
and its interaction with CE for children enrolled in Medicaid in considering the appropriate CE
policy for children who become incarcerated while enrolled in CHIP.



37
     Section 2110(b)(2)(A) of the Act and regulations at § 457.310 define targeted low-income child.
38
     § 457.342
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States may continue to utilize a suspension option for children who are incarcerated before or
after the January 1, 2025 effective date of section 5121 of the CAA. Prior to January 1, 2024,
only states with CE may elect this suspension option, but after January 1, 2024, all states may
elect suspension when CE becomes mandatory. States may revise their state plans at any time to
demonstrate that they suspend CHIP coverage. States electing to suspend CHIP coverage may
choose one of the suspension options discussed in detail under the subheading above entitled
“Medicaid: Eligibility for Children who Become Incarcerated.” States will also retain the option
to continue to provide all CHIP-covered services to incarcerated youth not otherwise paid for by
the carceral setting through the end of their CE period.

Regardless of whether the state elects to suspend coverage or to provide benefits during a CE
period, states must maintain children in CHIP who become incarcerated for the duration of their
CE period, unless they experience an exception to CE. If a targeted low-income child is released
from the carceral setting before the CE period ends, the state would be required to reinstate
coverage and benefits without conducting a redetermination of eligibility. However, if a child
remains incarcerated when their CE period ends, states must redetermine eligibility and
terminate the child’s CHIP eligibility. This policy will change on January 1, 2025, the effective
date of section 5121 of the CAA, 2023. At that time, states will no longer be permitted to
terminate eligibility of an incarcerated child at the end of the CE period, but they may suspend
coverage.
Additional guidance related to section 2102(d) of the Act and section 5121 of the CAA, 2023
will be forthcoming.

     C. From-Conception-to-End-of-Pregnancy Option

Under § 457.10, states have the option to provide coverage in order to provide prenatal care and
other pregnancy-related benefits from conception to end of pregnancy to pregnant individuals, if
they are not eligible for Medicaid or CHIP. 39

Under section 2107(e)(1)(K) of the Act, states must provide CE to those eligible under the FCEP
option in the same manner as CE for targeted low-income children. The duration of the CE
period, however, will depend on how states pay for labor and delivery services.

Currently, states generally must enroll the pregnant individual, if eligible, for coverage of
services necessary to treat an emergency medical condition, which includes labor and delivery
(“Emergency Medicaid”). The only exception to this general rule is if the pregnant individual is
ineligible for Emergency Medicaid or the state uses a bundled or global payment 40 to cover
prenatal, labor and delivery, and postpartum care in CHIP.

The duration of CE depends on whether a state enrolls the pregnant individual into Medicaid for
coverage of labor and delivery or pays for the delivery under CHIP, as follows:


39
   See the October 2, 2002 final rule at https://www.federalregister.gov/documents/2002/10/02/02-24856/state-
childrens-health-insurance-program-eligibility-for-prenatal-care-and-other-health-services-for
40
   See CMS SHO #02-004; available at https://healthlaw.org/wp-
content/uploads/2018/09/cms_release_on_prenatal_care_for_fetuses.pdf
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     •   Emergency Medicaid pays for labor and delivery. Under the Medicaid deemed newborn
         requirement, the newborn will be deemed eligible for Medicaid at birth (regardless of
         family income), so the child is automatically eligible for continuous coverage in
         Medicaid until their first birthday. 41 Because the newborn is eligible for Medicaid, the
         CHIP CE period that began on the effective date of coverage under the FCEP option ends
         at birth.

     •   CHIP pays for labor and delivery. Many newborns will be eligible for Medicaid, if their
         family’s income is at or below the Medicaid income standard for infants, even though
         labor and delivery was covered by CHIP. Therefore, the state must screen the newborn
         for potential eligibility for Medicaid at birth. Such screening must be based on
         information available to the state without contacting the individual, unless additional
         information is needed to verify the specific change in circumstances. 42 Depending on the
         result of this screen, the state must take a different action:

             a. The screening identifies potential eligibility for Medicaid. The state must
                transition the newborn to Medicaid for the remainder of their 12-month CE period
                (beginning on the effective date of coverage under the FCEP option) consistent
                with section 2107(e)(1)(K) of the Act. Alternatively, the state may choose to
                provide a new 12-month CE period in Medicaid from the date of the
                determination if the state has enough information available to it to determine
                eligibility with respect to all eligibility criteria without requiring additional
                information or documentation from the family. 43

             b. The screening does not indicate potential eligibility for Medicaid. The state must
                maintain the newborn’s coverage in CHIP for the duration of the 12-month CE
                period (beginning on the effective date of coverage under the FCEP option). 44 If
                the screening indicates the child remains eligible for CHIP, the state may begin a
                new 12-month CE period if it has enough information available to redetermine
                CHIP eligibility with respect to all eligibility criteria without requiring additional
                information or documentation from the family. 45

We note that, while states may continue using bundled payments to provide postpartum care to
those eligible under the FCEP option, states can also provide postpartum care through a health
services initiative (HSI). 46 Covering labor and delivery under Medicaid and postpartum care for

41
   Requirements for deemed newborns are at § 435.117. When the deemed newborn reaches their first birthday, the
state must conduct a renewal of eligibility in accordance with § 435.916.
42
   See §457.350(b) for CHIP screening and enrolling procedures. § 457.350(b) cites to § 457.343, which
incorporates Medicaid regulations about changes in circumstances by cross referencing § 435.916(d)(1).
43
   § 435.916(d)(1)(ii)
44
   If the newborn continues to appear eligible for CHIP, states may move the child from the FCEP eligibility
category to another CHIP eligibility category for the remainder of their 12-month CE period as long as the change
does not result in a loss of benefits or an increase in cost sharing. States may not contact the child’s family for
additional information in order to move the newborn to a new CHIP eligibility category.
45
   § 457.343, which incorporates by cross reference § 435.916(d)(1)(ii))
46
   January 12, 2017 Health Services Initiatives FAQs (https://www.medicaid.gov/federal-policy-
guidance/downloads/faq11217.pdf) for more information.
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the parent through an HSI may be beneficial for both the parent and child. Infants whose birth is
not paid for as part of a bundled payment that are deemed eligible for Medicaid 47 are entitled to
Medicaid eligibility for one year and receive the mandatory EPSDT benefit in Medicaid, which
is an optional benefit in CHIP. States also generally impose lower premiums and cost sharing
charges under Medicaid compared to CHIP. Additionally, by using an HSI for postpartum care,
states can provide the same comprehensive postpartum coverage to all pregnant individuals
across Medicaid and CHIP for up to 12 months, not just the postpartum services covered through
a bundled payment.


IV. State Plan Amendments (SPAs)

All states that must newly adopt CE for children in Medicaid and/or CHIP will need to submit a
Medicaid and/or CHIP SPA.

In addition, states that currently have CE will need to submit a Medicaid and/or CHIP SPA to
come into compliance with new sections 1902(e)(12) and 2107(e)(1)(K) of the Act, if the state
imposes CE restrictions that are no longer permissible effective January 1, 2024 – that is, if,
under the state’s current CE policy:

     •   CE only applies to a subset of children under age 19, such as targeting a specific age
         range; or
     •   The CE period is shorter than 12 months.

States that currently provide CE in a manner that is consistent with sections 1902(e)(12) and
2107(e)(1)(K) of the Act, as amended by the CAA, 2023, will not be required to submit a SPA.
States whose Medicaid CE SPA was approved prior to MACPro (i.e., the state submitted a
paper-based SPA), will need to attest to being in compliance in MACPro.

States must submit CE-related SPAs for Medicaid through MACPro and CHIP SPAs through the
Medicaid Model Data Lab (MMDL).

For Medicaid, to have an effective date of January 1, 2024, states will need to submit their SPA
no later than March 31, 2024, in accordance with Medicaid regulations. 48 For CHIP, to have an
effective date of January 1, 2024, states must submit their SPA no later than the end of the state
fiscal year in which January 1, 2024 falls. 49


V. Section 1115 Demonstration Authority

States may also request CE for children for more than a 12-month period, or multi-year CE,
through section 1115 demonstration authority. CMS has approved demonstration authority in a

47
   § 435.117
48
   §§ 430.12 and 430.20
49
   §§ 457.60 and 457.65
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few states to provide CE for longer than 12 months, including CE for children determined
eligible until they reach age six, and a two-year CE period for children ages six and older.
We recognize that CE for adults also supports consistent coverage and continuity of care by
keeping adults and children enrolled for a longer period of time regardless of income fluctuations
or most other changes that otherwise would affect eligibility. These types of demonstrations are
expected to minimize coverage gaps and to help maintain continuity of access to program
benefits, and thereby help improve health outcomes of beneficiaries. CE is also an important
aspect of reducing the rate of uninsured and underinsured adults. For more information about the
section 1115 demonstration application process, states may contact their CMS Section 1115
Project Officer or refer to the “1115 Application Process” webpage on Medicaid.gov at
https://www.medicaid.gov/medicaid/section-1115-demonstrations/1115-application-
process/index.html


VI. Closing

CMS looks forward to its continued work with states on the implementation of CE in all states
and ensuring that all children enrolled in Medicaid and CHIP have continuous access to the
coverage they need and to which they are entitled. States should consult with CMS if they have
questions related to the guidance in this letter. We also encourage you to reach out to your
Medicaid state lead or CHIP project officer with any questions related to SPA submission. If
you have additional questions about the policies described in this letter, you may contact Meg
Barry, Director of the Division of State Coverage Programs at 410-786-1536 or
meg.barry@cms.hhs.gov.
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           Mandatory Continuous Eligibility for Children in Medicaid and CHIP
                             Frequently Asked Questions
                                   October 2, 2023

Q1. On or after January 1, 2024, can states terminate CHIP coverage during a continuous
eligibility (CE) period due to non-payment of premiums?

A1. No. Sections 1902(e)(12) and 2107(e)(1)(K) of the Social Security Act (the Act), as modified
by Section 5112 of the Consolidated Appropriations Act, 2023 (CAA, 2023), provide for limited
exceptions to the requirement that all states provide 12 months of continuous eligibility for
children regardless of any changes in circumstances that otherwise would result in loss of
coverage. These exceptions include the child turning age 19, no longer being a state resident or,
in the case of a child enrolled in a separate CHIP, becoming eligible for Medicaid. There is not
an exception to CE for non-payment of premiums. Thus, the existing regulatory option at 42
CFR § 457.342(b) for states operating a separate CHIP to consider non-payment of premiums as
an exception to CE will end on December 31, 2023, and states will not be permitted to terminate
the Medicaid or CHIP eligibility of a child under age 19 during a CE period for non-payment of
premiums. We note that states do not have the option to terminate a child’s Medicaid eligibility
during a CE period under current Medicaid CE regulations at 42 CFR § 435.926.
We recognize that the State Health Official (SHO) Letter we issued on September 29, 2023,
Section 5112 Requirement for all States to Provide Continuous Eligibility to Children in
Medicaid and CHIP under the Consolidated Appropriations Act, 2023, provides for three
exceptions to CE that are included in the current regulations at 42 CFR § 435.926(d),
incorporated by cross reference in the CHIP regulations at 42 CFR § 457.342(a), but which are
not identified in Section 5112 of the CAA, 2023. Specifically, under the SHO, states may
terminate coverage of an individual under age 19 before the end of their 12-month CE period if:
1) the child dies, 2) the child or their representative requests disenrollment or 3) the agency
determines that eligibility was erroneously granted at the most recent determination,
redetermination or renewal of eligibility because of agency error or fraud, abuse, or perjury
attributed to the child or the child's representative. These three exceptions, which permit states to
terminate coverage for a child who is deceased, who no longer wants to receive coverage, or who
did not actually meet the eligibility requirements at their last determination, do not undermine
the CE mandate in section 5112 of the CAA, 2023, and are important to protecting program
integrity.
States will continue to have the option to institute an enrollment fee in CHIP and require
payment of the enrollment fee prior to enrollment. States also will continue to have the option to
require payment of the first month’s premium prior to enrolling a child who is determined
eligible at application.
States that have already adopted CE for children and treat nonpayment of premiums as an
exception to CE in CHIP will need to submit a CHIP SPA as outlined in Section IV of SHO
Letter #23-004.
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Q2. If a state or managed care entity covers unpaid premium amounts for a child whose
coverage must be maintained during a CE period despite nonpayment of premiums, can
the state receive FFP (Federal financial participation) for such amounts?

A2. No. CMS cannot provide FFP for unpaid premiums covered by the state or any other entity,
including managed care entities. Existing requirements at 42 CFR § 447.56(e)(1) and
457.224(a)(1) exclude FFP for any cost sharing amounts, including premiums, that beneficiaries
are expected to pay, and are unchanged by the CAA, 2023.

Currently, some states or managed care entities choose to absorb the costs of unpaid premiums so
that a child can remain enrolled even if the state would otherwise terminate coverage due to non-
payment of premiums. Any such payment of premiums of by states or managed care entities
continues to be ineligible for FFP.
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                 IN THE UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

                                Case No. 8:24-cv-317

STATE OF FLORIDA; and FLORIDA
AGENCY FOR HEALTH CARE
ADMINISTRATION,

Plaintiffs,

v.

CENTERS FOR MEDICARE AND
MEDICAID SERVICES; CHIQUITA
BROOKS-LASURE, in her official capacity as
Administrator for the Centers for Medicare and
Medicaid Services; DEPARTMENT OF
HEALTH AND HUMAN SERVICES; and
XAVIER BECERRA, in his official capacity as
Secretary of Health and Human Services,

Defendants.

                 MOTION FOR PRELIMINARY INJUNCTION
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                                 INTRODUCTION

      On June 22, 2023, Governor DeSantis signed into law Florida H.B. 121 to

substantially expand the provision of subsidized health insurance to children in the

State of Florida. See An Act Relating to Florida KidCare Program Eligibility, H.B.

121, 2023 Leg. (Fla. 2023). That program, and especially its expansion, depends on

the collection of monthly premiums. The Biden Administration unlawfully seeks to

undermine that requirement and turn the program into a free-for-all, threatening its

solvency, long-term stability, and ability to reach even more children in need.

      For more than three decades, Florida has provided subsidized health insurance

to children in low- and moderate-income families who do not qualify for Medicaid.

Since 1998, Florida has administered this insurance as part of the Children’s Health

Insurance Program (“CHIP”), a federal-state partnership under Title XXI of the Social

Security Act, Pub. L. No. 105-33, 111 Stat. 251 (1997). Florida has always required

modest premiums as a condition of enrollment, currently ranging from $15 to $20 per

family regardless of the number of children enrolled. These premiums offset program

costs, ensure Florida maintains a balanced budget as mandated by its state

constitution, and preserve Florida CHIP as a bridge between Medicaid and private

insurance rather than an entitlement program.

      Title XXI allows States to disenroll CHIP participants for nonpayment of

premiums. See 42 U.S.C. § 1397cc(e)(3)(C). The Centers for Medicare and Medicaid

Services (“CMS”), which administers CHIP on behalf of the federal government, has

allowed disenrollment for the same reason, including during periods of “continuous

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eligibility.” See 42 C.F.R. § 457.342(b). Eligibility is the determination that someone

qualifies to participate in CHIP—e.g., meets the State’s income, residency, and age

requirements—and States generally don’t reconsider that determination during

periods of “continuous eligibility.” Enrollment means the participant is not only eligible

but has agreed to participate in CHIP and will pay the enrollment cost and monthly

premiums as required. A person can be eligible for CHIP benefits but not enrolled.

      In late 2023, CMS issued a State Health Official (“SHO”) Letter, Ex.3, notifying

States that they could no longer disenroll CHIP participants during periods of

“continuous eligibility,” except in certain circumstances. A subsequent Frequently

Asked Questions (“FAQs”) document, Ex.4, specifically prohibited disenrollment

during continuous eligibility for nonpayment of premiums. Both the SHO Letter and

FAQs cited the Consolidated Appropriations Act, 2023 (“2023 CAA”), which

amended Title XXI to require that States provide CHIP participants with 12 months

of “continuous eligibility.” Pub. L. No. 117-328, § 5112, 136 Stat. 4459, 5940 (2022).

But the 2023 CAA says nothing about premiums or CHIP enrollment.

      The FAQs are contrary to law and exceed CMS’s statutory authority. Title XXI

expressly allows “termination of coverage” by a State for a participant’s “failure to

make a premium payment.” 42 U.S.C. § 1397cc(e)(3)(C)(ii)(I). Requiring States to

continue enrollment despite a participant’s failure to pay premiums violates that

statute. The 2023 CAA did not change that authority, requiring only that States

provide 12 months of “continuous eligibility.” CMS “must give effect to that clear

intent,” In re Gateway Radiology Consultants, P.A., 983 F.3d 1239, 1256 (11th Cir. 2020),
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as Congress certainly knows how to distinguish between “eligibility” and

“enrollment,” and has long done so.1 CMS must also follow its own regulations until

they are amended or repealed. United States v. Nixon, 418 U.S. 683, 695–696 (1974).

Those regulations have long recognized the distinction between eligibility and

enrollment,2 and expressly allow disenrollment for nonpayment of premiums during

periods of continuous eligibility. See 42 C.F.R. § 457.342(b).

       CMS’s newfound position is also arbitrary and capricious because it lacks a

reasoned explanation and fails to consider important aspects of the problem. CMS

further purported to amend its regulations by “end[ing]” the provision at 42 C.F.R.

§ 457.342(b), effective December 31, 2023, without undergoing the notice-and-

comment rulemaking required under the Administrative Procedure Act (“APA”).

Ex.4, FAQs at 1. CMS has tried to simply make the change by agency fiat.

       Plaintiffs State of Florida and its Agency for Health Care Administration, which

oversees Florida CHIP (collectively, “Florida”), are caught between CMS and state

law. Florida faces actual and imminent injury to its sovereign interest in implementing

and enforcing its laws, and in the form of unrecoverable monetary loss. The public is

also best served by an injunction that ensures the proper administration and long-term

sustainability of a program enacted by the people’s representatives in Florida,

including avoiding incentives that undermine the program, limit its reach, or

jeopardize its expansion to more children in need. Those considerations far outweigh

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  See note 8, infra, and accompanying text.
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  See note 9, infra, and accompanying text.

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any harm to CMS because the federal government has no legitimate interest in

unlawful agency action. See Ala. Ass’n of Realtors v. HHS, 141 S. Ct. 2485, 2490 (2021);

BST Holdings, LLC v. OSHA, 17 F.4th 604, 618 (5th Cir. 2021).

           Accordingly, this Court should enjoin Defendants3 from prohibiting CHIP

disenrollment for nonpayment of premiums, as set forth in the FAQs.

                                      BACKGROUND

      A.    Children’s Health Insurance Program

           CHIP is a cooperative federal-state program codified in Title XXI of the Social

Security Act. Under Title XXI, States develop and administer their own CHIPs, and

the federal government provides funds to help defray the costs of programs that satisfy

certain baseline insurance coverage. See 42 U.S.C. §§ 1397aa–1397mm. States have

considerable flexibility to implement CHIP, including selecting the standards they use

“to determine the eligibility of targeted low-income children.” Id. § 1397bb(b)(1).

Congress also grandfathered programs in three states—Florida, New York, and

Pennsylvania—into CHIP because they already provided “comprehensive ...

coverage” to children before 1997, allowing those States to both maintain and modify

their existing programs within broad limits. Id. § 1397cc(a)(3), (d).

           Once a child is determined to be eligible for the relevant state CHIP, the child

may enroll and obtain insurance coverage. Title XXI allows States to require cost-

sharing as a condition of enrollment and coverage, including by charging “premiums,



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    Plaintiffs have sued CMS, the CMS Administrator, HHS, and the HHS Secretary.
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deductibles, [and] coinsurance.” Id. § 1397cc(e)(1)(A). It also allows States to

“terminat[e]” an enrollee’s “coverage” for nonpayment of premiums after a 30-day

grace period, subject to certain disenrollment protections. Id. § 1397cc(e)(3)(C); see 42

C.F.R. § 457.570.

         Under a 2016 rule, States were given the option of providing a period of

“continuous eligibility” to children enrolled in CHIP. 42 C.F.R. § 457.342(a); see 81

Fed. Reg. 86,382 (Nov. 30, 2016). During the continuous eligibility period, however,

continuous enrollment is not guaranteed. The regulation provides that “a child may be

terminated during the continuous eligibility period” for the “reasons provided” in 42

C.F.R. § 435.926(d)—a regulation that permits termination of Medicaid “eligibility”

during periods of “continuous eligibility” 4—and also “for failure to pay required

premiums or enrollment fees,” id. § 457.342(b).

         In 2022, Congress amended the Social Security Act to require States to provide

12 months of continuous eligibility to CHIP participants. 2023 CAA § 5112, 136 Stat.

4459, 5940; see Part C, infra.

    B.      Florida’s Children’s Health Insurance Program

         In 1990, pre-dating CHIP, Florida established one of the first state-sponsored

programs that offered subsidized health insurance to children in low- and moderate-

income families who did not qualify for Medicaid. The program began in Volusia

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4
 Title 42 C.F.R. § 435.926(d) allows the termination of Medicaid “eligibility” if (1) “[t]he child attains
the maximum age specified,” (2) “[t]he child or child’s representative requests a voluntary termination
of eligibility,” (3) “[t]he child ceases to be a resident of the State”, (4) the State “determines that
eligibility was erroneously granted ... because of agency error or fraud, abuse, or perjury,” or (5) “[t]he
child dies.”
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County as a demonstration project under the Omnibus Budget Reconciliation Act of

1989, Pub. L. No. 101-239, § 6407, 103 Stat. 2106, 2266 (1989), which required States

to charge premiums to participating families, id. § 6407(c)(2), 103 Stat. at 2266. By

1995, the federal funding had ended, but Florida continued its efforts and expanded

the program to additional counties, funded by state, local, and private sources. Ex.5,

Demonstration Report at 1–2, 26.

       In 1997, Congress grandfathered Florida’s program into CHIP. 42 U.S.C.

§ 1397cc(a)(3), (d)(1). Florida subsequently transferred administration of that program

to “Florida KidCare,” an umbrella program created to oversee Florida Medicaid and

CHIP. Florida CHIP continued to require premium payments, and also provided a 6-

month period of continuous eligibility for CHIP participants (later extended to 12

months). Ex.2, Fla. CHIP Plan at 83, 91–92. Eligible participants could still be

disenrolled for nonpayment of premiums. Id. at 97–98, 177–78.

       As of October 2023, more than 119,000 children in low- and moderate- income

families statewide receive subsidized health insurance through Florida CHIP.

Children who do not qualify for Medicaid and whose household incomes are up to

210%5 of the federal poverty level are eligible to participate.6 Families who enroll at

least one child must pay monthly premiums between $15 and $20 dollars, depending

on family income. Id. at 22–23, 176–77. A child whose family fails to pay the premium


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  Income thresholds for current programs are specified in terms of modified adjusted gross incomes
(MAGI). See 42 U.S.C. § 1396a(e)(14).
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  Florida also permits any family, regardless of income, to purchase children’s health insurance
through Florida KidCare at full, but affordable, rates. Ex.2, Fla. CHIP Plan at 5, 23, 177.
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will be disenrolled from coverage after a 30-day grace period, but can reenroll

following a short lock-out period without undergoing a new eligibility determination.

Id. at 97–98, 177–78.

      The scope of Florida CHIP is also set to expand. Governor Ron DeSantis

recently signed into law Florida H.B. 121, which makes Florida children with

household incomes up to 300% of the federal poverty level eligible for the subsidized

insurance. H.B. 121, 2023 Leg. § 1. This expansion is projected to increase enrollment

in Florida CHIP by an additional 26,000 Florida children in its first year, alone. Ex.1,

Noll Declaration ¶ 5.

      Cost-sharing is vital to the operation and sustainability of Florida CHIP. In

fiscal year 2019–2020, Florida collected over $30 million in premium payments, which

helped offset program costs and ensured that Florida met the balanced budget

requirement in the Florida Constitution. Ex.1, Noll Declaration ¶ 4; Fla. Const. art.

III, § 19(a); id. art. VII, § 1(d). Cost-sharing is also crucial to Florida’s planned

expansion of CHIP, which will be partially funded through the collection of premium

payments and will increase the number of Florida children in need who receive health

insurance coverage. Florida anticipates collecting more than $53 million in premium

payments from existing and new participants in the first full year of the expanded plan.

Ex.1, Noll Declaration ¶ 7. Without those premiums, the cost to Florida of expanding

its CHIP coverage would double. Id. ¶ 6.

      Requiring modest cost-sharing also reflects a conscious policy choice by the

Florida Legislature that those receiving state-subsidized healthcare should be
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financially invested in the benefits they receive. Florida CHIP is a personal

responsibility program, intended to bridge the gap between families with low incomes

who receive free health insurance through Medicaid and families with higher incomes

who must obtain insurance on their own. See Fla. Stat. §§ 409.812–.813; Staff of Florida

H.R. Health Care Servs. Comm., Review of the Implementation of the Florida KidCare Act 7–

8 (Sept. 1999), http://www.leg.state.fl.us/data/Publications/2000/House/reports/

interim_reports/pdf/kidcare.pdf.

   C.      CMS’s September 29, 2023, SHO Letter

        The 2023 CAA amended the Social Security Act to require States to provide 12

months of “continuous eligibility” for children enrolled in Medicaid and CHIP. In

relevant part, it provides:

        The State plan (or waiver of such State plan) shall provide that an individual
        who is under the age of 19 and who is determined to be eligible for benefits under
        a State plan (or waiver of such plan) approved under this title ... shall remain
        eligible for such benefits until the earlier of—
                 (A) the end of the 12-month period beginning on the date of such
                      determination;
                 (B) the time that such individual attains the age of 19; or
                 (C) the date that such individual ceases to be a resident of such State.

2023 CAA § 5112(a), 136 Stat. at 5940 (emphases added) (amending 42 U.S.C.

§ 1396a(e)(12)); see id. § 5112(b), 136 Stat. at 5940 (adding 42 U.S.C. § 1397gg(e)(1)(K)

to apply § 1396a(e)(12) to CHIP).

        On September 29, 2023, CMS issued a SHO Letter “to provide states with

guidance on implementing” the new continuous eligibility requirement. Ex.3, SHO

Letter at 1. CMS observed that the 2023 CAA “explicitly provide[s]” only two


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“exception[s]” to continuous eligibility: for children who “[r]each age 19” or “[c]ease

to be state residents.” Id. at 4. Nonetheless, CMS explained that States “will be

expected to” continue terminating eligibility during the continuous eligibility period

for three other reasons: when termination is voluntarily requested, when the agency

determines eligibility was erroneously granted, or when the child dies. Id. at 4–5.

Together, these five reasons coincide with the reasons for terminating eligibility listed

in CMS’s current regulations. See 42 C.F.R. §§ 435.926(d), 457.342(b). CMS added

that it was “still assessing how non-payment of premiums intersects with [continuing

eligibility] under the CAA.” Ex.3, SHO Letter at 4 n.14.

        CMS was clear that States must “submit Medicaid and CHIP state plan

amendments” to conform to the requirements in the SHO Letter. Id. at 1.

   D.      CMS’s October 27, 2023, “Frequently Asked Questions”

        On October 27, 2023, CMS issued FAQs that (despite the title) purport to effect

a change in CMS’s regulations on CHIP enrollment. The FAQs state that under the

new continuous eligibility requirement of the 2023 CAA, States cannot “terminate

CHIP coverage during a continuous eligibility ... period due to nonpayment of

premiums.” Ex.4, FAQs at 1 (emphasis added). As a result, eligible children can obtain

health insurance through CHIP for a full 12 months—the duration of the continuous

eligibility period—by enrolling and paying the first month’s premium only. Id. States

must “absorb the costs of unpaid premiums” for the next 11 months, because those

shortfalls do not qualify for federal reimbursement. Id. at 2.

        The FAQs then announced that the “existing regulatory option at 42 CFR
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§ 457.342(b) for states ... to consider non-payment of premiums as an exception to

[continuous eligibility] will end on December 31, 2023.” Id. at 1. CMS maintains,

however, that the five other regulatory reasons for termination remain available, either

because they are expressly included in the 2023 CAA, or because they “do not

undermine the [continuous eligibility] mandate ... and are important to protecting

program integrity.” Id.7 CMS reiterated that States “will need to submit a CHIP [state

plan amendment]” to conform to the FAQs. Id.

    E.      Secretary Becerra’s December 18, 2023, Letter

         On December 18, 2023, Secretary Becerra sent a letter to Governor DeSantis,

Ex.6, discussing trends in Medicaid and CHIP enrollment and “urg[ing]” him “to

ensure that no child in [Florida] who still meets eligibility criteria for Medicaid or

CHIP loses their health coverage due to ‘red tape’ or other avoidable reasons,” id. at

1. The letter listed several recommended “proactive actions to prevent eligible children

from losing Medicaid and CHIP,” and closed with encouragement to “[e]xpand

Medicaid.” Id. at 1–2. The letter also included an ominous warning that the U.S.

Department of Health and Human Services (“HHS”) “takes its oversight and

monitoring role ... extremely seriously and will not hesitate to take action to ensure

states’ compliance with federal Medicaid requirements.” Id. at 1.



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  While 42 C.F.R. § 435.926(d)(2), cited by CMS, permits termination of “eligibility” during the
continuous eligibility period whenever “[t]he child or child’s representative requests a voluntary
termination of eligibility” (emphasis added), the FAQs permit States to “terminate coverage” whenever
“the child or their representative requests disenrollment,” Ex.4, FAQs at 1 (emphases added), conflating
“eligibility” with “enrollment.”
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   F.      Procedural History

        On February 1, 2024, Florida sued Defendants, alleging the FAQs violate 42

U.S.C. §§ 1397cc(e)(3)(C), 42 C.F.R. § 457.342(b), the grandfathering provisions of

Title XXI, and the APA. Florida moves for a preliminary injunction because it faces

imminent, irreparable harm from CMS’s unlawful prohibition on disenrolling CHIP

participants for nonpayment of premiums.

                                     ARGUMENT

        A party seeking a preliminary injunction must show that “(1) it has a substantial

likelihood of success on the merits; (2) irreparable injury will be suffered unless the

injunction issues; (3) the threatened injury to the movant outweighs whatever damage

the proposed injunction may cause the opposing party; and (4) if issued, the injunction

would not be adverse to the public interest.” Siegel v. LePore, 234 F.3d 1163, 1176 (11th

Cir. 2000) (en banc). To establish a “substantial likelihood of success on the merits,”

Florida need only show its claims are “likely or probable” to succeed. Schiavo ex rel.

Schindler v. Schiavo, 403 F.3d 1223, 1232 (11th Cir. 2005).

        “The first two factors are ‘the most critical.’” Swain v. Junior, 958 F.3d 1081,

1088 (11th Cir. 2020) (quoting Nken v. Holder, 556 U.S. 418, 426 (2009)).

   I.      Florida is Substantially Likely to Prevail on the Merits

        The APA requires courts to “hold unlawful and set aside” any final agency

action that is “in excess of statutory ... authority,” 5 U.S.C. § 706(2)(C), “arbitrary,

capricious, ... or otherwise not in accordance with law,” id. § 706(2)(A), or “without

observance of procedure required by law,” id. § 706(2)(D). Florida prevails under each

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of these provisions.

      A.     The FAQs Are Final Agency Action Subject to APA Review

      The FAQs are final agency action subject to review under the APA. See Bennett

v. Spear, 520 U.S. 154, 178 (1997). First, they “mark the ‘consummation’ of [CMS’s]

decisionmaking process” with respect to implementing the CAA 2023 and disenrolling

CHIP participants during periods of continuous eligibility. Id. The FAQs are

unequivocal and represent the culmination of CMS’s “assess[ment]” of “how non-

payment of premiums intersects with [continuous eligibility] under the [2023] CAA.”

Ex.3, SHO Letter at 4 n.14. Second, they impose new “‘obligations’” under CHIP,

Bennett, 520 U.S. at 178, because they prohibit Florida from disenrolling participants

who fail to pay their premiums during the continuous eligibility period and require it

to “absorb the costs of unpaid premiums.” Ex.4, FAQs at 2. Moreover, “‘legal

consequences ... flow’” from the FAQs, Bennett, 520 U.S. at 178, because they purport

to amend CMS regulations, exposing Florida to withholding of federal funds by CMS,

see 42 U.S.C. § 1397ff(d). Secretary Becerra already sent Governor DeSantis a letter

emphasizing HHS’s intent to aggressively enforce compliance in programs serving

low-income children. Ex.6, Becerra Letter at 1.

      B.     The FAQs Are Contrary to Law or Otherwise Exceed CMS’s
             Authority

      “Agencies have only those powers given to them by Congress.” West Virginia v.

EPA, 142 S. Ct. 2587, 2609 (2022). As a “mere creatur[e] of statute,” CMS “must point

to explicit Congressional authority justifying [its] decisions.” Clean Water Action v.


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EPA, 936 F.3d 308, 313 n.10 (5th Cir. 2019). The FAQs, which impose a continuous -

enrollment requirement, violate 42 U.S.C. §1397cc(e)(3), 42 C.F.R. § 457.342(b), and

the grandfathering provisions of Title XXI.

      Title XXI expressly allows for “termination of coverage” for “failure to make a

premium payment within the [30-day] grace period.” 42 U.S.C. §1397cc(e)(3)(C)(ii)(I).

Under the FAQs, however, States cannot “terminat[e] ... coverage” for nonpayment

for the 11 months after initial enrollment. Id. This clearly violates 42 U.S.C.

§1397cc(e)(3)(C). Because Congress expressly allows Florida to disenroll recipients for

nonpayment, CMS cannot turn around and prohibit Florida from doing that very same

thing. See Legal Env’t Assistance Found., Inc. v. EPA, 118 F.3d 1467, 1473 (11th Cir. 1997)

(“A regulation … [that] create[s] a rule out of harmony with the statute, is a mere

nullity.” (quoting Dixon v. United States, 381 U.S. 68, 74 (1965)).

      The FAQs further violate CMS’s own regulations, which expressly permit

States to terminate coverage “during the continuous eligibility period for failure to pay

required premiums.” 42 C.F.R. § 457.342(b). “So long as this regulation is extant it

has the force of law” and “[s]o long as this regulation remains in force [CMS] is bound

by it[.]” Nixon, 418 U.S. at 695–96. CMS has not amended or rescinded 42 C.F.R.

§ 457.342(b) through notice-and-comment, nor can it simply “end” the provision by

fiat in an FAQ. See Part I.D, infra.

      The FAQs also fail to provide for programs, like Florida’s, that are statutorily

grandfathered into CHIP. Title XXI permits Florida to maintain its program as it

existed when CHIP was created in 1997 and modify that program within broad limits.
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42 U.S.C. § 1397cc(a)(3), (d). Florida has permitted termination of coverage—i.e.,

disenrollment—for nonpayment of premiums since 1991, and Florida is entitled to

retain that policy. CMS lacks authority to compel changes to a grandfathered plan that

provided for disenrollment for nonpayment of premiums when CHIP was established.

          The 2023 CAA does nothing to change this analysis. It provides only that a

child “who is determined to be eligible for benefits under” a state CHIP “shall remain

eligible for such benefits” for 12 months, with several specified exceptions. 2023 CAA

§ 5112(a), 136 Stat. at 5940 (emphases added). Under Title XXI, eligibility is not

enrollment. To be “eligible” means to be “qualified to participate or be chosen.” Eligible,

Merriam-Webster, https://www.merriam-webster.com/dictionary/eligible                  (visited

Jan. 29, 2024). To “enroll” means to “insert, register, or enter in a list, catalog, or roll.”

Enroll,     Merriam-Webster,       https://www.merriam-webster.com/dictionary/enroll

(visited Jan. 29, 2024).

          A child is eligible for CHIP upon meeting the relevant state-established criteria,

which typically relate to a child’s age, residency, and household income. See 42 U.S.C.

§ 1397bb(b)(1). Eligible children are then offered the option to enroll in CHIP to obtain

insurance coverage. Enrollment may require that an eligible child’s family take

additional actions, for example, paying an enrollment fee or monthly premiums. See

42 C.F.R. § 457.510. But the 2023 CAA says nothing about enrollment or coverage.

          Congress chose its language carefully. Title XXI consistently distinguishes

between eligibility and enrollment. See, e.g., 42 U.S.C. § 1397bb(b)(4) (discussing



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“barriers to the enrollment” of “eligible” individuals).8 CMS regulations have as well.

See, e.g., 42 C.F.R § 457.60 (distinguishing “[e]ligibilty standards, enrollment caps, and

disenrollment policies”).9

        Had Congress intended to require continuous CHIP enrollment in the 2023

CAA, it would have said so. Mohamad v. Palestinian Auth., 566 U.S. 449, 456 (2012)

(courts “generally seek to respect Congress’ decision to use different terms to describe

different categories of people or things”). In fact, Congress considered that possibility

but didn’t enact it. See Stabilize Medicaid and CHIP Coverage Act of 2021, S. 646,

117th Cong. § 3(b)(1) (2021) (requiring that “an individual who is determined to be

eligible for benefits ... shall remain eligible and enrolled for such benefits” for the

duration of the specified period (emphasis added)); Stabilize Medicaid and CHIP

Coverage Act, H.R. 1738, 117th Cong. § 2(b)(1) (2021) (same).

        Moreover, the 2023 CAA must be interpreted consistent with the other

provisions of Title XXI, including 42 U.S.C. § 1397cc(e)(3)(C). It is “one of the most

basic interpretive canons, that a statute should be construed so that effect is given to



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  See also, e.g., 42 U.S.C. § 1397hh(c)(3) (“enrollees, disenrollees, and individuals eligible for but not
enrolled” in a CHIP plan); id. § 1397mm(a)(1) (“efforts ... to increase the enrollment ... of eligible
children”); id. § 1397mm(h)(1) (“campaigns to link the eligibility and enrollment systems”); id.
§ 1397mm(h)(6) (“enrollment ... strategies for eligible children”).
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  See also, e.g., 42 C.F.R. § 457.10 (discussing information in an “eligibility notice,” including the
potential impact of a “determination of eligibility for, or enrollment in, another insurance affordability
program”); id. § 457.300 (“[r]egulations relat[ed] to eligibility, screening, applications and
enrollment”); id. § 457.350(i)(2)(ii)(A) (“the date on which the individual will be eligible to enroll”);
id. § 457.525(b) (cost-sharing information must be made available to “[e]nrollees, at the time of
enrollment and reenrollment after a redetermination of eligibility”); id. § 457.570(b) (adjustment to a
“child’s cost-sharing category” if “the enrollee may have become eligible ... for a lower level of cost
sharing.”
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all its provisions, so that no part will be inoperative or superfluous, void or

insignificant.” Corley v. United States, 556 U.S. 303, 314 (2009) (cleaned up). The 2023

CAA does not purport to amend or preempt 42 U.S.C. § 1397cc(e)(3)(C), so both must

be read consistent with each other.

      When, after “us[ing] all the ordinary tools of statutory construction” and “the

intent of Congress is clear, ... both [the court] and the agency must give effect to that

clear intent.” In re Gateway Radiology Consultants, 983 F.3d at 1255–56 (cleaned up).

The 2023 CAA unambiguously requires that a child “remain eligible for [CHIP]

benefits,” not that CHIP participants remain enrolled regardless of premium payment

requirements. 2023 CAA § 5112(a), 136 Stat. at 5940 (emphasis added). CMS thus has

no authority to transform the 2023 CAA’s unambiguous continuous eligibility

requirement into a continuous, free-of-charge, enrollment requirement. Miami-Dade

Cnty. v. EPA, 529 F.3d 1049, 1062–63 (11th Cir. 2008) (quoting IRS v. FLRA, 494 U.S.

922, 933 (1990)).

      Even if the 2023 CAA were ambiguous (and it is not), that still would not justify

the FAQs. “[I]f Congress intends to impose a condition on the grant of federal moneys,

it must do so unambiguously.” Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S. 1,

17 (1981). Ambiguity in the 2023 CAA’s continuous eligibility requirement would

render that provision unconstitutional, not justify a redefinition. “Allowing an

executive agency to impose a condition that is not otherwise ascertainable in the law

Congress enacted would be inconsistent with the Constitution’s meticulous separation

of powers. … [T]he needed clarity under the Spending Clause must come directly from
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the statute.” West Virginia v. Dep’t of Treasury, 59 F.4th 1124, 1147 (11th Cir. 2023)

(cleaned up).

      There is also no inherent conflict in requiring continuous eligibility while

permitting disenrollment for failure to pay premiums. CMS has long recognized that

continuous eligibility and disenrollment for nonpayment of premiums during that

period comfortably co-exist. See 42 C.F.R. § 457.342(b). Florida has likewise

implemented both, side by side, for decades. See Part B, supra. A child may remain

eligible to enroll in a state CHIP and obtain benefits, even if the child is not presently

enrolled for whatever reason. And a child disenrolled for nonpayment of premiums

can reenroll without applying again for an eligibility determination. Ex.2, Fla. CHIP

Plan at 97–98.

      C.        The FAQs Are Arbitrary and Capricious

      The FAQs are also arbitrary and capricious. Agency action must be “the

product of reasoned decisionmaking.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm

Mut. Auto Ins. Co., 463 U.S. 29, 52 (1983). The FAQs are unreasonable, lack reasoned

explanation, and fail to consider important aspects of the problem.

      First, the FAQs arbitrarily preserve non-statutory reasons for terminating CHIP

coverage, while prohibiting disenrollment for nonpayment of premiums. CMS asserts

that the “existing regulatory option” for terminating enrollment for premium

nonpayment is no longer available because “[t]here is not an exception to [continuous

eligibility in the 2023 CAA] for non-payment of premiums.” Ex.4, FAQs at 1. But

CMS still permits States to terminate eligibility for three reasons not included in the

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2023 CAA: when the child dies, the child (or the child’s representative) requests

termination, or the agency determines eligibility was erroneously granted. Id.; Ex.3,

SHO Letter at 4–5; see 42 C.F.R. §§ 435.926(d), 457.432(b). It is logically inconsistent

for CMS to argue that non-statutory exceptions to terminating eligibility are foreclosed

while nonetheless retaining other non-statutory exceptions. The 2023 CAA either

forecloses additional exceptions or it does not. And it was further illogical to exclude

disenrollment for nonpayment of premiums when Congress has allowed it.

      Moreover, CMS does not explain why the justifications that it offers for its

preferred exceptions—that they “do not undermine the [continuous eligibility]

mandate ... and are important to protecting program integrity,” Ex.4, FAQs at 1—do

not apply equally to allowing disenrollment for nonpayment of premiums. Such

disenrollment does not interfere with maintaining eligibility for CHIP benefits—in

fact, it does not affect eligibility at all. And allowing disenrollment for nonpayment of

premiums is crucial to maintaining the integrity and long-term sustainability of

programs, like Florida’s, that incorporate cost-sharing as a fundamental component.

The FAQs are thus neither “reasonable [nor] reasonably explained.” FCC v. Prometheus

Radio Project, 592 U.S. 414, 417 (2021).

      Second, CMS provided no explanation for reversing the long-held distinction

between eligibility and enrollment, evident in both Title XXI and CMS’s regulations.

CMS has also long acknowledged that continuous eligibility can co-exist with

disenrollment for nonpayment of premiums. See 42 C.F.R. § 457.342(b). “This lack of

reasoned explication for a regulation that is inconsistent with [CMS’s] longstanding
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earlier position” requires setting aside the FAQs. Encino Motorcars, LLC v. Navarro, 579

U.S. 211, 224 (2016); id. at 221.

      Finally, CMS “entirely failed to consider ... important aspect[s] of the problem.”

State Farm, 463 U.S. at 43. CMS never considered the authority granted to States, like

Florida, whose plans were grandfathered into CHIP. Under Title XXI, these States are

permitted to continue operating their existing plans and have discretion to modify

those plans within broad limits. 42 U.S.C. § 1397cc(a)(3), (d). The FAQs do not

acknowledge or account for this authority, let alone provide an explanation for how

the FAQs possibly comply with that congressional edict.

      CMS also never considered that States have relied on their authority to

terminate coverage for nonpayment of premiums when implementing and expanding

their state CHIPs. Florida has significant reliance interests because it recently enacted

legislation expanding its program to offer subsidized coverage to more children based

on the expectation that the expansion will be substantially funded through premium

payments. See Florida H.R. Staff Final Bill Analysis: H.B. 121, at 6 (June 23, 2023),

https://www.flsenate.gov/Session/Bill/2023/121/Analyses/h0121z1.HRS.PDF.

“When an agency changes course,” it is “arbitrary and capricious to ignore [reliance

interests].” Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1913

(2020) (cleaned up); Encino Motorcars, 579 U.S. at 221–22 (“[I]n explaining its changed

position, an agency must be cognizant that longstanding policies may have

‘engendered serious reliance interests that must be taken into account.’”).



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      D.     The FAQs Failed to Follow Required Procedures

      With limited exceptions, “under the APA ... an agency must afford interested

persons notice of proposed rulemaking and an opportunity to comment.” Florida v.

HHS, 19 F.4th 1271, 1286 (11th Cir. 2021); see 5 U.S.C. § 553(b), (c). The requirement

applies to so-called “legislative” rules, which include agency actions that (1)

“effectively amen[d] a prior legislative rule,” Am. Mining Cong. v. Mine Safety & Health

Admin., 995 F.2d 1106, 1112 (D.C. Cir. 1993); see Shalala v. Guernsey Mem’l Hosp., 514

U.S. 87, 100 (1995); (2) “‘create new law, rights or duties,’” Warshauer v. Solis, 577

F.3d 1330, 1337 (11th Cir. 2009); or (3) “‘have effects completely independent of the

statute,’” id. “The distinction between an interpretive rule,” which is not subject to

notice-and-comment, and a legislative rule, which is, generally “turns on how tightly

the agency’s interpretation is drawn linguistically from the actual language of the

statute.” Id. (cleaned up); see 5 U.S.C. § 553(b)(A).

      The FAQs constitute a legislative rule subject to the APA’s notice-and-comment

requirements. Most notably, the FAQs purport to amend 42 C.F.R. § 457.342(b),

which is itself a legislative rule promulgated after notice and comment. Ex.4, FAQs at

1 (announcing “the existing regulatory option at 42 CFR § 457.342(b) ... to consider

non-payment of premiums as an exception to [continuous eligibility] will end on

December 31, 2023”); see 81 Fed. Reg. 86,382 (Nov. 30, 2016) (finalizing 42 C.F.R.

§ 457.342(b) after notice and comment). It is well established that notice and comment

is required when an agency “adopt[s] a new position inconsistent with ... existing

regulations.” Shalala, 514 U.S. at 100; Am. Mining Cong., 995 F.2d at 1112.
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         Moreover, the FAQs “create new [continuous enrollment] duties” for States,

with “effects completely independent of” the 2023 CAA. Warshauer, 577 F.3d at 1337

(cleaned up). The FAQs stray far beyond “remind[ing] affected parties of existing

duties required by the plain language of the statute,” id. at 1338 (cleaned up), and

instead attempt to create a new “‘binding norm’” for States operating CHIPs, Jean v.

Nelson, 711 F.2d 1455, 1481 (11th Cir. 1983).

         CMS’s characterization of the FAQs as “Frequently Asked Questions” is not

relevant. Warshauer, 577 F.3d at 1337. Courts frequently conclude that CMS’s so-

called “guidance,” including FAQs, are legislative rules subject to notice-and-

comment rulemaking and judicial review. See, e.g., Baptist Mem’l Hosp.-Golden Triangle,

Inc. v. Azar, No. 3:17-cv-491, 2018 WL 3118703, at *1 (S.D. Miss. June 25, 2018)

(FAQs) (collecting cases); Alabama v. CMS, 780 F. Supp. 2d 1219, 1228–32 (M.D. Ala.

2011) (SHO Letter).

         Accordingly, because CMS issued the FAQs without notice or opportunity for

comment, they must be set aside. 5 U.S.C. § 706(2)(D).

   II.      Florida Will Suffer Irreparable Injury

         “An injury is ‘irreparable’ only if it cannot be undone through monetary

remedies,” and the harm must be “‘actual and imminent’” to merit a preliminary

injunction. Ne. Fla. Chapter of Ass’n of Gen. Contractors v. City of Jacksonville, 896 F.2d

1283, 1285 (11th Cir. 1990). Unless enforcement of the FAQs is enjoined, Florida will

remain caught between CMS and Florida law, facing actual and imminent injury to

its sovereign interests and unrecoverable monetary loss.
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        Florida law requires disenrolling CHIP participants for nonpayment of

premiums. Fla. Stat. § 624.91(5)(b)(9). Disenrollments from Florida CHIP occur

monthly and become effective on the first day of the month after the unpaid premium

was due. Ex.1, Noll Declaration ¶ 11.

        It is well established that “a state’s ‘inability to enforce [the state’s] duly enacted

plans clearly inflicts irreparable harm on the State.’” Florida v. Nelson, 576 F. Supp. 3d

1017, 1039 (M.D. Fla. 2021) (quoting Abbott v. Perez, 138 S. Ct. 2305, 2324 n.17

(2018)); see Texas v. Becerra, 577 F. Supp. 3d 527, 557 (N.D. Tex. 2021) (“irreparable

harm exists when a federal regulation prevents a state from enforcing its duly enacted

laws”).10 Florida is faced with the imminent and recurring dilemma of violating the

laws enacted by its legislature or violating the FAQs. This forced choice itself

“demonstrates a likely irreparable harm to sovereign interests absent” an injunction.

Nelson, 576 F. Supp. 3d at 1040; see also Thomas v. Union Carbide Agric. Prods. Co., 473

U.S. 568, 582 (1985) (recognizing “the injury of being forced to choose between

relinquishing any right to compensation … or engaging in an unconstitutional

adjudication”).

        That the state legislature could repeal its disenrollment requirement does not

make the harm less actual or imminent. Florida has a sovereign “interest in not being

pressured to change its law.” Texas v. United States, 787 F.3d 733, 752 n.38 (5th Cir.


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   See also Maryland v. King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers) (“‘[A]ny time a
state is enjoined by a court from effectuating statutes enacted by representatives of its people, it suffers
a form of irreparable injury’” (quoting New Motor Vehicle Bd. v. Orrin W. Fox Co., 434 U.S. 1345, 1351
(1977) (Rehnquist, J., in chambers)).
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2015). The state legislature established Florida CHIP as a personal-responsibility

program, not an entitlement, and Florida has a sovereign interest in carrying out that

decision. Id. at 749 (“States have a sovereign interest in the power to create and enforce

a legal code” (cleaned up)).

       No matter which course it takes, Florida faces further imminent, irreparable

harm. If Florida suspends disenrollments to comply with the FAQs, it will violate its

own laws and incur unrecoverable costs. Florida must “absorb the costs of unpaid

premiums,” Ex.4, FAQs at 2, and expend state funds to provide insurance benefits

contrary to Florida law. Florida anticipates that compliance with the FAQs will cost

approximately $1 million each month to provide benefits to CHIP participants who

should have been disenrolled. Ex.1, Noll Declaration ¶ 10. The lost funds will further

accelerate because the inability to disenroll participants for nonpayment of premiums

will predictably induce even more nonpayment, threatening the vast majority of the

tens of millions of dollars in premiums that Florida CHIP collects each year and

requiring even greater expenditures for insurance coverage not authorized under

Florida law.11 Recovery of these funds from CMS is barred by sovereign immunity,

Odebrecht Constr., Inc. v. Fla. Dep’t Transp., 715 F.3d 1268, 1289 (11th Cir. 2013), and

federal regulations limit Florida’s ability to collect past-due premiums from

participants, 42 C.F.R. § 457.570(c)(3). This “unrecoverable monetary loss is an



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  Because Florida cannot disenroll for nonpayment, participants can pay the initial month’s premium
and obtain coverage for an entire year, which would reduce the State’s annual premium collection by
more than 90%.
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irreparable harm.” Georgia v. President of the United States, 46 F.4th 1283, 1302 (11th

Cir. 2022).

      Alternatively, if Florida continues disenrollments in violation of the FAQs, it

faces withholding of the federal funds it receives for CHIP. See 42 U.S.C. § 1397ff(d);

42 C.F.R. § 457.204(a). CMS has made clear its intention to police compliance. The

FAQs direct States like Florida “that have already adopted [continuous eligibility] for

children and treat nonpayment of premiums” as a reason for terminating coverage “to

submit a CHIP [state plan amendment]” by the end of the state fiscal year. Ex.4, FAQs

at 1; Ex.3, SHO Letter at 14. CMS informed Florida that it would need to submit a

plan amendment to comply with the FAQs. Compl. ¶ 79. And Secretary Becerra

already sent Governor DeSantis a letter emphasizing HHS’s intent to aggressively

enforce compliance in programs serving low-income children. Ex.6, Becerra Letter at

1. Unless and until CMS avers otherwise, the only reasonable presumption is

imminent enforcement. See, e.g., Arizona v. Yellen, 34 F.4th 841, 850 (9th Cir. 2022)

(“That the federal government has not disavowed enforcement of [a provision] is

evidence of an intent to enforce it.”).

      Moreover, the FAQs stand in the way of Florida’s legislatively mandated CHIP

expansion, which relies on premium payments to offset program costs. If Florida loses

those premium payments, the cost to Florida of expansion would more than double,

threatening the State’s ability to fulfill its constitutional obligation to maintain a

balanced budget. See Ex.1, Noll Declaration ¶ 6; Fla. Const. art. III, § 19(a); id. art.

VII, § 1(d). Requiring Florida to delay—or abandon—its CHIP expansion is, itself,
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irreparable harm, blocking the State from implementing a duly-enacted law and

preventing thousands of Florida children from accessing health insurance coverage.

   III.      Balance of Harms and Public Interest Favor Plaintiffs

       The balance of harms and public interest factors merge when the government is

the defendant, Gonzales v. Governor of Ga., 978 F.3d 1266, 1271 (11th Cir. 2020); cf.

Nken, 556 U.S. at 435, and they strongly favor Florida. Absent an injunction, Florida

will suffer harm to its sovereign interests and unrecoverable monetary loss. The public,

too, has an interest in ensuring the proper administration and long-term sustainability

of a program enacted by the people’s representatives in Florida, including avoiding

incentives that undermine the program, limit its reach, or jeopardize its expansion to

more children in need. See, e.g., Boyd v. Steckel, 753 F. Supp. 2d 1163, 1177 n.20 (M.D.

Ala. 2010) (action that “could undermine” state benefit program is not in the public

interest).

       By contrast, CMS has no legitimate interest in unlawful agency action, because

“our system does not permit agencies to act unlawfully even in pursuit of desirable

ends.” Ala. Ass’n, 141 S. Ct. at 2490; see also BST, 17 F.4th at 618 (“Any interest [the

government] may claim in enforcing an unlawful [rule] is illegitimate.”).

                                    CONCLUSION

       The Court should preliminarily enjoin CMS from enforcing the FAQs and

prohibiting Florida from disenrolling CHIP participants for nonpayment of premiums.


Dated: February 1, 2024
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    Respectfully submitted,

    ASHLEY MOODY                           /s/ R. Trent McCotter
    ATTORNEY GENERAL                       R. Trent McCotter (pro hac vice forthcoming)*
                                           Jared M. Kelson (pro hac vice forthcoming)
    Henry C. Whitaker (FBN 1031175)        Laura B. Ruppalt (pro hac vice forthcoming)
    SOLICITOR GENERAL                      BOYDEN GRAY PLLC
                                           801 17th St NW, Suite 350
    /s/ Natalie Christmas                  Washington, DC 20006
    Natalie Christmas (FBN 1019180)*       (202) 706-5488
    COUNSELOR TO THE ATTORNEY              tmccotter@boydengray.com
     GENERAL
                                           ANDREW T. SHEERAN
    Office of the Attorney General         GENERAL COUNSEL
    The Capitol, Pl-01                     Florida Bar No. 0030599
    Tallahassee, Florida 32399-1050        Agency for Health Care Administration
    (850) 414-3300                         2727 Mahan Drive, Mail Stop #3
    (850) 410-2672 (fax)                   Tallahassee, Florida 32308
    Natalie.Christmas@myfloridalegal.com   (850) 412-3670
                                           Andrew.Sheeran@ahca.myflorida.com
    * Lead Counsel
    Counsel for the State of Florida       * Lead Counsel
                                           Counsel for Agency for Health Care
                                             Administration


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                          CERTIFICATE OF SERVICE
       I hereby certify that on February 1, 2024, a true and correct copy of the
foregoing was filed with the Court’s CM/ECF system, which will provide service to
all parties who have registered with CM/ECF and filed an appearance in this action,
and sent via certified mail to:
      Xavier Becerra
      Department of Health and Human Services
      200 Independence Avenue, SW
      Washington, DC 20201

      Merrick B. Garland
      U.S. Department of Justice
      950 Pennsylvania Ave NW
      Washington, DC 20530-0001

      Civil Process Clerk
      U.S. Attorney’s Office
      400 North Tampa Street
      Suite 3200
      Tampa, FL 33602

      Chiquita Brooks-LaSure
      Centers for Medicare and Medicaid Services
      7500 Security Boulevard
      Baltimore, MD 21244-1850


Dated: February 1, 2024                 /s/ R. Trent McCotter
                                        R. Trent McCotter




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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA

 STATE OF FLORIDA, et al.,
                    Plaintiffs,
             v.
                                             No. 8:24-cv-317-WFJ-AAS
 CENTERS FOR MEDICARE &
 MEDICAID SERVICES, et al.,
                    Defendants.

         DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION
                FOR A PRELIMINARY INJUNCTION
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                                 INTRODUCTION

      The Children’s Health Insurance Program (“CHIP”) is a cooperative federal-

state program enacted to expand health insurance coverage to low-income children

whose families’ incomes are too low to buy private insurance but too high to qualify

for Medicaid. To receive federal funding under CHIP, a state must have a state plan

that meets federal requirements. When a state plan is in “substantial noncompliance”

with those requirements, the Centers for Medicare & Medicaid Services (“CMS”) may

withhold federal funding, but only after an extensive administrative process. And any

judicial review of such a finding must take place in the Courts of Appeals.

      Previously, federal law provided that states “may” include in their Medicaid

and CHIP plans a period of “continuous eligibility,” during which a child’s coverage

generally may not be terminated, subject to certain exceptions. While Medicaid has

never permitted states to terminate coverage for nonpayment of premiums during a

period of continuous eligibility, in 2016, CMS created a regulatory exemption to allow

for such terminations in the CHIP program. In the Consolidated Appropriations Act,

2023 (“CAA”), Pub. L. No. 117-328, § 5112, 136 Stat. 4459, 5940 (2022), Congress

changed this scheme in two fundamental ways. First, it provided that states “shall”

provide for continuous eligibility in both their Medicaid and CHIP plans, something

that had previously been optional. Second, it provided that the continuous eligibility

requirement “shall” apply to CHIP “in the same manner” as it does to Medicaid,

meaning that the prior, CHIP-specific regulatory exception could not survive. These

changes were intended to reduce “churn”—cycles of termination and reenrollment
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that increase administrative costs and cause coverage lapses for vulnerable children.

      The CMS guidance at issue here—a set of FAQs—simply sets out this

understanding of the statute, and it is both correct and procedurally sound. But the

Court need not reach the merits of those issues, as Florida’s preliminary injunction

motion fails for more fundamental reasons. To start, the State’s claims are not ripe.

Florida in essence asks the Court to enjoin CMS from withholding CHIP funding or

taking other corrective action based on the interpretation set out in the FAQs. But the

CHIP statute and its regulations set forth a lengthy administrative process that would

have to take place before CMS could do any such thing—a process that has not even

begun. And even if that process had run its course, the Court would lack jurisdiction

for an additional reason, because judicial review of issues concerning state plans that

do not comply with federal requirements is confined to the Courts of Appeals.

      Even if there were jurisdiction, Florida fails to show that the Court should

exercise its emergency equitable powers to upend the ordinary administrative process.

The State identifies no irreparable harm that would be forestalled by an injunction at

this time. Its claimed injury is fundamentally monetary—a hypothetical withholding

of federal funding—and hardly imminent, given the absence of any administrative

proceedings. Florida’s delay in seeking emergency relief—more than three months

have passed since the FAQs were issued—also belies the notion that judicial

intervention is urgently needed. And the equities and public interest tilt decidedly

against an injunction, which would not only circumvent the careful administrative


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 scheme that Congress prescribed but will leave low-income children without medical

 coverage. Florida’s motion for a preliminary injunction should be denied.

                                    BACKGROUND

 I.    The Medicaid and CHIP Programs

       Medicaid, enacted in 1965 as Title XIX of the Social Security Act, is a

 cooperative federal-state program in which the federal government makes payments

 to states to assist them in providing medical assistance to certain low-income

 individuals. 42 U.S.C. §§ 1396 et seq. To participate in the Medicaid program, a State

 must submit a plan for medical assistance for approval by the Secretary of Health and

 Human Services. Id. § 1396a(b). A State plan defines the categories of individuals that

 can receive benefits and the specific kinds of services the State covers as medical

 assistance for each category. Id. § 1396a(a)(10), (a)(17).

       In 1997, Congress created CHIP under Title XXI of the Social Security Act, 42

 U.S.C. §§ 1397aa et seq. CHIP provides federal funds to enable states to expand health

 insurance coverage to uninsured children whose families’ incomes are too high to

 qualify for Medicaid. See id. § 1397jj. Like Medicaid, a state must have an approved

 state plan to receive federal funding under CHIP. Id. § 1397aa(b); 42 C.F.R. § 457.50.

 Each plan must meet certain federal requirements. See 42 U.S.C. § 1397bb; see also 42

 C.F.R. §§ 457.80-457.140.




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 II.    Continuous Eligibility in State Medicaid and CHIP Plans

        A.     Prior Law

        Under prior law, the Medicaid statute gave states the option to include in their

 state plans a “continuous eligibility” period of up to 12 months for children under 19.

 42 U.S.C. § 1396a(e)(12) (2022). During this period, a child “determined to be eligible

 for benefits under” a state plan generally had to remain “eligible for those benefits.”

 Id.

        In 2016, CMS promulgated a regulation implementing this section of the

 Medicaid statute. See 42 C.F.R. § 435.926. The regulation specified that “[a] child’s

 [Medicaid] eligibility may not be terminated during a continuous eligibility period,

 regardless of any changes in circumstances, unless” one of five exceptions was met:

 “(1) The child attains the maximum age specified in accordance with paragraph (b)(1)

 of this section; (2) The child or child’s representative requests a voluntary termination

 of eligibility; (3) The child ceases to be a resident of the State; (4) The agency

 determines that eligibility was erroneously granted at the most recent determination,

 redetermination or renewal of eligibility because of agency error or fraud, abuse, or

 perjury attributed to the child or the child’s representative; or (5) The child dies.” Id.

 § 435.926(d). Notably, this regulation did not permit termination of Medicaid

 coverage for nonpayment of premiums during periods of continuous eligibility,

 consistent with preexisting Medicaid regulations. See id. § 435.930(b) (providing that

 states “must . . . [c]ontinue to furnish Medicaid regularly to all eligible individuals until

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 they are found to be ineligible”).

       At the same time, CMS also issued a regulation permitting states to include a

 similar period of continuous eligibility in their CHIP plans. Id. § 457.342. This

 regulation stated that, “[i]n addition to the reasons provided at § 435.926(d) of this

 chapter”—that is, the five exceptions set forth above permitting termination of

 Medicaid eligibility—an additional exception applied in the CHIP context, where “a

 child may be terminated during the continuous eligibility period for failure to pay

 required premiums or enrollment fees required under the State plan,” id. § 457.342(b).

 This exception did not apply to Medicaid—it was unique to CHIP.

       B.     The Consolidated Appropriations Act, 2023

       On December 29, 2022, Congress enacted the CAA. Pub. L. No. 117-328, 136

 Stat. 4459 (2022). The CAA made two fundamental changes relevant here. First, it

 amended Section 1902(e)(12) of the Medicaid statute to provide that State plans

 “shall” include a 12-month continuous eligibility period, which had previously been

 optional. See id. § 5112(a). Second, it amended the CHIP statute to incorporate this

 Medicaid continuous eligibility requirement by reference. Id. § 5112(b). As a result,

 the CHIP statute now reads that Section 1902(e)(12) of the Medicaid statute, as

 amended by Section 5112(a) of the CAA, “shall apply to States under this subchapter

 [i.e., CHIP] in the same manner as [it] appl[ies] to a State under subchapter XIX [i.e.,

 Medicaid].” 42 U.S.C. § 1397gg(e)(1)(K). The sole exception to this “in the same

 manner” directive is that CHIP coverage may end if a child “becomes eligible for full


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 benefits” and is “transferred to the [state’s] Medicaid program . . . for the remaining

 duration of the 12-month continuous eligibility period.” CAA § 5112(b).

         C.    The Challenged Guidance

         On September 29, 2023, CMS issued a “State Health Official” Letter addressing

 the CAA’s changes to the continuing eligibility requirement. See Pls.’ Mot. for Prelim.

 Inj. (“Pls.’ Mot.”) Ex. 3, ECF No. 2-3 (“SHO Letter”). The SHO Letter explained that

 the CAA “amended section 1902(e)(12)” of the Medicaid statute to “require one year

 of [continuous eligibility] under the state plan . . . for children under age 19,” and

 “added a new paragraph (K) to section 2107(e)(1)” of the CHIP statute that, “through

 cross reference to section 1902(e)(12)” of the Medicaid statute, applied the same

 continuing eligibility requirement—with the same exceptions—to CHIP. SHO Letter

 at 4.

         The SHO Letter also discussed the importance of the continuing eligibility

 period for children in Medicaid and CHIP, which has been shown to “improv[e] short-

 and long-term health status” of children as well as “reduce financial barriers to care

 for low-income families, promote health equity, and provide states with better tools to

 hold health plans accountable for quality care and improved health outcomes.” Id. at

 2. The SHO Letter noted that CMS was “still assessing how non-payment of premiums

 intersects with [continuous eligibility]” in light of the CAA. Id. at 4 n.14.

         On October 27, 2023, CMS issued FAQs that addressed whether states may

 “terminate CHIP coverage during a continuous eligibility (CE) period due to non-


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 payment of premiums.” See Pls.’ Mot. Ex. 4 at 1, ECF No. 2-4 (“FAQs”). The FAQs

 set forth CMS’s understanding of the effect of the CAA’s amendments to the Medicaid

 and CHIP statutes. In short, because the CAA imposed the same continuing eligibility

 requirement in both “[s]ections 1902(e)(12) and 2107(e)(1)(K) of the Social Security

 Act”—i.e., in Medicaid and CHIP—and did “not” incorporate the previous CHIP-

 specific “exception to [continuous eligibility] for non-payment of premiums,” the

 “existing regulatory option at 42 C.F.R. § 457.342(b) for states operating a separate

 CHIP to consider non-payment of premiums as an exception” could not survive. Id.

 III.   This Case

        More than three months after the FAQs were issued, Florida (and its state CHIP

 agency) filed a complaint and preliminary injunction motion. See Compl., ECF No. 1;

 Pls.’ Mot., ECF No. 2. Florida contends that its existing CHIP state plan is

 inconsistent with the interpretation reflected in the FAQs, and that changes to state

 law will require it to submit a state plan amendment that is also inconsistent with that

 interpretation. See, e.g., id. at 10, 22-24. In its preliminary injunction motion, Florida

 seeks to “enjoin CMS from enforcing the FAQs” on the grounds that they contradict

 the CHIP statute and are procedurally infirm under the Administrative Procedure Act.

 Id. at 25.

                                  LEGAL STANDARD

        “A preliminary injunction is an extraordinary remedy never awarded as of

 right.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008) (citation omitted). To

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 justify this “drastic remedy,” the movants must “clearly establish[]” (1) that they have

 a substantial likelihood of success on the merits; (2) that they will suffer irreparable

 harm without an injunction; (3) that the balance of equities tips in their favor; and

 (4) that preliminary relief serves the public interest. Davidoff & CIE, S.A. v. PLD Int’l

 Corp., 263 F.3d 1297, 1300 (11th Cir. 2001) (citation omitted). Florida bears the burden

 of persuasion on each element. United States v. Jefferson Cnty., 720 F.2d 1511, 1519 (11th

 Cir. 1983). Florida has not met any of the factors and its motion should be denied.

                                      ARGUMENT

 I.    This Court lacks jurisdiction to hear this case.

       A.     Florida’s claim is not ripe for judicial review.

       Florida’s claim fails at the threshold because it is unripe. CMS has neither

 disapproved a proposed state plan amendment—which Florida has not even submitted

 yet—nor taken any action to find Florida’s existing plan to be noncompliant, whether

 for the reasons addressed in the FAQs or otherwise. Two courts have already held that

 similar challenges to a CHIP SHO Letter were not ripe. New Jersey v. U.S. Dep’t of Health

 & Hum. Servs., 2008 WL 4936933 (D.N.J. Nov. 17, 2008); New York v. U.S. Dep’t of

 Health & Hum. Servs., 2008 WL 5211000 (S.D.N.Y. Dec. 15, 2008); see also Tennessee v.

 U.S. Dep’t of State, 329 F. Supp. 3d 597, 617 (W.D. Tenn. 2018), aff’d, 931 F.3d 499

 (6th Cir. 2019) (holding unripe challenge to federal requirement for Medicaid, which

 has nearly identical administrative process). Like those courts found, in the absence of

 a final agency determination adversely affecting Florida in a concrete way, judicial


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 review is premature.

        “The ripeness doctrine is drawn both from Article III limitations on judicial

 power and from prudential reasons for refusing to exercise jurisdiction.” Nat’l Park

 Hosp. Ass’n v. Dep’t of Interior, 538 U.S. 803, 808 (2003) (citation omitted). The doctrine

 “prevent[s] the courts, through avoidance of premature adjudication, from entangling

 themselves in abstract disagreements over administrative policies” and “protect[s] the

 agencies from judicial interference until an administrative decision has been

 formalized and its effects felt in a concrete way by the challenging parties.” Id. at

 807-08 (citation omitted); see also Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 891 (1990);

 Ipharmacy v. Mukasey, 268 F. App’x 876, 878 (11th Cir. 2008).

        To determine whether an agency action is ripe, courts evaluate two factors:

 (1) the fitness of the issues for judicial decision; and (2) the hardship to the parties of

 withholding court consideration. Abbott Lab’ys v. Gardner, 387 U.S. 136, 149 (1967); see

 also Elend v. Basham, 471 F.3d 1199, 1211 (11th Cir. 2006). This requires an assessment

 of (1) “whether judicial intervention would inappropriately interfere with further

 administrative action;” (2) “whether the courts would benefit from further factual

 development of the issues presented;” and (3) “whether delayed review would cause

 hardship to the plaintiffs.” Ohio Forestry Ass’n v. Sierra Club, 523 U.S. 726, 733 (1998);

 see also Pittman v. Cole, 267 F.3d 1269, 1278 (11th Cir. 2001).

        Here, judicial intervention would interfere with the carefully prescribed

 administrative review process that must occur before CMS could take any enforcement

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 action in the first place. See Nat’l Advert. Co. v. City of Miami, 402 F.3d 1335, 1339-40

 (11th Cir. 2005) (concluding case was not ripe because plaintiff never properly pursued

 its claim through the administrative process made available by city ordinance). Under

 the CHIP statute and regulations, when a state amends its state plan, that plan is

 considered approved unless CMS notifies the state within 90 days that it is disapproved

 or that additional information is needed. 42 U.S.C. § 1397ff(c); 42 C.F.R. § 457.160(b).

 Any state “dissatisfied” with CMS’s disapproval of a state plan amendment may

 request reconsideration and is entitled to a hearing. 42 U.S.C. § 1316(a)(2); 42 C.F.R.

 § 457.203(a).

       The CHIP statute and regulations also provide for a separate administrative

 process that must occur before an existing state plan is deemed to be in noncompliance

 with federal requirements. See 42 C.F.R. §§ 457.204, 457.60(a). Before CMS could

 impose any financial sanctions, the state is entitled to notice, a reasonable opportunity

 for correction, and an opportunity for a hearing. 42 U.S.C. § 1397ff(c), (d); 42 C.F.R.

 §§ 457.203, 457.204. CMS generally does not hold a hearing until it has made a

 reasonable effort to resolve the issue through conferences and discussions. Id.

 § 457.204(a)(2). If a compliance hearing nonetheless becomes necessary, the state is

 afforded the full panoply of trial-type procedural protections. Id. § 457.206. After the

 hearing, CMS may withhold payments, in whole or in part, only if the Administrator

 finds that the state plan is in “substantial noncompliance” with federal requirements.

 Id. § 457.204(a).


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         Any state dissatisfied with “the Administrator’s final determination on

 approvability of plan material (§ 457.203) or compliance with Federal requirements

 (§ 457.204) has a right to judicial review.” Id. § 457.208(a); see also 42 U.S.C.

 § 1397gg(e)(2)(B); id. § 1316(a), (b). Specifically, the CHIP statute provides that the

 administrative and judicial review provisions for Medicaid, i.e., Section 1116 of the

 Social Security Act, also apply to CHIP. Id. § 1397gg(e)(2)(B); see also id. § 1316(a). To

 obtain judicial review, “[t]he State must file a petition for review with the U.S. Court

 of Appeals for the circuit in which the State is located.” 42 C.F.R. § 457.208(b)(1); see

 also 42 U.S.C. § 1316(a).

         None of these required steps has happened yet. Florida has not submitted any

 state plan amendment to CMS, nor has the Administrator denied any such plan

 amendment. 1 The Administrator has not taken any action to initiate proceedings that

 could result in a finding that Florida’s existing plan is in “substantial noncompliance.”

 Any determination that Florida’s plan is noncompliant could “be promptly challenged

 through an administrative procedure, which in turn is reviewable by a court.” New

 Jersey, 2008 WL 4936933, at *10. This review provides “an adequate forum for testing”

 the policy “in a concrete situation.” Id. (citation omitted); accord New York, 2008 WL

 5211000, at *12.


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    Florida’s potential request for a “section 1115 waiver” does not change the analysis. Florida asserts
 that it was told that it must apply for a waiver under Section 1115 of the Social Security Act, 42 U.S.C.
 § 1315(a), to implement the expanded CHIP program contemplated by Florida H.B. 121, Compl. ¶ 79,
 and suggests that it intends to do so, id. ¶ 81. But Florida acknowledges that it must still submit a state
 plan amendment. See id. ¶ 79. Florida has submitted neither a waiver application nor a state plan
 amendment.
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        Further, the issues presented in this case would benefit from further factual

 development. For example, Florida makes the speculative claim that it “anticipates that

 compliance with the [CMS] FAQs will cost approximately $1 million each month,”

 Pls.’ Mot. at 23 (emphasis added), but provides no specifics about how it arrived at

 this figure. And while Florida may claim that it challenges only the legality of the

 FAQs, that is not sufficient to establish the claim is ripe. See New Jersey, 2008 WL

 4936933, at *11 (claim was unripe despite the fact that the “rulemaking claim [was]

 predominantly legal”).

        Delayed review would pose no significant hardship to Florida. “[I]n weighing

 the hardship to the parties of withholding court consideration,” the fact that “there are

 available administrative remedies which are not even referred to, much less shown to

 have been exhausted,” is “crucial.” Seafarers Int’l Union of N. Am., AFL-CIO v. U.S. Coast

 Guard, 736 F.2d 19, 28 (2d Cir. 1984). Florida has “not established that [it] face[s]

 significant hardship” because “no administrative proceedings against the State or

 withholding of funds for noncompliance have begun.” Tennessee, 329 F. Supp. 3d at

 618; see also New York, 2008 WL 5211000, at *14 (“If Plaintiffs choose not to abide by

 the SHO Letter guidance, it is not clear that they will face any penalties, other than the

 possible rejection of their []CHIP plan amendment, which can be challenged in federal

 circuit court.”)

        Moreover, unlike the formal regulations at issue in Abbott Laboratories, which

 were “effective immediately upon publication,” 387 U.S. at 152, the FAQs are not


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 self-executing. They do not on their own “grant, withhold, or modify any formal legal

 license, power, or authority” or “subject anyone to any civil or criminal liability.” Nat’l

 Park Hospitality Ass’n, 538 U.S. at 809 (quoting Ohio Forestry Ass’n, 523 U.S. at 733).

 Like the CHIP SHO Letter at issue in New York and New Jersey, the FAQs do “not

 create obligations or legal consequences” for Florida—indeed, “[a] state does not face

 any legal obligation to change its plan until the CMS Administrator initiates non-

 compliance proceedings.” New York, 2008 WL 5211000, at *13. The FAQs merely

 constitute an interpretive rule intended to provide states with guidance on what CMS

 understands the effect of the CAA’s amendments to be. See Jean v. Nelson, 711 F.2d

 1455, 1478 (11th Cir. 1983). Because CMS has taken no action against Florida—

 something it could do only by proceeding through the administrative process and

 making a final determination, a process that has not even begun—Florida’s claims are

 not ripe. See Flowers Indus. v. FTC, 849 F.2d 551, 552-53 (11th Cir. 1988) (holding

 challenge to FTC letter was not ripe because the FTC could only effectuate letter by

 bringing an enforcement action seeking civil penalties).

       B.      This Court lacks jurisdiction under the CHIP statute.

       This Court also lacks jurisdiction because the CHIP statute assigns judicial

 review of issues concerning plan compliance to the Courts of Appeals. See 42 U.S.C.

 §§ 1397gg(e)(2)(B), 1316; see also 42 C.F.R. § 457.208(a), (b). Where it is “fairly

 discernible” that an elaborate statutory review scheme for administrative enforcement

 proceedings was intended to create an exclusive remedy, parallel jurisdiction outside


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 that scheme is precluded. Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 207, 216 (1994)

 (citation omitted). In such circumstances, claims may only proceed outside that

 scheme if they are not “of the type Congress intended to be reviewed within th[e]

 statutory structure.” Id. at 212. Courts “presum[e] that Congress does not intend to

 limit . . . jurisdiction” if (1) “a finding of preclusion could foreclose all meaningful

 judicial review,” (2) the suit is “wholly collateral to a statute’s review provisions,” and

 (3) the claims lie “outside the agency’s expertise.” Elgin v. Dep’t of Treasury, 567 U.S.

 1, 15 (2012) (citation omitted).

        Florida “cannot avoid the statutorily established administrative-review process

 by rushing to the federal courthouse for an injunction preventing the very action that

 would set the administrative-review process in motion.” Doe v. Fed. Aviation Admin.,

 432 F.3d 1259, 1263 (11th Cir. 2005); see also New York, 2008 WL 5211000, at *15

 (holding that review of challenges to federal CHIP plan requirements is limited to the

 court of appeals); Tennessee, 329 F. Supp. 3d at 620 (same for Medicaid, which involves

 same statutory review provision). Florida’s motion seeks to enjoin Defendants from

 “enforcing the FAQs and prohibiting Florida from disenrolling CHIP participants for

 nonpayment of premiums.” Pls.’ Mot. at 25; see also Compl., Prayer for Relief (seeking

 injunction against “enforcing the FAQs” by, e.g., “disapproving a state CHIP plan

 amendment, denying a CHIP waiver, or initiating a non-compliance finding or

 corrective action plan based on the FAQs”). But as previously described, CMS could

 not take any such action before completing a lengthy administrative process that has


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 not even begun. And Congress has created an exclusive remedy for states to challenge

 any final determination reached after such an administrative process, culminating with

 review in the Court of Appeals. See supra Section I.A. As in Thunder Basin, 510 U.S. at

 206, allowing Florida to challenge a guidance document prior to any concrete agency

 action against the state would disrupt this comprehensive statutory review scheme and

 hamper CMS’s effective administration of CHIP. See Great Plains Coop v. Commodity

 Futures Trading Comm’n, 205 F.3d 353, 355 (8th Cir. 2000).

       Each Thunder Basin factor weighs in favor of the conclusion that Congress

 meant to limit jurisdiction over the claims at issue here. First, precluding judicial

 review now would not foreclose meaningful review later. To the contrary, the

 comprehensive administrative and judicial review scheme in the CHIP statute is

 analogous to that of the Mine Act in Thunder Basin. Compare 42 U.S.C. § 1316 with

 Thunder Basin, 510 U.S. at 208 (citing 30 U.S.C. § 816(a)(1)). Because “the validity of

 agency policymaking can be reviewed under § 1316,” New York, 2008 WL 5211000, at

 *16, Florida may raise the same arguments it does here when it appeals from any

 denial of a state plan amendment or other determination of noncompliance.

       Florida’s claims are also not “wholly collateral” to the administrative review

 scheme but go to the heart of the statute and regulations that CMS enforces. See Doe,

 432 F.3d at 1263. Florida’s claimed harm centers on whether its current or proposed

 amended state plans are consistent with the interpretation set forth in the FAQs. See,

 e.g., Pls.’ Mot. at 24 (“[I]f Florida continues disenrollments in violation of the FAQs,

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 it faces withholding of the federal funds it receives for CHIP.”). This is precisely the

 type of plan-conformity dispute that Congress specified should be reviewed only by

 the Courts of Appeals. See New York, 2008 WL 5211000, at *16; see also New Jersey v.

 HHS, 670 F.2d 1262, 1272-77 (3d Cir. 1981) (explaining that when a dispute concerns

 whether a Medicaid plan conforms to federal requirements, “initial appellate-level

 review” is appropriate); Tennessee, 329 F. Supp. 3d at 620 (rejecting the plaintiffs’

 argument that Section 1316 did not apply to whether federal “Medicaid requirements

 comply with the United States Constitution”). And finally, the State’s claims, which

 concern the proper interpretation of the Medicaid and CHIP statutes, fall squarely

 within the agency’s expertise, particularly given the well-recognized complexities of

 the regulatory scheme. See Elgin, 567 U.S. at 23 (considering in expertise analysis that

 “the challenged statute may be one that [the agency] regularly construes”); West

 Virginia v. Thompson, 475 F.3d 204, 212 (4th Ci. 2007) (the “Medicaid statute is a

 prototypical ‘complex and highly technical regulatory program’ benefitting from

 expert administration”). In sum, Section 1316(a) precludes this Court’s review of

 Florida’s challenge here.

 II.   Florida does not face irreparable harm.

       Even if this Court had jurisdiction, Florida’s request for a preliminary injunction

 should be denied. “Significantly, even if Plaintiffs establish a likelihood of success on

 the merits, the absence of a substantial likelihood of irreparable injury would, standing

 alone, make preliminary injunctive relief improper.” Siegel v. LePore, 234 F.3d 1163,

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 1176 (11th Cir. 2000). “[T]he asserted irreparable injury must be neither remote nor

 speculative, but actual and imminent.” Id. (citation omitted); see also Winter, 555 U.S.

 at 22. Florida has made no such showing here.

        First, Florida has not shown that any actual or imminent loss of funding will

 occur absent a preliminary injunction. As detailed above, an extensive administrative

 process must take place before CMS could take any action to withhold federal funding

 from Florida’s CHIP, see supra Section I.A, and none of the requisite steps have been

 taken here. The Administrator has not initiated any process to find Florida’s plan is in

 substantial noncompliance. And regardless of whatever changes have been made to

 Florida state law, Florida has not submitted any plan amendment or waiver request to

 CMS regarding its purported CHIP expansion. “A district court should not issue a

 preliminary injunction unless it concludes that the movant will suffer immediate harm

 if relief is delayed until the case is finally resolved on the merits.” De La Fuente v. Kemp,

 679 F. App’x 932, 934 (11th Cir. 2017). Even if Florida could conceivably suffer

 irreparable harm at some point in the future, it has offered no reason to believe that

 harm “will occur before the district court can rule on [its] requests for a permanent

 injunction and declaratory relief.” Id.

        Second, Florida offers no explanation why it waited so long to seek a preliminary

 injunction, severely undermining its claim that irreparable injury is imminent. “A

 delay in seeking a preliminary injunction of even only a few months—though not

 necessarily fatal—militates against a finding of irreparable harm.” Wreal, LLC v.


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 Amazon.com, Inc., 840 F.3d 1244, 1248 (11th Cir. 2016). Here, Florida waited more

 than three months after the FAQs were issued in October 2023 to seek emergency

 relief. That the State “pursued its preliminary-injunction motion with the urgency of

 someone out on a meandering evening stroll rather than someone in a race against

 time” severely undermines any argument that the State will be imminently harmed in

 the absence of preliminary relief. Id. at 1246; Citibank, N.A. v. Citytrust, 756 F.2d 273,

 276 (2d Cir. 1985) (ten-week delay undercut the claim of irreparable harm); St. Marie

 v. Ludeman, 2010 WL 924420, at *4 (D. Minn. Mar. 11, 2010) (three-week delay

 “undermines [plaintiff’s] claims of imminent irreparable harm”).

       Third, Florida’s alleged “sovereign injury” does not support a claim of

 irreparable harm. It asserts that Fla. Stat. § 624.91(5)(b)(9) “requires disenrolling CHIP

 participants for nonpayment of premiums,” so it is “caught between CMS and Florida

 law.” Pls.’ Mot. at 21-22. However, the statutory provision Florida cites does not say

 this. Instead, it merely provides that Florida’s CHIP plan shall “[e]stablish enrollment

 criteria that include penalties or waiting periods of 30 days for reinstatement of

 coverage upon voluntary cancellation for nonpayment of family premiums.” Fla. Stat.

 § 624.91(5)(b)(9). The statute says nothing about continuous eligibility, let alone that

 Florida law requires disenrollment for nonpayment of premiums. In any event, mere

 preemption of state law does not amount to irreparable harm. “[I]t is black-letter law

 that the federal government does not ‘invade[ ]’ areas of state sovereignty ‘simply

 because it exercises its authority’ in a way that preempts conflicting state laws.” Florida


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 v. HHS, 19 F.4th 1271, 1291 (11th Cir. 2021) (quoting Hodel v. Va. Surface Mining &

 Reclamation Ass’n, 452 U.S. 264, 291 (1981)). As the Eleventh Circuit has explained,

 “to conclude otherwise would mean that a state would suffer irreparable injury from

 all . . . federal laws with preemptive effect.” Id. at 1292.

        Fourth, Florida claims that it will incur monetary harm because it “anticipates

 that compliance with the FAQs will cost approximately $1 million each month.” Pls.’

 Mot. at 23. As noted, any “anticipated” monetary loss is speculative at this juncture.

 See Clapper v. Amnesty International USA, 568 U.S. 398, 418 (2013). And other courts

 have flatly rejected claims that a state confronts an “untenable dilemma” when

 deciding whether to “conform its plan, at great expense, to the requirements of” CMS

 policy or instead to risk the “possibility of corrective action and the loss of its []CHIP

 funding.” New Jersey, 2008 WL 4936933, at *9. Were the law otherwise, a state could

 claim irreparable harm virtually any time it disagreed with CMS’s view of the

 regulatory scheme. Accordingly, Florida has not shown imminent irreparable harm.

 III.   Florida is unlikely to succeed on the merits.

        Florida is also unlikely to succeed on the merits of any of its claims, as the FAQs

 both correctly interpret the statute and are procedurally sound.

        A.     The FAQs properly interpret the CAA’s amendments to CHIP.

        In the CAA, Congress for the first time directed that continuing eligibility in

 CHIP “shall” be applied “in the same manner” as in Medicaid, where states are not

 permitted to terminate coverage for nonpayment of premiums during periods of


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 continuing eligibility. This meant that the prior, CHIP-only regulatory exception could

 not survive, an understanding that CMS correctly explained in the FAQs.

        This conclusion follows from the statute’s plain text. Under prior law, the

 Medicaid statute provided that states “may” offer continuing eligibility for a period of

 up to 12 months, during which time a child “determined to be eligible for benefits

 under a State plan . . . shall remain eligible for those benefits.” 42 U.S.C. § 1396a(e)(12)

 (2022). CMS subsequently promulgated two regulations that are relevant here.

        Under the first regulation, which concerned Medicaid, a “child’s eligibility may

 not be terminated during a continuous eligibility period” unless one of five exceptions

 is met. 42 C.F.R. § 435.926(d). Consistent with preexisting Medicaid regulations,

 which provided that states “must . . . [c]ontinue to furnish Medicaid regularly to all

 eligible individuals until they are found to be ineligible,” id. § 435.930(b), the

 continuous eligibility regulation for Medicaid contained no exception permitting

 termination for nonpayment of premiums during a continuous eligibility period.

        The second regulation, which concerned CHIP, contained an additional

 exception unique to that program. It provided that, “[i]n addition to the” exceptions

 in 42 C.F.R. § 435.926(d) permitting termination of Medicaid eligibility, in CHIP “a

 child may be terminated during the continuous eligibility period for failure to pay

 required premiums or enrollment fees under the State plan.” Id. § 457.342(b). This

 exception did not apply to Medicaid.

        In the CAA, Congress fundamentally altered this scheme. In addition to making


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 continuing eligibility mandatory, rather than optional, for both Medicaid and CHIP,

 it provided that the requirement “shall” be applied “in the same manner” in both

 programs. Specifically, in a section of the CAA titled “Continuous Eligibility for

 Children Under Medicaid and CHIP,” Congress amended the Medicaid statute to

 require that a “State plan . . . shall provide” that children “determined to be eligible

 for benefits under a State plan” generally “shall remain eligible for such benefits” for

 a 12-month period. CAA § 5112(a) (amending 42 U.S.C. § 1396a(e)(12)). And in the

 same section of the CAA, Congress amended the CHIP statute to incorporate this

 Medicaid    requirement     by   reference.    Id.   § 5112(b)   (amending   42   U.S.C.

 § 1397gg(e)(1)). As a result, the CHIP statute now provides that, with one exception,

 the continuing eligibility requirement in Section 1902(e)(12) of the Medicaid statute,

 as amended by the CAA, “shall apply to States under this subchapter [i.e., CHIP] in

 the same manner as they apply to a State under subchapter XIX [i.e., Medicaid].” 42

 U.S.C. § 1397gg(e)(1)(K).

       Given these changes to the statutory framework, CMS rightly understood that

 the prior CHIP-specific regulatory exception permitting termination of coverage for

 nonpayment of premiums during periods of continuing eligibility could not survive.

 Indeed, the sole exception that Congress provided to its “in the same manner”

 directive—that CHIP coverage may end if the child “becomes eligible for full benefits

 under” and is “transferred to” the state’s Medicaid program for the remainder of the

 continuing eligibility period, CAA § 5112(b)—confirms this conclusion. See United


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 States v. Castro, 837 F.2d 441, 442 (11th Cir. 1988) (“A general guide to statutory

 construction states that the mention of one thing implies the exclusion of another.”

 (citation omitted)).

         Florida’s arguments to the contrary cannot overcome the statute’s plain text.

 The State principally contends that the FAQs improperly equate the words “eligibility”

 and “enrolled.” Pls.’ Mot. at 14-15. But that ignores the statutory and regulatory

 scheme that Congress was legislating against. In Medicaid, it has long been the case

 that states “must . . . [c]ontinue to furnish Medicaid regularly to all eligible individuals

 until they are found to be ineligible,” 42 C.F.R. § 435.930(b); accordingly, in that

 program, there has never been an exception to continuing eligibility for termination

 for nonpayment of premiums, see id. § 435.926(d). “Congress can be presumed to be

 aware of relevant administrative interpretations when reenacting or amending a

 statute[.]” Duarte v. Mayorkas, 27 F.4th 1044, 1059 (5th Cir. 2022). Thus, when

 requiring in the CAA that continuing eligibility be applied “in the same manner” in

 the two programs, Congress necessarily understood that CHIP beneficiaries would

 now receive uninterrupted coverage during the continuous eligibility period, as

 Medicaid beneficiaries already did. See also K Mart Corp. v. Cartier, Inc., 486 U.S. 281,

 291 (1988) (courts must look to “the language and design of the statute as a whole”). 2


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   Florida relies on text of a draft bill that states that “an individual who is determined to be eligible for
 [such] benefits . . . shall remain eligible and enrolled for such benefits for the duration of the specified
 period.” Pls.’ Mot. at 15 (citation omitted). However, a draft bill text that never advanced out of
 committee, let alone became law, is of minimal probative value. See Stabilize Medicaid and CHIP
 Coverage        Act      of     2021,       S.      646,     117th     Cong.      (2021),    Congress.gov,

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        Indeed, Florida’s interpretation would effectively render the continuous

 eligibility requirement in Medicaid superfluous. In the State’s telling, the phrase “shall

 remain eligible for such benefits,” CAA § 5112(a), does no more than prohibit states

 from conducting an eligibility redetermination during the 12-month continuous

 eligibility period. But existing Medicaid regulations prohibit states from requiring a

 renewal of eligibility more frequently than every 12 months. 42 C.F.R. § 435.916(a).

 For the phrase “shall remain eligible for such benefits” to have the practical effect of

 stabilizing coverage for low-income children, it must mean that states are required to

 maintain coverage during the continuous eligibility period, absent an exception. See

 TRW Inc. v. Andrews, 534 U.S. 19, 29, 31 (2001) (refusing to adopt interpretation that

 “would in practical effect render that exception entirely superfluous in all but the most

 unusual circumstances”); see also Gonzalez v. McNary, 980 F.2d 1418, 1420 (11th Cir.

 1993). Accordingly, when read in the context of the broader Medicaid statute and its

 regulations, the phrase “shall remain eligible for such benefits” in CAA § 5112(a)

 means that states cannot terminate coverage, not that they must merely consider

 beneficiaries to meet the eligibility criteria. See Yellen v. Confederated Tribes of Chehalis

 Rsrv., 141 S. Ct. 2434, 2448 (2021) (“The most grammatical reading of a sentence in a

 vacuum does not always produce the best reading in context.”).

        Florida’s contention that the FAQs conflict with 42 U.S.C. § 1397cc(e)(3) also



 https://www.congress.gov/bill/117th-congress/senate-bill/646/all-
 actions?overview=closed&s=5&r=20&q=%7B%22search%22%3A%22S.+646%22%7D#tabs                (last
 accessed Feb. 19, 2024).
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 fails. As the title of that provision indicates, it addresses “Premium grace period[s],”

 not the distinct issue of whether CHIP coverage may be terminated during a

 continuing eligibility period. Specifically, Section 1397cc(e)(3) provides that a state

 must give CHIP beneficiaries “a grace period of at least 30 days from the beginning of

 a new coverage period to make premium payments” before coverage may be

 terminated, id. § 1397cc(e)(3)(C)(i), with “new coverage period” defined as “the month

 immediately following the last month for which the premium has been paid,” id.

 § 1397cc(e)(3)(C)(ii)(II). Contrary to Florida’s suggestion, this provision can be read

 in harmony with the CAA’s amendments: If a beneficiary fails to make premium

 payments at some point within the continuous eligibility period, the grace period

 would still begin the following month and last for “at least 30 days,” until the end of

 the continuous eligibility period. See id. § 1397cc(e)(3)(C)(i). And the state would still

 be required to provide notice “not later than 7 days” from the start of the grace period

 that failure to make a missed premium payment “within the grace period”—i.e., by the

 end of the continuous eligibility period—“will result in termination of coverage.” Id.

 § 1397cc(e)(3)(C)(ii)(I). “It is this Court’s duty to interpret Congress’s statutes as a

 harmonious whole rather than at war with one another,” Epic Sys. Corp. v. Lewis, 584

 U.S. 497, 502 (2018), and it can readily do so here.

       Finally, the FAQs do not violate the grandfathering provisions of the CHIP

 statute. It is true that Florida’s program was grandfathered into CHIP when it was

 created in 1997, see id. § 1397cc(d)(1)(C), but that does not give Florida carte blanche to


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 refuse to update its CHIP plan to comply with federal law. The provision cited by

 Florida concerns the package of benefits that a CHIP plan must offer, not eligibility

 for coverage. Specifically, Section 1397cc, which is titled “Coverage requirements for

 children’s health insurance,” begins by defining the “[r]equired scope of health

 insurance coverage,” id. § 1397cc(a), such as the “basic services” it must include and

 their “actuarial value,” id. § 1397cc(a)(2)(A)-(B). The statute then grandfathers in

 “existing” plans, including Florida’s, considered to have sufficiently “comprehensive

 . . . coverage,” id. § 1397cc(d), and permits states to make “modifications” to such

 plans that “do[] not reduce the actuarial value of the coverage,” id. § 1397cc(d)(2).

 These scope-of-benefits issues are fundamentally different from the eligibility issues

 addressed by the FAQs. Section 1397cc(a)(3) thus has no relevance here.

       B.     CMS’s interpretation of the CAA is not arbitrary and capricious.

       Florida claims the FAQs are arbitrary and capricious for three reasons. See Pls.’

 Mot. at 17-19. It is wrong at each turn.

       First, it was hardly “illogical” for CMS to reason that the regulatory exceptions

 to continuous eligibility common to Medicaid and CHIP survived the CAA’s

 amendments, but the exception unique to CHIP could not. As explained, see supra

 Section III.A., the CHIP statute now states that the Medicaid statute’s continuous

 eligibility requirement applies to CHIP “in the same manner” as it applies to Medicaid,

 necessarily signaling the end of the CHIP-only exception. See CAA § 5112(b); 42

 U.S.C. § 1397gg(e)(1)(K). By contrast, nothing in the CAA casts doubt on the


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 regulatory exceptions common to Medicaid and CHIP that remain. Indeed, it is

 common sense that a state would not preserve the eligibility of someone who either

 (1) has requested termination; (2) has been granted eligibility through error, fraud,

 abuse, or perjury; or (3) is deceased, 42 C.F.R. § 435.926(d)—measures “important to

 protecting program integrity,” as the agency explained. FAQs at 1. This readily meets

 the “minimum standards of rationality” required on arbitrary and capricious review.

 La. Env’t Action Network v. U.S. EPA, 382 F.3d 575, 582 (5th Cir. 2004); Motor Vehicle

 Mfrs. Ass’n v. State Farm, 463 U.S. 29, 43 (1983) (a court must “uphold a decision” of

 even “less than ideal clarity” so long as “the agency’s path may reasonably be

 discerned”).

       Second, contrary to Florida’s claims, CMS did not “reverse[]” its position on any

 “distinction between eligibility and enrollment,” Pls.’ Mot. at 18. As explained, in

 Medicaid, termination of coverage for nonpayment of premiums during periods of

 continuous eligibility has long been prohibited, and in the CAA, Congress extended

 this policy to CHIP. See supra Section III.A. Thus, as CMS explained in the FAQs, the

 “existing regulatory option” for states “to consider non-payment of premiums as an

 exception” to continuous eligibility “will end.” FAQs at 1. The FAQs therefore do not

 amount to a policy change by CMS—they merely communicate that the CAA does

 not permit the former regulation for the nonpayment of premiums exception to remain

 in effect. See infra Section III.C. Florida’s complaint that CMS failed to consider its

 reliance interests is misdirected, see Pls.’ Mot. at 19, since it is Congress and not CMS


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 that chose to change course.

        Third, Florida’s argument that CMS failed to consider that Florida’s program

 was grandfathered into CHIP lacks merit. As described, supra at 24-25, these

 provisions only apply to the list of benefits covered by the state plans. See 42 U.S.C.

 § 1397cc(a)(3), (d). This is wholly irrelevant to whether Florida’s CHIP program must

 comply with federal law and the CAA’s requirements for continuous eligibility.

        C.     The FAQs constitute an interpretive rule exempted from the APA’s
               rulemaking requirements.

        The APA’s rulemaking requirements do not apply to “interpretative rules.” 5

 U.S.C. § 553(b)(A). “A statement [by an agency] seeking to interpret a statutory or

 regulatory term is . . . the quintessential example of an interpretive rule.” Orengo

 Caraballo v. Reich, 11 F.3d 186, 195 (D.C. Cir. 1993). The FAQs constitute an

 interpretive rule that sets forth CMS’s interpretation of the CAA, so notice and

 comment was not required.

        Courts look to several general principles when determining whether a rule is

 interpretive. “First, although not dispositive, the agency’s characterization of the rule

 is relevant to the determination. . . . Second, [a]n interpretative rule simply states what

 the administrative agency thinks the statute means, and only reminds affected parties

 of existing duties. On the other hand, if by its action the agency intends to create new

 law, rights or duties, the rule is properly considered to be a legislative rule.” Warshauer

 v. Solis, 577 F.3d 1330, 1337 (11th Cir. 2009) (citation omitted).

        The FAQs merely set out CMS’s understanding of the CAA’s effect on the

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 Medicaid and CHIP, and do not establish a legislative rule. Notably, the agency itself

 described them only as “guidance.” SHO Letter at 1 (CMS “is issuing this [SHO] letter

 to provide states with guidance” on the CAA); id. at 4 n.14 (indicating CMS’s intent

 to “issue separate guidance” on how “nonpayment of premiums intersects with CE

 under the CAA”). At no point do the FAQs purport to have the force of law. Nor do

 they purport to exercise delegated power to enact policy. See Metropolitan Sch. Dist. v.

 Davila, 969 F.2d 485, 490 (7th Cir. 1992). Instead, CMS’s interpretation is drawn

 directly from the statutory provisions cited. See Warshauer, 577 F.3d at 1337-38. Like

 a “prototypical example of an interpretive rule,” CMS issued them “to advise the

 public of the agency’s construction of the statutes and rules which it administers.”

 Shalala v. Guernsey Mem’l Hosp., 514 U.S. 87, 99 (1995) (quotations omitted).

        Further, as explained, supra at 12-13, any binding effect the FAQs have flows

 from the CAA, not the FAQs. An interpretive rule can be binding when the effect is

 “not by virtue of the promulgation of the regulation (as in the case of a legislative

 regulation), but by virtue of the binding nature of the interpreted statute.” Dismas

 Charities, Inc. v. U.S. Dep’t of Just., 401 F.3d 666, 681 (6th Cir. 2005). Because the FAQs

 do not create any rights or obligations independent of the statutory provisions they

 interpret, they constitute an interpretive rule.

 IV.    The equities and the public interest weigh against injunctive relief.

        Finally, Florida has not shown that the balance of equities and the public

 interest support a preliminary injunction. A “court sitting in equity cannot ignore the

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 judgment of Congress, deliberately expressed in legislation.” United States v. Oakland

 Cannabis Buyers’ Coop., 532 U.S. 483, 497 (2001) (citation omitted). Indeed, where the

 elected branches have enacted a statute based on their understanding of what the

 public interest requires, this Court’s “consideration of the public interest is constrained

 . . . for the responsible public officials . . . have already considered that interest.” Golden

 Gate Rest. Ass’n v. City & Cnty. Of San Francisco, 512 F.3d 1112, 1126-27 (9th Cir. 2008).

 Here, Congress has acted to expand continuous eligibility in the CHIP program, and

 an injunction would risk restricting medical coverage for one of the country’s neediest

 populations: low-income children. “In addition to improving short- and long-term

 health status, [continuous eligibility] has been shown to reduce financial barriers to

 care for low-income families, promote health equity, and provide states with better

 tools to hold health plans accountable for quality care and improved health outcomes.”

 SHO Letter at 2. The public interest would not be served by entering an injunction

 here, particularly in the absence of any administrative proceedings threatening any

 concrete harm to Florida.

                                       CONCLUSION

        For the foregoing reasons, Florida’s motion for a preliminary injunction should

 be denied.

 DATED: February 20, 2024                           Respectfully submitted,

 Of Counsel:                                        BRIAN M. BOYNTON
                                                    Principal Deputy Assistant Attorney
 SAMUEL R. BAGENSTOS                                General
 General Counsel
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                                              ERIC B. BECKENHAUER
 PAUL R. RODRÍGUEZ                            Assistant Director
 Deputy General Counsel
                                              /s/ Madeline McMahon
 JANICE L. HOFFMAN                            MADELINE M. MCMAHON (DC
 Associate General Counsel                    Bar No. 1720813)
                                              Trial Attorney
 SUSAN MAXSON LYONS                           U.S. Department of Justice
 Deputy Associate General                     Civil Division, Federal Programs
 Counsel for Litigation                       Branch
                                              1100 L Street NW
 LINDSAY S. GOLDBERG                          Washington, D.C. 20005
 Attorney                                     (202) 451-7722
 U.S. Dept. of Health & Human Services        madeline.m.mcmahon@usdoj.gov
 330 Independence Ave., S.W.
 Washington, D.C. 20201                       Counsel for Defendants
 (202) 619-2795
 Lindsay.Goldberg@hhs.gov




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                 IN THE UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

                          Case No. 8:24-cv-317-WFJ-AAS

STATE OF FLORIDA; and FLORIDA
AGENCY FOR HEALTH CARE
ADMINISTRATION,

Plaintiffs,

v.

CENTERS FOR MEDICARE AND
MEDICAID SERVICES; CHIQUITA
BROOKS-LASURE, in her official capacity as
Administrator for the Centers for Medicare and
Medicaid Services; DEPARTMENT OF
HEALTH AND HUMAN SERVICES; and
XAVIER BECERRA, in his official capacity as
Secretary of Health and Human Services,

Defendants.

          PLAINTIFFS’ REPLY IN SUPPORT OF THEIR MOTION FOR
                       PRELIMINARY INJUNCTION




                                           i
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                                 INTRODUCTION

      Plaintiffs are entitled to a preliminary injunction. PI.Mot.11–25. CMS does not

dispute that its October 27, 2023, Frequently Asked Questions (“FAQs”) about the

Children’s Health Insurance Program (“CHIP”) under Title XXI of the Social Security

Act are final agency action. Nor does CMS dispute that Florida has standing.

      Instead, CMS tries to persuade this Court that straightforward questions of law

under the Administrative Procedure Act (“APA”) about that admittedly-final agency

action are somehow unripe, Opp.8–13, and that this Court lacks jurisdiction because

CMS could potentially reach some of the same issues in future agency proceedings,

Opp.13–16. Neither argument is persuasive. The FAQs are clear that States cannot

“terminate CHIP coverage during a continuous eligibility ... period due to non-

payment of premiums,” and even purport to “end” an existing regulatory provision at

42 C.F.R. § 457.342(b) that provides otherwise. Ex.4, FAQs at 1. Future agency

proceedings are also not guaranteed, anyway.

      If CMS had taken the necessary steps to amend or rescind its regulations,

Florida would unquestionably be able to sue now under the APA. But instead, CMS

has tried to change its regulations by fiat and now cites that unlawful procedure to

justify circumventing judicial review. This Court should reject that charade.

      CMS also has no answer on the merits for why it abandoned the well-

established distinction between “eligibility” and “enrollment,” pervasive throughout

Title XXI and CHIP regulations, and instead implausibly suggests that Congress

subtly transformed CHIP into an entitlement program in an omnibus appropriations

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bill—without even amending the statutory provision that expressly states CHIP is not

an entitlement program. Opp.19–24. Nor can CMS negate Florida’s sovereign injury

and ongoing, unrecoverable costs to comply with the FAQs. See Opp.16–18.

       This Court should grant the preliminary injunction.

I.     This Case is Justiciable

       A.     Florida’s Claims Are Ripe

       “In cases involving pre-enforcement review, like this one, the standing and

ripeness analysis tend to converge.” Baughcum v. Jackson, 92 F.4th 1024, 1036 (11th

Cir. 2024). CMS has not challenged Florida’s standing, and, in any event, where “the

plaintiff is himself an object of the action (or forgone action) at issue … , there is

ordinarily little question that the action or inaction has caused him injury, and that a

judgment preventing or requiring the action will redress it.” Lujan v. Defs. of Wildlife,

504 U.S. 555, 561–62 (1992). That is the end of the matter here: the claims are ripe.

       A systematic march through the ripeness doctrine reinforces that conclusion.

The inquiry “protects federal courts from engaging in speculation or wasting their

resources through the review of potential or abstract disputes.” Digit. Props., Inc. v. City

of Plantation, 121 F.3d 586, 589 (11th Cir. 1997). Courts must “assess both the fitness

of the issues for judicial decision and the hardship to the parties of withholding judicial

review.” Harrell v. The Fla. Bar, 608 F.3d 1241, 1258 (11th Cir. 2010); see also Abbott

Lab’ys v. Gardner, 387 U.S. 136, 149 (1967). Every consideration weighs in favor of

adjudicating this case.

       First, Florida raises purely legal issues, making them quintessential questions

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“fit for judicial decision.” Club Madonna, Inc. v. City of Mia. Beach, 924 F.3d 1370, 1380

(11th Cir. 2019). “A facial challenge presenting a purely legal argument … ‘is

presumptively ripe for judicial review’ because that type of argument does not rely on

a developed factual record.” Id.; see Susan B. Anthony List v. Driehaus, 573 U.S. 149, 167

(2014). CMS defends the FAQs based “purely [on] congressional intent,” and has

“made no effort to justify the [FAQs] in factual terms” or identify any pertinent issue

that would benefit from factual development. Abbott Lab’ys, 387 U.S. at 149; see

Opp.19–28.1 Nor is factual development necessary to determine whether CMS

followed the procedures required by the APA. These claims are all within the core

competency of this Court, not future CMS proceedings. See infra Part I.B. In other

words, “[t]he lines are drawn, the positions taken, and the matter is ripe for judicial

review.” Florida v. Weinberger, 492 F.2d 488, 493 (5th Cir. 1974).

       Second, because the claims here are “fit for judicial decision,” “the absence of a

‘hardship’ cannot tip the balance against judicial review.” Club Madonna, 924 F.3d at

1380 (cleaned up). But to be clear, withholding review will cause Florida “substantial

hardship,” which also satisfies the ripeness inquiry. Cheffer v. Reno, 55 F.3d 1517, 1524

(11th Cir. 1995). The FAQs “set a collision course with Florida law,” Weinberger, 492

F.2d at 492, and Florida is “forced to choose between foregoing lawful activity and

risking substantial legal sanctions,” Cheffer, 55 F.3d at 1524. If Florida complies with



1
  CMS’s sole example—Florida’s estimate of compliance costs, Opp.12—is irrelevant to ripeness.
Those costs demonstrate Florida’s imminent injury to justify a preliminary injunction, see infra Part
III, but have no bearing on whether the FAQs are lawful or otherwise comply with the APA.
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the FAQs, it will incur approximately $1 million in unlawful CHIP expenditures each

month. Ex.1, Noll.Decl. ¶ 10. If Florida ignores the FAQs, it faces the loss of millions

of dollars in federal CHIP reimbursements. This case aligns perfectly with binding

precedent rejecting a ripeness challenge in Weinberger, 492 F.2d at 492:

      [The FAQs are] final and ... actually in effect.... [Florida] is presently
      faced with the dilemma whether to bow to [CMS’s] volte-face and
      amend its laws and procedures, with all the likely financial outlay and
      certain legislative and administrative effort which that process entails,
      or to risk the at least temporary loss of funding which [noncompliance]
      could well produce.... In the process of [issuing the FAQs], [CMS] has
      already necessarily determined that [they] compl[y] with the
      [Consolidated Appropriations Act, 2023 (“2023 CAA”)], and if [they]
      d[o], plainly Florida law does not.... The calamitous prospect of such a
      loss of funding, even for a short period, to the state ... is so grave as to
      suffice for such hardship as may be required. Faced with the serious risk
      of such sanctions, there is no need for Florida to stand by while [CMS]
      ticks, hoping that [it] will not go off.

      CMS is wrong to suggest the FAQs are not “self-executing.” Opp.12–13. They

purport to “end” 42 C.F.R. § 457.342(b) and prohibit States from “consider[ing] non-

payment of premiums” as grounds for CHIP disenrollment after December 31, 2023.

Ex.4, FAQs at 1. Like the regulations the Supreme Court found ripe for review in

Gardner v. Toilet Goods Ass’n, the FAQs “have an immediate and substantial impact”

by placing Florida “in a quandary.” 387 U.S. 167, 171–72 (1967). Florida is not

required to “refuse to comply ... and test the [FAQs] by defending against” civil suits

or CMS enforcement, or to “submit to the [FAQs]” and the financial and sovereign

injuries they impose, just to obtain judicial review. Id.

      CMS relies heavily on two unpublished, out-of-circuit district court opinions—

New Jersey v. HHS, 2008 WL 4936933 (D.N.J. Nov. 17, 2008), and New York v. HHS,

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2008 WL 5211000 (S.D.N.Y. Dec. 15, 2008)—which are foreclosed by the binding

precedent discussed above, and in any event are easily distinguishable. Opp.8, 11–13.

Both involved challenges to a State Health Official (“SHO”) Letter about procedures

to ensure state CHIPs did not “crowd out” private insurance. New Jersey, 2008 WL

4936933, at *5; New York, 2008 WL 5211000, at *5. Both held that this SHO Letter

was not “final agency action,” and that CMS had already shown “flexibility” in

considering and approving state CHIPs with “alternative approaches.” New Jersey,

2008 WL 4936933, at *6, 12–13; New York, 2008 WL 5211000, at *11–13. And both

concluded that factual development was needed to see how the SHO Letter would

apply and whether its provisions were “impossible or unduly burdensome.” New Jersey,

2008 WL 4936933, at *11; New York, 2008 WL 5211000, at *12–13.

      None of those characteristics are present here. CMS does not dispute that the

FAQs are final agency action, nor would the claims here benefit from factual

development. The FAQs are clear that States cannot “terminate CHIP coverage during

a continuous eligibility ... period due to non-payment of premiums,” and purport to

“end”—with no further action needed—an existing regulatory provision that provides

otherwise. Ex.4, FAQs at 1. CMS has not disclaimed this position or its intent to

enforce the FAQs, but now implausibly feigns ignorance about how they will apply.

      CMS also ignores cases that challenge agency statements unequivocally

articulating positions and that raise purely legal claims that would not benefit from

factual development. Courts have had no trouble concluding those claims are ripe,

including challenges to CMS “guidance.” See Texas v. Brooks-LaSure, 2023 WL
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4304749, at *7 (E.D. Tex. June 30, 2023) (“purely legal” substantive and procedural

APA challenges to CMS “informational bulletin” are ripe).2

       For all these reasons, the claims here are undoubtedly ripe.

       B.      This Court Has Jurisdiction Under the APA

       Judicial review of agency action is presumptively available under the APA.

DHS v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1905 (2020). CMS responds that this

Court’s jurisdiction is impliedly precluded because the Social Security Act provides for

CMS review of a “determination” related to a particular state plan or plan amendment,

followed by review in the U.S. Courts of Appeals. Opp.13–16 (citing 42 U.S.C.

§§ 1316, 1397gg(e)(2)(B)). Implied preemption by a “special statutory review scheme,”

however, “does not necessarily extend to every claim concerning agency action,” but

only to those “‘of the type Congress intended to be reviewed within [the] statutory

structure.’” Axon Enter., Inc. v. FTC, 598 U.S. 175, 185–86 (2023). Florida is not

challenging any plan-related “determination.” There’s zero indication Congress

intended administrative review under the Social Security Act to foreclose purely legal

APA claims in district court.

       Courts considering implied preclusion have also looked to three factors

articulated in Thunder Basin Coal Co. v. Reich, 510 U.S. 200 (1994), all of which favor



2
 See also, e.g., Ciox Health, LLC v. Azar, 435 F. Supp. 3d 30, 52–53 (D.D.C. 2020) (HHS guidance);
Texas v. HHS, 2023 WL 4629168, at *11 (W.D. Tex. July 12, 2023) (HHS guidance); Gen. Elec. Co. v.
EPA, 290 F.3d 377, 380–81 (D.C. Cir. 2002) (EPA guidance); Scholl v. Mnuchin, 489 F. Supp. 3d 1008,
1026–30 (N.D. Cal. 2020) (IRS FAQs); Alabama v. CMS, 2010 WL 1268090, at *4–5 (M.D. Ala. Mar.
30, 2010) (procedural APA challenges to CMS SHO letter); Seafood Exps. Ass’n of India v. United States,
479 F. Supp. 2d 1367, 1376–81 (Ct. Int’l Trade 2007) (customs directive).
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jurisdiction here.3 First, “preclusion could foreclose all meaningful judicial review.” Id.

at 212–13. Even the mere possibility that judicial review would be unavailable is

enough to rule out implied preclusion. Cochran v. SEC, 20 F.4th 194, 209–10 (5th Cir.

2021), aff’d sub nom. Axon, 598 U.S. 175. If Florida complies with the FAQs, it won’t

receive a CMS “determination” reviewable under the Social Security Act, leaving

Florida “‘unable to seek redress.’” Brooks-Lasure, 2023 WL 4304749, at *9. Florida’s

only option would be to “bet the farm” and ignore the FAQs “before testing [their]

validity,” which is not “a ‘meaningful’ avenue of relief.” Free Enter. Fund v. PCAOB,

561 U.S. 477, 490–91 (2010) (cleaned up); see Weinberger, 492 F.2d at 492.

       Second, Florida’s claims are “wholly collateral” to the Social Security Act review

scheme. Thunder Basin, 510 U.S. at 212 (cleaned up). Again, Florida is not challenging

a “determination” about its CHIP plan, contra Opp.15–16, but instead whether the

FAQs are lawful. That is standard fare for APA review.

       Third, Florida’s claims are “outside [CMS’s] expertise.” Thunder Basin, 510 U.S.

at 212. CMS has no advantage in applying general rules of statutory interpretation or

adjudicating the requirements of the APA. Those “are instead standard questions of

administrative law, which the courts are at no disadvantage in answering.” Free Enter.

Fund, 561 U.S. at 491.

       Finally, this Court should consider the remarkable reach of CMS’s argument



3
 All factors need not favor Florida to conclude the district court has jurisdiction. Axon, 598 U.S. at
186. Even if a party can “(eventually) obtain review of ... claims through an appeal from an adverse
agency action to a court of appeals,” id. at 190–91, district court jurisdiction may still be warranted.

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that the existence of any administrative review scheme effectively “divests district

courts of their ordinary jurisdiction over” all APA claims. Axon, 598 U.S. at 185–86.

That was not Congress’s intent. Id. at 186.

      If CMS had taken any steps to properly amend its regulations, i.e., by

publication in the Federal Register, 5 U.S.C. § 552(a)(1), Florida undoubtedly could

challenge that agency action in district court. CMS instead violated the APA to “end”

a regulation by fiat and now cites that unlawful procedure to justify circumventing the

judicial review that would otherwise be available. The D.C. Circuit anticipated this

very maneuver when it held that notice and comment is required, and judicial review

is available, whenever an agency even “effectively amends a prior legislative rule.” Am.

Mining Cong. v. MSHA, 995 F.2d 1106, 1112 (D.C. Cir. 1993); see Shalala v. Guernsey

Mem’l Hosp., 514 U.S. 87, 100 (1995). This Court should do the same.

II.   Florida Is Likely to Prevail on the Merits

      A.     The FAQs Are Contrary to Law and Exceed CMS’s Authority

      The FAQs violate Title XXI’s express provision for the disenrollment of CHIP

participants for nonpayment of premiums, 42 U.S.C. § 1397cc(e)(3)(C), Title XXI’s

grandfathering provisions, id. § 1397cc(a)(3), (d), and CHIP regulations, 42 C.F.R.

§ 457.342(b). They also exceed the plain language of the 2023 CAA. PI.Mot.12–17.

      CMS has no persuasive response. It ignores that Title XXI and CHIP

regulations have for decades carefully distinguished between “eligibility” for CHIP




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 benefits and “enrollment” in a CHIP plan. PI.Mot.14–15 & nn.8–9.4 Instead, CMS

 myopically focuses on its own Medicaid regulations that require States to “[c]ontinue

 to furnish Medicaid regularly to all eligible individuals until they are found to be

 ineligible.” 42 C.F.R. § 435.930(b). No such requirement exists for CHIP, and for good

 reason. Congress expressly provided that CHIP, unlike Medicaid, is not an entitlement

 program. 42 U.S.C. § 1397bb(b)(5) (“Nothing in [Title XXI] shall be construed as

 providing an individual with an entitlement to child health assistance under a State

 child health plan.”). “Eligibility” thus has different consequences for the two

 programs: individuals eligible for Medicaid are entitled to state-provided health

 insurance coverage, 42 C.F.R. § 435.930(b), while individuals eligible for CHIP have

 the opportunity to enroll in a state-subsidized health plan, see, e.g., id. § 457.340(d)(3).

        Section 5112(a) of the 2023 CAA didn’t change that difference. It requires only

 that States refrain from redetermining a child’s eligibility for Medicaid—for example,

 based on a change in family income—for an entire year. 42 U.S.C. § 1396a(e)(12).

 Applying that provision to CHIP “in the same manner” means only that States cannot

 redetermine a child’s eligibility for CHIP for an entire year, either. Id. § 1397gg(e)(1).

        CMS would instead “fundamentally alte[r]” CHIP, transforming it into an

 entitlement program. Opp.20. Not only does that violate the clear statement in 42

 U.S.C. § 1397bb(b)(5) that CHIP is not an entitlement program, it contravenes the

 familiar canon that Congress doesn’t “hide elephants in mouseholes,” Whitman v. Am.


 4
   The difference is not a foreign concept or unique to CHIP. For example, every attorney knows that
 eligibility for fee shifting does not necessarily mean entitlement or receipt.
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 Trucking Ass’ns, 531 U.S. 457, 468 (2001), or, in this case, a passing revision buried in

 a 1,653-page omnibus appropriations bill, see 2023 CAA § 5112, 136 Stat. at 5940.

        CMS continues that surely Congress was aware of CMS regulations

 guaranteeing Medicaid benefits during periods of continuous eligibility, and thus

 intended to extend that to CHIP. Opp.22. That is precisely the wrong inference.

 Congress was surely aware of the longstanding distinction between “eligibility” and

 “enrollment,” see PI.Mot.14–15 & nn.8–9, and that Title XXI and CMS regulations

 allow CHIP participants to be disenrolled for nonpayment of premiums, PI.Mot.13.

 Congress nonetheless chose to legislate continuous eligibility, not continuous

 enrollment, coverage, or benefits. In fact, different bills would have legislated continuous

 enrollment, which never became law. PI.Mot.15. This proves Congress was not only

 aware of the distinction but also rejected the plan that CMS now tries to accomplish.

        CMS is also wrong that a straightforward reading of the 2023 CAA would

 render it “superfluous” because a Medicaid regulation already “prohibit[s] states from

 requiring a renewal of eligibility more frequently than every 12 months.” Opp.23

 (citing 42 C.F.R. § 435.916(a)). Replacing a regulatory Medicaid requirement with a

 statutory one is not a superfluous endeavor, especially when simultaneously enacting

 new statutory requirements for CHIP. United States v. Miles, 75 F.4th 1213, 1223 (11th

 Cir. 2023). CMS has a habit of conflating its own regulations with actual statutes.

        In any event, the 2023 CAA doesn’t restate 42 C.F.R. § 435.916, which actually

 requires States to “promptly redetermine eligibility between regular renewals of

 eligibility ... whenever it receives information about a change in a [participant’s]
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 circumstances that may affect eligibility.” Id. § 435.916(a)(1), (d)(1). Medicaid

 continuous eligibility was previously optional. See 42 U.S.C. § 1396a(e)(12) (2022); 42

 C.F.R. § 435.926; Opp.4. The 2023 CAA now generally prohibits States from

 redetermining eligibility during a mandatory continuous eligibility period.

        CMS’s attempt to “harmonize” the FAQs with 42 U.S.C. § 1397cc(e)(3) also

 falls flat. Opp.24. CMS reasons that States must still notify CHIP participants that

 failure to pay premiums “will result in termination of coverage,” and that the “grace

 period” is whatever remains of the continuous eligibility period. Id. But CMS abruptly

 stops its analysis there and never explains when a State actually can terminate coverage

 (i.e., disenroll) or lock out participants for nonpayment of premiums. Nor does CMS

 even attempt to reconcile this argument with its simultaneous assertions that

 continuous eligibility in CHIP must have the same effect as in Medicaid, which allows

 for no such notices, disenrollment, or lock-out periods. See 42 C.F.R. § 435.930(b).

        That isn’t the only place where CMS’s argument collapses under its own weight.

 If applying continuous eligibility “in the same manner” has the same effect on

 receiving benefits, then CHIP benefits could not be conditioned on paying enrollment

 fees or the first month’s premium, which the FAQs allow. Ex.4, FAQs at 1. Nor could

 CHIP require copayments, 42 U.S.C. § 1397cc(e)(1), which CMS leaves untouched.

        Finally, CMS is wrong that the Title XXI grandfathering provisions apply only

 to “the package of benefits” a plan offers, and so are irrelevant to “eligibility issues” in

 the FAQs. Opp.25. Those statutory provisions give broad authority to qualifying

 States like Florida to retain and modify grandfathered plans that maintain minimum
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 coverage requirements. 42 U.S.C. § 1397cc(a)(3), (d). The statutory text doesn’t limit

 that authority to “benefits.” Nor are the FAQs concerned only with “eligibility issues,”

 as they require States to extend benefits to non-paying participants. CMS also ignores

 that Florida has been providing continuous eligibility, contingent on payment of

 premiums, since long before Congress enacted CHIP, and continued to do so as a

 grandfathered plan before CMS allowed for that possibility by regulation in 2016.

 PI.Mot.6. The 2023 CAA did nothing to change 42 U.S.C. § 1397cc(a)(3), (d).

       B.     The FAQs are Arbitrary and Capricious

       The FAQs are not “the product of reasoned decisionmaking.” Motor Vehicle

 Mfrs. Ass’n v. State Farm Mut. Auto Ins. Co., 463 U.S. 29, 52 (1983). They are illogical,

 reverse the well-established distinction between CHIP eligibility and enrollment, and

 fail to consider reliance interests or grandfathering provisions. PI.Mot.17–19; see

 Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 221–22 (2016).

       CMS’s response only further reveals the inconsistency of its position. CMS

 maintains that “nothing in the CAA casts doubt on the regulatory exceptions” to

 continuous eligibility that it chose to retain, Opp.25–26, but nothing in the 2023 CAA

 authorizes those exceptions, either. By using the term “eligibility” rather than

 “enrollment” and leaving untouched 42 U.S.C. § 1397bb(b)(5)—which provides that

 CHIP is not an entitlement program—the 2023 CAA actually provides more support

 for allowing disenrollment for premium nonpayment than for keeping CMS’s

 preferred exceptions. Despite CMS’s claims otherwise, Opp.26, the FAQs abandon

 CMS’s longstanding recognition of that distinction, PI.Mot.15 & n.9.

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        CMS also acted arbitrarily by ignoring grandfathering provisions and the

 reliance interests of States. PI.Mot.19. CMS claims those considerations were

 unnecessary because Congress imposed the ongoing provision of benefits, Opp.26–27,

 but Congress didn’t do that, see supra Part II.A, and CMS cannot assert flexibility to

 retain its preferred regulatory exceptions while inconsistently claiming to be

 handcuffed when it comes to other considerations or exceptions.

        C.    The FAQs Violate the APA’s Procedural Requirements

        The FAQs are a legislative rule subject to the APA’s notice-and-comment

 requirements. See PI.Mot.20–21. CMS mischaracterizes the FAQs by claiming they

 “merely set out CMS’s understanding of the CAA’s effect on … Medicaid and CHIP.”

 Opp.27–28. That is wrong. They expressly purport to “end” 42 C.F.R. § 457.342(b).

 Ex.4, at 1. CMS is bound by that regulation until amended or repealed, United States

 v. Nixon, 418 U.S. 683, 695–96 (1974), and such change must be through notice-and-

 comment rulemaking, as is required whenever an agency “adopt[s] a new position

 inconsistent with ... existing regulations,” Shalala, 514 U.S. at 100.

        Even if the FAQs were exempt from notice and comment, CMS was still

 required to amend 42 C.F.R. § 457.342(b) through publication in the Federal Register,

 5 U.S.C. § 552(a)(1), which would be final agency action subject to judicial review.

 CMS cannot avoid this Court by violating the very procedures that would indisputably

 lead to its review. This failure is alone enough to require the FAQs be set aside.

 III.   Florida Will Suffer Irreparable Injury

        Florida will suffer ongoing, irreparable injury absent injunctive relief.

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 PI.Mot.21–25. First, Florida faces recurring harm each month when it is forced to

 choose between following its own laws or CMS’s unlawful FAQs. Although no

 irreparable harm results from the valid federal preemption of a state law, Opp.18–19,

 a state’s “inability to enforce its duly enacted plans clearly inflicts irreparable harm on

 the State,” Abbott v. Perez, 138 S. Ct. 2305, 2324 n.17 (2018); see Florida v. Nelson, 576

 F. Supp. 3d 1017, 1039–40 (M.D. Fla. 2021). Florida’s sovereign injury is thus

 intertwined with the merits of its claim that the FAQs are unlawful.5

        Second, Florida independently faces irreparable harm through unrecoverable

 costs. Florida officials estimate that complying with the FAQs will cost the State

 approximately $1 million per month. Ex.1, Noll.Decl. ¶ 10. Even if that precise amount

 were “speculative,” Opp.12—and it is not—CMS never disputes that Florida faces

 impending financial costs that are unrecoverable and thus constitute irreparable harm.

 Georgia v. President of the U.S., 46 F.4th 1283, 1302 (11th Cir. 2022).

        Nor does the timing of this case indicate a lack of imminence. See Opp.17–18.

 The FAQs were issued on October 27, 2023, and purported to “end” an existing

 regulation on December 31, 2023. Ex.4, FAQs at 1. Even though CMS unexpectedly

 subverted CHIP premium requirements, Florida filed suit only a month later on

 February 1, 2024, and simultaneously requested emergency relief because the

 irreparable injury is ongoing and will repeat each month.


 5
    CMS questions whether Florida law requires disenrollment. Opp.18. Florida Statute
 § 624.91(5)(b)(9) provides that “nonpayment of family premiums” is “voluntary cancellation” as a
 matter of law, which necessarily results in disenrollment. PI.Mot.22. CHIP cost-sharing is also crucial
 to ensuring Florida meets its constitution’s balanced-budget requirement. PI.Mot.7.
                                                  14
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         Florida did not lightly make the decision to sue, and it used those few weeks to

 assess the legality of the FAQs, the consequences of compliance, and the necessity of

 legal action. There’s not even a plausible assertion of inexplicable delay. CMS invokes

 a case about a delay of “a few months,” Opp.17, but the plaintiff there waited months

 after filing suit before seeking preliminary relief. 6 That’s certainly not true here.

 IV.     The Balance of Harms and Public Interest Favor Florida

         The balance of harms and public interest weigh in favor of a preliminary

 injunction. PI.Mot.25. CMS has no legitimate interest in unlawful agency action, and

 that is the end of the matter. Ala. Ass’n of Realtors v. HHS, 141 S. Ct. 2485, 2490 (2021).

         Further, Florida isn’t asking this Court to “‘ignore the judgment of Congress,

 deliberately expressed in legislation,’” Opp.28–29, but to enjoin a rogue agency action

 that, itself, brazenly ignores the plain meaning of statutory terms and infringes on

 Florida’s sovereignty. Florida and its residents are best served by preserving the

 integrity and long-term sustainability of a program that serves some of the most

 vulnerable members of the community.

                                            CONCLUSION

         The Court should preliminarily enjoin CMS from enforcing the FAQs.
 6
   See Wreal, LLC v. Amazon.com, Inc., 840 F.3d 1244, 1247–49 (11th Cir. 2016) (“unexplained five-
 month delay” in moving for preliminary relief after filing complaint). The significant delay other
 courts have deemed material confirms that Florida’s actions here were not dilatory. Bethune-Cookman,
 Univ., Inc. v. Dr. Mary McLeod Bethune Nat’l Alumni Ass’n, Inc., 2023 WL 3704912, at *1 (11th Cir. May
 30, 2023) (six-month delay in moving for preliminary relief after filing complaint); Powers v. Nielsen,
 806 F. App’x 958, 959–60 (11th Cir. 2020) (four-year delay in filing suit and one-year delay in moving
 for preliminary relief after filing complaint); Berber v. Wells Fargo Bank, N.A., 760 F. App’x 684, 687
 (11th Cir. 2019) (three-year delay in filing suit); Powers v. Sec’y, Fla. Dep’t. of Corr., 691 F. App’x 581,
 583–84 (11th Cir. 2017) (“unexplained” three-year delay in filing suit); see also Larweth v. Magellan
 Health, Inc., 841 F. App’x 146, 151, 158–59 (11th Cir. 2021) (four-to-five-month delay in filing
 counterclaims and moving for preliminary relief after being sued did not undermine irreparable harm).

                                                     15
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 Dated: March 5, 2024


 Respectfully submitted,

 Ashley Moody                            /s/ R. Trent McCotter
 ATTORNEY GENERAL                        R. Trent McCotter (pro hac vice)*
                                         Jared M. Kelson (pro hac vice)
 Henry C. Whitaker (FBN 1031175)         Laura B. Ruppalt (pro hac vice)
 SOLICITOR GENERAL                       BOYDEN GRAY PLLC
                                         801 17th St NW, Suite 350
 /s/ Natalie Christmas                   Washington, DC 20006
 Natalie Christmas (FBN 1019180)*        (202) 706-5488
 COUNSELOR TO THE ATTORNEY               tmccotter@boydengray.com
  GENERAL
                                         Andrew T. Sheeran
 Office of the Attorney General          GENERAL COUNSEL
 The Capitol, Pl-01                      Florida Bar No. 0030599
 Tallahassee, Florida 32399-1050         Agency for Health Care Administration
 (850) 414-3300                          2727 Mahan Drive, Mail Stop #3
 (850) 410-2672 (fax)                    Tallahassee, Florida 32308
 Natalie.Christmas@myfloridalegal.com    (850) 412-3670
                                         Andrew.Sheeran@ahca.myflorida.com
 * Lead Counsel
 Counsel for State of Florida            * Lead Counsel
                                         Counsel for Agency for Health Care
                                           Administration




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                            CERTIFICATE OF SERVICE
        I hereby certify that on March 5, 2024, a true and correct copy of the foregoing
 was filed with the Court’s CM/ECF system, which will provide service to all parties
 who have registered with CM/ECF and filed an appearance in this action.


 Dated: March 5, 2024                       /s/ R. Trent McCotter
                                            R. Trent McCotter




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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA


 STATE OF FLORIDA, et al.,
                      Plaintiffs,
               v.
                                                    No. 8:24-cv-317-WFJ-AAS
 CENTERS FOR MEDICARE &
 MEDICAID SERVICES, et al.,
                      Defendants.

                                       ANSWER

      Defendants Centers for Medicare & Medicaid Services (“CMS”), Chiquita

Brooks-LaSure, in her official capacity as Administrator for the Centers for Medicare

& Medicaid Services, U.S. Department of Health and Human Services, and Xavier

Becerra, in his official capacity as Secretary of Health and Human Services, hereby

answer Plaintiffs’ complaint as follows:

                                    INTRODUCTION

      1.     Defendants admit that on June 22, 2023, Governor DeSantis signed

Florida H.B. 121. Defendants deny any characterization of H.B. 121, which speaks

for itself, and respectfully refer the Court to the cited provision for a complete and

accurate statement of its contents. The balance of this paragraph contains argument

and conclusions of law, not allegations of fact, and thus no response is required. To

the extent that a response is deemed necessary, Defendants deny the allegations.

      2.     Admitted.
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      3.     Defendants lack sufficient knowledge or information to form a belief

about the truth of the allegations in this paragraph.

      4.     This paragraph contains argument and characterizations of Florida’s

Children’s Health Insurance Program (CHIP) Plan, not allegations of fact, and thus

no response is required. To the extent a response is deemed necessary, Defendants

deny any characterization of Florida’s CHIP Plan, which speaks for itself, and

respectfully refer the Court to Florida’s CHIP Plan for a complete and accurate

statement of its contents.

      5.     This paragraph contains argument, conclusions of law, and

characterizations of Florida’s CHIP Plan, not allegations of fact, and thus no

response is required. To the extent a response is deemed necessary, Defendants deny

any characterization of Florida’s CHIP Plan, which speaks for itself, and respectfully

refer the Court to Florida’s CHIP Plan for a complete and accurate statement of its

contents.

      6.     This paragraph contains conclusions of law and characterizations of

statutory and regulatory provisions, not allegations of fact, and thus no response is

required. To the extent a response is deemed necessary, Defendants deny any

characterization of the cited statutory and regulatory provisions, which speak for

themselves, and respectfully refer the Court to those provisions for a complete and

accurate statement of their contents.

      7.     This paragraph contains argument, conclusions of law,

characterizations of Florida’s CHIP Plan, and characterizations of regulatory
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provisions, not allegations of fact, and thus no response is required. To the extent a

response is deemed necessary, Defendants deny any characterization of Florida’s

CHIP Plan and the cited regulatory provisions, which speak for themselves, and

respectfully refer the Court to those materials for a complete and accurate statement

of their contents.

       8.     Defendants admit that on September 29, 2023, CMS issued a SHO

Letter, and on October 27, 2023, CMS issued FAQs. Defendants deny any

characterization of the SHO Letter and FAQs, which speak for themselves, and

respectfully refer the Court to those materials for a complete and accurate statement

of their contents.

       9.    This paragraph contains characterizations of the SHO Letter and

FAQs, not allegations of fact, and thus no response is required. To the extent a

response is deemed necessary, Defendants deny any characterization of the SHO

Letter and FAQs, which speak for themselves, and respectfully refer the Court to the

those materials for a complete and accurate statement of their contents.

       10.    This paragraph contains characterizations of the SHO Letter, FAQs,

and a statutory provision, argument and conclusions of law, not allegations of fact,

and thus no response is required. To the extent a response is deemed necessary,

Defendants deny any characterization of the SHO Letter, FAQs, or cited statutory

provision, which speak for themselves, and respectfully refer the Court to those

materials for a complete and accurate statement of their contents.



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       11.      Defendants deny the first sentence of this paragraph. This balance of

this paragraph contains argument, conclusions of law, and characterizations of

statutory and regulatory provisions, not allegations of fact, and thus no response is

required. To the extent a response is deemed necessary, Defendants deny any

characterization of the cited statutory and regulatory provisions, which speak for

themselves, and respectfully refer the Court to those provisions for a complete and

accurate statement of their contents.

       12.      Defendants deny the first sentence of this paragraph. The second

sentence of this paragraph contains argument, conclusions of law, and

characterizations of a statutory provision, not allegations of fact, and thus no

response is required. To the extent a response is deemed necessary, Defendants deny

any characterization of the cited statutory provision, which speaks for itself, and

respectfully refer the Court to the provision for a complete and accurate statement of

its contents. The third sentence of this paragraph contains argument and conclusions

of law, not allegations of fact, and thus no response is required.

       13.      Denied.

       14.      This paragraph contains argument, conclusions of law, and

characterizations of a statutory provision, not allegations of fact, and thus no

response is required. To the extent a response is deemed necessary, Defendants deny

any characterization of the cited statutory provision, which speaks for itself, and

respectfully refer the Court to the provision for a complete and accurate statement of

its contents.
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      15.    This paragraph contains argument and conclusions of law, not

allegations of fact, and thus no response is required. To the extent a response is

deemed necessary, denied.

      16.    Denied.

                                       PARTIES

      17.    Defendants admit that Plaintiff Florida is a sovereign state. The

balance of this paragraph contains argument, not allegations of fact, and thus no

response is required.

      18.    Admitted. The footnote accompanying this paragraph contains

characterizations of Plaintiffs’ complaint, not allegations of fact, and thus no

response is required.

      19.    Admitted.

      20.    Admitted.

      21.    Admitted.

      22.    Admitted.

                                LEGAL STANDARD

      23.    This paragraph contains argument, conclusions of law, and

characterizations of statutory provisions, not allegations of fact, and thus no response

is required. To the extent a response is deemed necessary, Defendants admit that the

cited statutory provisions and judicial decisions contain the quoted text, but deny any

characterization of those materials, which speak for themselves, and respectfully



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refer the Court to those materials for a complete and accurate statement of their

contents.

       24.    This paragraph contains argument and conclusions of law, not

allegations of fact, and thus no response is required. To the extent a response is

deemed necessary, Defendants admit that the cited decisions contain the quoted text,

but deny any characterization of those decisions, which speak for themselves, and

respectfully refer the Court to those decisions for a complete and accurate statement

of their contents.

       25.    This paragraph contains argument and conclusions of law, not

allegations of fact, and thus no response is required. To the extent a response is

deemed necessary, Defendants admit that the cited decisions contain the quoted text,

but deny any characterization of those decisions, which speak for themselves, and

respectfully refer the Court to those decisions for a complete and accurate statement

of their contents.

       26.    This paragraph contains argument, conclusions of law, and

characterizations of statutory provisions and judicial decisions, not allegations of

fact, and thus no response is required. To the extent a response is deemed necessary,

Defendants admit that the cited statutory provisions and judicial decisions contain

the quoted text, but deny any characterization of those materials, which speak for

themselves, and respectfully refer the Court to those materials for a complete and

accurate statement of their contents.



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                              JURISDICTION AND VENUE

       27.    This paragraph contains argument and conclusions of law, not

allegations of fact, and thus no response is required.

       28.    This paragraph contains argument, conclusions of law, and

characterizations of statutory provisions, not allegations of fact, and thus no response

is required. To the extent a response is deemed necessary, Defendants deny any

characterization of the cited statutory provisions, which speak for themselves, and

respectfully refer the Court to those materials for a complete and accurate statement

of their contents.

      29.    This paragraph contains argument and conclusions of law, not

allegations of fact, and thus no response is required. To the extent a response is

deemed necessary, Defendants admit that the cited decisions contain the quoted text,

but deny any characterization of those decisions, which speak for themselves, and

respectfully refer the Court to those decisions for a complete and accurate statement

of their contents.

       30.    The first sentence of this paragraph contains argument and conclusions

of law, not allegations of fact, and thus no response is required. To the extent a

response is deemed necessary, denied. The second, third, fourth, and fifth sentences

of this paragraph contain argument, conclusions of law, and characterizations of the

FAQs, not allegations of fact, and thus no response is required. To the extent a

response is deemed necessary, Defendants deny any characterization of the FAQs,



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which speak for themselves, and respectfully refer the Court to the FAQs for a

complete and accurate statement of their contents.

      31.    This paragraph contains argument and conclusions of law, not

allegations of fact, and thus no response is required. To the extent a response is

deemed necessary, denied.

                            FACTUAL BACKGROUND

      32.    Defendants admit that in 1997, Congress established the CHIP

program, a cooperative program between the federal government and the states. The

balance of this paragraph contains characterizations of statutory provisions, not

allegations of fact, and thus no response is required. To the extent a response is

deemed necessary, Defendants deny any characterization of the cited statutory

provisions, which speak for themselves, and respectfully refer the Court to those

provisions for a complete and accurate statement of their contents.

      33.    This paragraph contains characterizations of statutory provisions, not

allegations of fact, and thus no response is required. To the extent a response is

deemed necessary, Defendants deny any characterization of the cited statutory

provisions, which speak for themselves, and respectfully refer the Court to those

provisions for a complete and accurate statement of their contents.

      34.    This paragraph contains characterizations of statutory and regulatory

provisions, not allegations of fact, and thus no response is required. To the extent a

response is deemed necessary, Defendants admit that the cited statutory and

regulatory provisions contain the quoted text, but deny any characterization of those
                                           8
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provisions, which speak for themselves, and respectfully refer the Court to those

provisions for a complete and accurate statement of their contents.

      35.    This paragraph contains argument, conclusions of law, and

characterizations of statutory provisions, not allegations of fact, and thus no response

is required. To the extent a response is deemed necessary, Defendants deny any

characterization of the cited statutory provisions, which speak for themselves, and

respectfully refer the Court to those provisions for a complete and accurate statement

of their contents.

      36.    This paragraph contains characterizations of statutory and regulatory

provisions, not allegations of fact, and thus no response is required. To the extent a

response is deemed necessary, Defendants deny any characterization of the cited

statutory and regulatory provisions, which speak for themselves, and respectfully

refer the Court to those provisions for a complete and accurate statement of their

contents.

      37.    This paragraph contains characterizations of statutory and regulatory

provisions, not allegations of fact, and thus no response is required. To the extent a

response is deemed necessary, Defendants deny any characterization of the cited

statutory and regulatory provisions, which speak for themselves, and respectfully

refer the Court to those provisions for a complete and accurate statement of their

contents.

      38.    This paragraph contains conclusions of law and characterizations of

statutory and regulatory provisions, not allegations of fact, and thus no response is
                                           9
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 required. To the extent a response is deemed necessary, Defendants deny any

 characterization of the cited statutory and regulatory provisions, which speak for

 themselves, and respectfully refer the Court to those provisions for a complete and

 accurate statement of their contents.

       39.    This paragraph contains characterizations of regulatory provisions, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny any characterization of the regulatory

 provisions, which speak for themselves, and respectfully refer the Court to those

 provisions for a complete and accurate statement of their contents.

       40.    This paragraph contains argument, conclusions of law, and

 characterizations of statutory and regulatory provisions, not allegations of fact, and

 thus no response is required. To the extent a response is deemed necessary,

 Defendants deny any characterization of the cited statutory and regulatory

 provisions, which speak for themselves, and respectfully refer the Court to those

 provisions for a complete and accurate statement of their contents.

       41.    This paragraph contains characterizations of statutory and regulatory

 provisions, not allegations of fact, and thus no response is required. To the extent a

 response is deemed necessary, Defendants deny any characterization of the cited

 statutory and regulatory provisions, which speak for themselves, and respectfully

 refer the Court to those provisions for a complete and accurate statement of their

 contents.



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       42.     This paragraph contains conclusions of law and characterizations of

 statutory and regulatory provisions, not allegations of fact, and thus no response is

 required. To the extent a response is deemed necessary, Defendants deny any

 characterization of the cited statutory and regulatory provisions, which speak for

 themselves, and respectfully refer the Court to those provisions for a complete and

 accurate statement of their contents.

       43.    This paragraph contains characterizations of statutory and regulatory

 provisions, not allegations of fact, and thus no response is required. To the extent a

 response is deemed necessary, Defendants admit that the cited statutory and

 regulatory provisions contain the quoted text, but deny any characterization of those

 provisions, which speak for themselves, and respectfully refer the Court to those

 provisions for a complete and accurate statement of their contents.

       44.    This paragraph contains characterizations of regulatory provisions, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants admit that the cited statutory and regulatory

 provisions contain the quoted text, but deny any characterization of those provisions,

 which speak for themselves, and respectfully refer the Court to those provisions for a

 complete and accurate statement of their contents.

       45.    Defendants admit that in 1990, before Congress established CHIP, the

 Florida Legislature created the Florida Healthy Kids Corporation as a public-private

 partnership. The balance of this paragraph contains argument, not allegations of fact,

 and thus no response is required.
                                            11
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       46.    With respect to the first sentence, Defendants admit that the program

 began in Volusia County as a demonstration project under the Omnibus Budget

 Reconciliation Act of 1989. The balance of the first sentence contains

 characterizations of statutory provisions, not allegations of fact, and thus no response

 is required. To the extent a response is deemed necessary, Defendants deny any

 characterization of the statutory provisions, which speak for themselves, and

 respectfully refer the Court to those provisions for a complete and accurate statement

 of their contents. With respect to the second sentence, Defendants admit that by

 1995, the federal funding had ended. The balance of the second sentence contains

 characterizations of Demonstration Report, not allegations of fact, and thus no

 response is required. To the extent a response is deemed necessary, Defendants deny

 any characterization of the Demonstration Report, which speaks for itself, and

 respectfully refer the Court to that report for a complete and accurate statement of its

 contents.

       47.    This paragraph contains conclusions of law and characterizations of

 statutory and regulatory provisions, not allegations of fact, and thus no response is

 required. To the extent a response is deemed necessary, Defendants deny any

 characterization of the cited statutory and regulatory provisions, which speak for

 themselves, and respectfully refer the Court to those provisions for a complete and

 accurate statement of their contents.

       48.    Admitted.



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       49.    The first two sentences of this paragraph, including footnote 2, contain

 characterizations of Florida’s CHIP Plan, not allegations of fact, and thus no

 response is required. To the extent a response is deemed necessary, Defendants deny

 any characterization of Florida’s CHIP Plan, which speaks for itself, and respectfully

 refer the Court to Florida’s CHIP Plan for a complete and accurate statement of its

 contents. Defendants lack sufficient knowledge or information to form a belief as to

 the truth of the allegations in the third sentence of this paragraph. Footnote 3

 contains characterizations of Florida’s CHIP Plan, not allegations of fact, and thus

 no response is required. To the extent a response is deemed necessary, Defendants

 deny any characterization of Florida’s CHIP Plan, which speaks for itself, and

 respectfully refer the Court to Florida’s CHIP Plan for a complete and accurate

 statement of its contents.

       50.    This paragraph contains characterizations of Florida’s CHIP Plan, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny any characterization of Florida’s CHIP Plan,

 which speaks for itself, and respectfully refer the Court to Florida’s CHIP Plan for a

 complete and accurate statement of its contents.

       51.    This paragraph contains characterizations of Florida’s CHIP Plan, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny any characterization of Florida’s CHIP Plan,

 which speaks for itself, and respectfully refer the Court to Florida’s CHIP Plan for a

 complete and accurate statement of its contents.
                                            13
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       52.    This paragraph contains characterizations of Florida’s CHIP Plan, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny any characterization of Florida’s CHIP Plan,

 which speaks for itself, and respectfully refer the Court to Florida’s CHIP Plan for a

 complete and accurate statement of its contents.

       53.    Defendants lack sufficient knowledge or information to form a believe

 as to the truth of the allegations in this paragraph.

       54.    The first sentence of this paragraph contains argument and conclusions

 of law, not allegations of fact, and thus no response is required. To the extent a

 response is deemed necessary, Defendants deny any characterization of Florida’s

 constitution, which speaks for itself, and respectfully refer the Court to Florida’s

 constitution for a complete and accurate statement of its contents. The second

 sentence of this paragraph contains argument, not allegations of fact, and thus no

 response is required.

       55.    This paragraph contains argument, conclusions of law, and

 characterizations of a statutory provision and a government report, not allegations of

 fact, and thus no response is required. To the extent a response is deemed necessary,

 Defendants deny any characterization of the cited statutory provision and

 government report, which speak for themselves, and respectfully refer the Court to

 the cited statutory provision and government report for a complete and accurate

 statement of their contents.



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       56.    This paragraph contains characterizations of Florida’s CHIP Plan, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny any characterization of Florida’s CHIP Plan,

 which speaks for itself, and respectfully refer the Court to Florida’s CHIP Plan for a

 complete and accurate statement of its contents.

       57.    The first sentence contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. The second and third sentences

 contain characterizations of Florida’s CHIP Plan, not allegations of fact, and thus no

 response is required. To the extent a response is deemed necessary, Defendants deny

 any characterization of Florida’s CHIP Plan, which speaks for itself, and respectfully

 refer the Court to Florida’s CHIP Plan for a complete and accurate statement of its

 contents. The fourth sentence contains characterizations of Florida’s demonstration

 project, not allegations of fact, and thus no response is required. To the extent a

 response is deemed necessary, Defendants deny any characterization of Florida’s

 demonstration project, which speaks for itself, and respectfully refer the Court to

 Florida’s demonstration report for a complete and accurate statement of its contents.

 The fifth sentence contains characterizations of law, not allegations of fact, and thus

 no response is required. To the extent a response is deemed necessary, Defendants

 deny any characterization of Florida state law, which speaks for itself, and

 respectfully refer the Court to the cited provision for a complete and accurate

 statement of its contents.



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       58.    The first sentence contains characterizations of Florida’s CHIP Plan,

 not allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny any characterization of Florida’s CHIP Plan,

 which speaks for itself, and respectfully refer the Court to Florida’s CHIP Plan for a

 complete and accurate statement of its contents. Defendants lack sufficient

 knowledge or information to form a belief as to the truth of the allegations in the

 balance of this paragraph.

       59.    Defendants admit that on June 22, 2023, Governor DeSantis signed

 Florida H.B. 121. Defendants deny any characterization of H.B. 121, which speaks

 for itself, and respectfully refer the Court to the cited provision for a complete and

 accurate statement of its contents. Defendants lack sufficient knowledge of

 information to form a belief as to the truth of the allegations in the balance of this

 paragraph.

       60.    This paragraph contains characterizations of Florida’s “New 5-year

 Section 1115 Demonstration Request Full Public Notice,” not allegations of fact, and

 thus no response is required. To the extent a response is deemed necessary,

 Defendants deny any characterization of the cited public notice, which speaks for

 itself, and respectfully refer the Court to the public notice for a complete and accurate

 statement of its contents.

       61.    Defendants lack sufficient knowledge or information to form a belief as

 to the truth of the allegations in this paragraph.



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       62.    This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required.

       63.    This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required.

       64.    This paragraph and accompanying footnote contain argument and

 conclusions of law, not allegations of fact, and thus no response is required.

       65.    This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny.

       66.    This paragraph contains argument, conclusions of law, and

 characterizations of statutory and regulatory provisions, not allegations of fact, and

 thus no response is required. To the extent a response is deemed necessary,

 Defendants deny any characterization of the cited statutory and regulatory

 provisions, which speak for themselves, and respectfully refer the Court to those

 provisions for a complete and accurate statement of their contents.

       67.    Defendants admit that the cited bills addressing CHIP were introduced

 in Congress but not enacted, and that they contain the quoted text, but deny any

 characterization of those bills, which speak for themselves, and respectfully refer the

 Court to those bills for a complete and accurate statement of their contents.

       68.    Defendants admit the first sentence of this paragraph. The second

 sentence is denied.



                                            17
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       69.    The first sentence is denied except to admit that the SHO Letter

 contains the quoted text. The second sentence contains argument, conclusions of

 law, and characterizations of the SHO Letter, not allegations of fact, and thus no

 response is required. To the extent a response is deemed necessary, Defendants deny

 any characterization of the SHO Letter, which speaks for itself, and respectfully refer

 the Court to the SHO Letter for a complete and accurate statement of its contents.

       70.    This paragraph contains characterizations of the SHO Letter, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny any characterization of the SHO Letter, which

 speaks for itself, and respectfully refer the Court to the SHO Letter for a complete

 and accurate statement of its contents.

       71.    This paragraph contains characterizations of the SHO Letter, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny any characterization of the SHO Letter, SHO

 Letter, which speaks for itself, and respectfully refer the Court to the SHO Letter for

 a complete and accurate statement of its contents.

       72.    This paragraph contains characterizations of the SHO Letter, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny any characterization of the SHO Letter, which

 speaks for itself, and respectfully refer the Court to the SHO Letter for a complete

 and accurate statement of its contents.



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       73.    Defendants admit the first sentence of this paragraph. The second

 sentence is denied.

       74.    The first sentence of this paragraph contains characterizations of the

 FAQs, not allegations of fact, and thus no response is required. To the extent a

 response is deemed necessary, Defendants deny any characterization of the FAQs,

 which speak for themselves, and respectfully refer the Court to the FAQs for a

 complete and accurate statement of their contents. The second sentence is denied.

       75.    This paragraph contains characterizations of the FAQs, not allegations

 of fact, and thus no response is required. To the extent a response is deemed

 necessary, Defendants deny any characterization of the FAQs, which speak for

 themselves, and respectfully refer the Court to the FAQs for a complete and accurate

 statement of their contents.

       76.    This paragraph contains characterizations of the FAQs, not allegations

 of fact, and thus no response is required. To the extent a response is deemed

 necessary, Defendants deny any characterization of the FAQs, which speak for

 themselves, and respectfully refer the Court to the FAQs for a complete and accurate

 statement of their contents.

       77.    This paragraph and accompanying footnote contain characterizations of

 the FAQs, statutory provisions, and regulatory provisions, not allegations of fact,

 and thus no response is required. To the extent a response is deemed necessary,

 Defendants deny any characterization of the FAQs and cited statutory and



                                           19
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 regulatory provisions, which speak for themselves, and respectfully refer the Court to

 those materials for a complete and accurate statement of their contents.

       78.    This paragraph contains characterizations of the FAQs, not allegations

 of fact, and thus no response is required. To the extent a response is deemed

 necessary, Defendants deny any characterization of the FAQs, which speak for

 themselves, and respectfully refer the Court to the FAQs for a complete and accurate

 statement of their contents.

       79.    As to the first sentence, Defendants admit that, on October 10, 2023,

 CMS informed Florida that its anticipated request to expand its CHIP could not be

 approved through a state plan amendment, and that the state would instead need to

 apply for a waiver under section 1115 of the Social Security Act. As to the second

 sentence, Defendants admit that, on October 30, 2023, CMS informed Florida that it

 would need to submit a state plan amendment modifying Florida CHIP to align with

 the understanding of the CAA 2023 reflected in the SHO Letter and FAQs.

 Defendants deny any remaining allegations.

       80.    Defendants admit that CMS informed Florida that it would not

 anticipate approving a waiver under section 1115 that allowed the disenrollment of

 children in the proposed expansion population for failure to pay premiums during

 the continuous eligibility period. Defendants deny any remaining allegations.

       81.    Admitted.

       82.    Defendants admit that on December 18, 2023, Secretary Becerra sent a

 letter to Governor DeSantis. The balance of this paragraph contains
                                           20
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 characterizations of the letter, not allegations of fact, and thus no response is

 required. To the extent a response is deemed necessary, Defendants deny any

 characterization of the letter, which speaks for itself, and respectfully refer the Court

 to the letter for a complete and accurate statement of its contents.

       83.    This paragraph contains characterizations of the December 18, 2023,

 letter, not allegations of fact, and thus no response is required. To the extent a

 response is deemed necessary, Defendants deny any characterization of the letter,

 which speaks for itself, and respectfully refer the Court to the letter for a complete

 and accurate statement of its contents.

       84.    This paragraph contains characterizations of the December 18, 2023,

 letter, not allegations of fact, and thus no response is required. To the extent a

 response is deemed necessary, Defendants deny any characterization of the letter,

 which speaks for itself, and respectfully refer the Court to the letter for a complete

 and accurate statement of its contents.

       85.    This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny any characterization of the FAQs and the

 relevant provisions of the CAA 2023, which speak for themselves, and respectfully

 refer the Court to those materials for a complete and accurate statement of their

 contents.

       86.    This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is
                                             21
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 deemed necessary, Defendants deny any characterization of the FAQs and the

 relevant provisions of the CAA 2023, which speak for themselves, and respectfully

 refer the Court to those materials for a complete and accurate statement of their

 contents.

       87.    The first and second sentences contain argument and conclusions of

 law, not allegations of fact, and thus no response is required. To the extent a

 response is deemed necessary, denied. The third sentence consists of speculation,

 not allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, denied. The fourth sentence contains argument, conclusions of

 law, and characterizations of the FAQs, not allegations of fact, and thus no response

 is required. To the extent a response is deemed necessary, Defendants deny any

 characterization of the FAQs, which speak for themselves, and respectfully refer the

 Court to the FAQs for a complete and accurate statement of their contents.

       88.    This paragraph characterizes a declaration concerning Florida’s

 “anticipate[d]” compliance costs. Defendants deny any characterization of that

 declaration, which speaks for itself, and respectfully refer the Court to that

 declaration for a complete and accurate statement of its contents.

       89.    This paragraph contains speculation and argument, not allegations of

 fact, and thus no response is required. To the extent a response is deemed necessary,

 denied.




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       90.    This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, denied.

       91.    This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, denied.

       92.    The first three sentences of this paragraph contains argument and

 conclusions of law, not allegations of fact, and thus no response is required. To the

 extent a response is deemed necessary, Defendants deny any characterization of the

 cited statutory provisions, which speak for themselves, and respectfully refer the

 Court to those provisions for a complete and accurate statement of their contents.

 The fourth sentence contains argument and conclusions of law, not allegations of

 fact, and thus no response is required. To the extent a response is deemed necessary,

 Defendants deny any characterization of the cited regulation and the FAQs, which

 speak for themselves, and respectfully refer the Court to those materials for a

 complete and accurate statement of their contents.

       93.    The first two sentences are denied. The balance of this paragraph

 contains argument, conclusions of law, and characterizations of statutory provisions

 and Florida’s CHIP Plan, not allegations of fact, and thus no response is required.

 To the extent a response is deemed necessary, Defendants deny any characterization

 of the cited statutory provisions and Florida’s CHIP Plan, which speak for



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 themselves, and respectfully refer the Court to those materials for a complete and

 accurate statement of their contents.

       94.    Denied.

                                CLAIMS FOR RELIEF

                                     COUNT ONE

       95.    Defendants restate and incorporate by reference the responses

 contained in all preceding paragraphs.

       96.    This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny any characterization of the cited statutory

 provision, which speaks for itself, and respectfully refer the Court to the provision for

 a complete and accurate statement of its contents.

       97.    Denied.

       98.    This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, denied except to admit that 42 C.F.R. § 457.342(b) has not been

 rescinded via notice-and-comment rulemaking.

       99.    Denied.

       100. The first sentence contains argument, conclusions of law, and

 characterizations of Florida’s CHIP Plan, not allegations of fact, and thus no

 response is required. To the extent a response is deemed necessary, Defendants deny

 any characterization of Florida’s CHIP Plan, which speaks for itself, and respectfully
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 refer the Court to Florida’s CHIP Plan for a complete and accurate statement of its

 contents. The second sentence is denied.

                                     COUNT TWO

       101. Defendants restate and incorporate by reference the responses

 contained in all preceding paragraphs.

       102. This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny any characterization of the cited statutory

 provision, which speaks for itself, and respectfully refer the Court to the provision for

 a complete and accurate statement of its contents.

       103. This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, denied.

       104. This paragraph contains argument, conclusions of law, and

 characterizations of Florida’s CHIP Plan, not allegations of fact, and thus no

 response is required. To the extent a response is deemed necessary, Defendants deny

 any characterization of Florida’s CHIP Plan and cited statutory provisions, which

 speak for themselves, and respectfully refer the Court to Florida’s CHIP Plan and

 those provisions for a complete and accurate statement of their contents.

       105. This paragraph contains argument, conclusions of law, and

 characterizations of Florida’s CHIP Plan, not allegations of fact, and thus no

 response is required. To the extent a response is deemed necessary, Defendants deny
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 any characterization of Florida’s CHIP Plan and the cited regulatory provisions,

 which speak for themselves, and respectfully refer the Court to Florida’s CHIP Plan

 and those provisions for a complete and accurate statement of their contents.

       106. This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny any characterization of the cited statutory

 provisions, which speak for themselves, and respectfully refer the Court to those

 provisions for a complete and accurate statement of their contents.

       107. This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny any characterization of the cited regulatory

 provisions, which speak for themselves, and respectfully refer the Court to those

 provisions for a complete and accurate statement of their contents.

       108. Denied.

       109. This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, denied.

       110. This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny any characterization of the cited regulatory

 provisions, which speak for themselves, and respectfully refer the Court to those

 provisions for a complete and accurate statement of their contents.
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       111. This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, denied.

       112. Denied.

       113. This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, denied.

       114. Denied.

                                   COUNT THREE

       115. Defendants restate and incorporate by reference the responses

 contained in all preceding paragraphs.

       116. This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny any characterization of the cited statutory

 provisions and judicial decisions, which speak for themselves, and respectfully refer

 the Court to those materials for a complete and accurate statement of their contents.

       117. This paragraph contains characterizations of the FAQs, not allegations

 of fact, and thus no response is required. To the extent a response is deemed

 necessary, Defendants deny any characterization of the FAQs, which speak for

 themselves, and respectfully refer the Court to the FAQs for a complete and accurate

 statement of their contents.



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       118.    This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, denied.

       119. This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, denied.

       120. This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny any characterization of the cited case, which

 speaks for itself, and respectfully refer the Court to that case for a complete and

 accurate statement of its contents.

       121. This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, denied.

       122. This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, denied.

       123. This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, denied.




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                                    COUNT FOUR

       124. Defendants restate and incorporate by reference the responses

 contained in all preceding paragraphs.

       125. This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny any characterization of the cited statutory

 provisions, which speak for themselves, and respectfully refer the Court to those

 provisions for a complete and accurate statement of their contents.

       126. This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny any characterization of the cited statutory

 provisions and case law, which speak for themselves, and respectfully refer the Court

 to those materials for a complete and accurate statement of their contents.

       127. Denied.

       128. Denied.

       129. Denied.

                                     COUNT FIVE

       130. Defendants restate and incorporate by reference the responses

 contained in all preceding paragraphs.

       131. This paragraph contains argument and conclusions of law, not

 allegations of fact, and thus no response is required. To the extent a response is

 deemed necessary, Defendants deny any characterization of the cited statutory
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 provision, which speaks for itself, and respectfully refer the Court to the provision for

 a complete and accurate statement of its contents.

        132. Denied.

                                 PRAYER FOR RELIEF

        The remaining paragraphs of the complaint contain a prayer for relief, to

 which no response is required. To the extent a response is deemed necessary,

 Defendants deny the allegations contained in the prayer for relief, and further aver

 that Plaintiffs are not entitled to the requested relief or any other relief from

 Defendants.

        Defendants deny any and all allegations in the complaint not expressly

 admitted herein to which a response is deemed required.

                                        DEFENSES

        1.     This Court lacks subject matter jurisdiction over this action.

        2.     Venue is not proper in this district.

        3.     The complaint fails to state a claim upon which relief can be granted.

        4.     Defendants’ actions did not violate the Administrative Procedure Act,

 the Social Security Act, or any other statutory or regulatory provision.

                                     CONCLUSION

        WHEREFORE, having fully answered, Defendants respectfully request that

 the Court enter judgment dismissing this action with prejudice and awarding

 Defendants costs and such other relief as the Court may deem appropriate.



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 DATED: May 14, 2024                Respectfully submitted,

                                    BRIAN M. BOYNTON
                                    Acting Assistant Attorney General

                                    ERIC B. BECKENHAUER
                                    Assistant Director

                                    /s/ Madeline McMahon
                                    MADELINE M. MCMAHON (DC Bar No.
                                    1720813)
                                    Trial Attorney
                                    U.S. Department of Justice
                                    Civil Division, Federal Programs Branch
                                    1100 L Street NW
                                    Washington, D.C. 20005
                                    (202) 451-7722
                                    Madeline.m.mcmahon@usdoj.gov

                                    Counsel for Defendants




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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

STATE OF FLORIDA, et al.,

      Plaintiffs,

v.                                               Case No. 8:24-cv-317-WFJ-AAS

CENTERS FOR MEDICARE AND
MEDICAID SERVICES, et al.,

     Defendants.
_________________________________/

                                     ORDER

      Before the Court is Plaintiffs State of Florida and Florida Agency for Health

Care Administration’s (collectively, “Florida”) Motion for Preliminary Injunction

(Dkt. 2). Defendants Centers for Medicare and Medicaid Services, Department of

Health and Human Services, Administrator for the Centers for Medicare and

Medicaid Services, and Secretary of the Department of Health and Human

Services (collectively, “CMS”) have responded (Dkt. 22), and Florida has replied

(Dkt. 23). On April 18, 2024, the Court held a hearing on this matter (Dkt. S-30).

Upon careful consideration, and with the benefit of able argument by both sides,

the Court denies Florida’s Motion. The Court lacks subject-matter jurisdiction over

this dispute due to the statutory review scheme contained in 42 U.S.C. § 1316. The

instant case is dismissed without prejudice.
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                                 BACKGROUND

   I.      Medicaid and CHIP

        Medicaid and CHIP are joint federal-state programs that enable states to

extend medical coverage to low-income individuals under Title XIX (Medicaid)

and Title XXI (CHIP) of the Social Security Act. 42 U.S.C § 1396, et. seq.; id. §

1397aa, et. seq. To participate in either, each state must create a specific plan that

fulfills the conditions specified in 42 U.S.C. § 1396a(a) or 42 U.S.C. §§ 1397aa–

1397bb and submit the plan for approval. Id. § 1396a(b); id. §1397ff(a)–(c); 42

C.F.R. § 457.150(a)–(c). Upon approval, states administer their plans, and the

federal government provides funding to help defray costs. A state dissatisfied with

a determination concerning whether “a State plan . . . submitted . . . for approval”

conforms to federal requirements can request reconsideration and a hearing, and

can ultimately petition a U.S. Court of Appeals for review. 42 U.S.C.

§ 1316(a)(1)–(3), (b); see id. § 1397gg(e)(2)(B) (incorporating 42 U.S.C. § 1316).

        Despite this overlap, Medicaid and CHIP are distinct programs. CHIP

specifically aims to provide subsidized health insurance to children in low-income

families who do not qualify for free health coverage under Medicaid. 42 U.S.C. §§

1397aa–1397bb; see also id. § 1396o(a)(1), (2)(A). Per the statute, “[n]othing” in

CHIP is to “be construed as providing an individual with an entitlement to child

health assistance under a State [CHIP] plan.” Id. § 1397bb(b)(5). States may

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require “premiums, deductibles, coinsurance, and other cost sharing” as a condition

of enrollment in CHIP. Id. § 1397cc(e)(1)(A); 42 C.F.R. § 457.510. States can also

disenroll CHIP participants for nonpayment of premiums if the state provides

sufficient notice and a grace period for late payments. See 42 U.S.C.

§ 1397cc(e)(3)(C); 42 C.F.R. §§ 457.342(b), 457.570.

   II.      Continuous Eligibility under Medicaid and CHIP

         Prior to January 1, 2024, Title XIX gave states the option to provide children

with twelve months of “continuous eligibility” for Medicaid. 42 U.S.C.

§ 1396a(e)(12) (2022). A child “determined to be eligible for benefits” would

thereby remain “eligible” for twelve months even if the child’s circumstances

changed in a way that would otherwise render the child ineligible. Id. Under CMS

regulation, states also had the option to provide continuous eligibility to CHIP

participants under Title XXI. 42 C.F.R. § 457.342(a); see 81 Fed. Reg. 86382,

86464 (Nov. 30, 2016) (adding 42 C.F.R. § 457.342).

         CMS regulations previously provided five exceptions to continuous

eligibility for Medicaid: (1) “[t]he child attains the maximum age specified”; (2)

“[t]he child or child’s representative requests a voluntary termination of

eligibility”; (3) “[t]he child ceases to be a resident of the State”; (4) the state

“determines that eligibility was erroneously granted”; or (5) “[t]he child dies.” 42

C.F.R. § 435.926(d). CMS regulation incorporated these exceptions for the CHIP

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 continuous eligibility option as well, while also providing that CHIP participants

 may “be terminated during the continuous eligibility period for failure to pay

 required premiums or enrollment fees.” Id. § 457.342(b).

       This optional system was changed by the Consolidated Appropriations Act

 of 2023 (“2023 CAA”), which itself amended the Social Security Act. It is now

 required that “an individual who is under the age of 19 and who is determined to

 be eligible for benefits under a State [Medicaid] plan . . . remain eligible for such

 benefits” for twelve-months following the eligibility determination unless the

 individual “attains the age of 19” or “ceases to be a resident of such State.” Pub. L.

 No. 117-328, § 5112(a), 136 Stat. 4459, 5940 (2022) (amending 42 U.S.C.

 § 1396a(e)(12)). Congress made the same requirement applicable to CHIP by

 reference in 42 U.S.C. § 1397gg(e)(1). See Pub. L. No. 117-328, § 5112(b), 136

 Stat. at 5940 (amending 42 U.S.C. § 1397gg(e)(1)(K)). Still, the 2023 CAA

 amendments did not discuss CHIP enrollment for CHIP eligible children.

    III.   Florida CHIP

       In 1990, approximately seven years prior to the enactment of CHIP, Florida

 began a demonstration project under the Omnibus Budget Reconciliation Act of

 1989, Pub. L. No. 101-239, § 6407, 103 Stat. 2106, 2266 (1989). This program

 offered subsidized health insurance to children in low-income families, and

 Congress later grandfathered it into CHIP. 42 U.S.C. § 1397cc(a)(3), (d)(1). At this

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 time, Florida required premium payments for CHIP enrollment. Dkt. 2-2 at 85. It

 also allowed for a period of continuous eligibility, meaning that eligible

 participants could be disenrolled from Florida CHIP for non-payment of premiums

 while retaining their eligible status.

       Florida CHIP still requires monthly premiums. Id. at 24–25, 178–79. Florida

 claims that it collects approximately $30 million in annual premium payments and

 that cost-sharing is vital to the sustainability and expansion of its CHIP program.

 Florida also maintains that CHIP cost-sharing enables it to meet the balanced

 budget requirement of the Florida Constitution. Id. at 8 (citing Fla. Const. art. III,

 § 19(a); id. art. VII, § 1(d)); see Dkt. 2-1 (Noll Declaration) at 3, ¶ 4; Staff of

 Florida H.R. Health Care Servs. Comm., Review of the Implementation of the

 Florida KidCare Act 7–8 (Sept. 1999), http://www.leg.state.fl.us/data/Publications/

 2000/House/reports/interim_reports/pdf/kidcare.pdf. Finally, Florida interprets its

 law as requiring the disenrollment of CHIP participants for failure to pay

 premiums even where a CHIP participant is in a period of continuous eligibility.

 See Fla. Stat. §§ 409.8132(8), 624.91(5)(b)(9).

    IV.    The State Health Official (“SHO”) Letter and FAQs

       In light of the 2023 CAA amendments, on September 29, 2023, CMS issued

 a SHO Letter partially concerning continuous eligibility requirements for Medicaid

 and CHIP participants. Dkt. 2-3 at 4–6. While the 2023 CAA amendments

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 explicitly provide for only two exceptions to continuous eligibility—attaining the

 age of 19 or ceasing to be a resident of the subject state—the SHO Letter instructed

 states that they were “expected to” continue terminating Medicaid and CHIP

 eligibility during continuous eligibility periods for all five reasons previously

 specified in regulation. Id. at 5–6; 42 C.F.R. §§ 435.926(d), 457.342(b). CMS was,

 however, “still assessing how non-payment of premiums intersects with

 [continuous eligibility] under the CAA.” Dkt. 2-3 at 5 n.14.

         CMS issued the FAQs one month later. Dkt. 2-4. The first question asked

 was whether “[S]tates [may still] terminate CHIP coverage during a continuous

 eligibility (CE) period due to non-payment of premiums?” Id. at 2. CMS answered

 “No.” Id. The FAQs noted that “[t]here is not an exception to [continuous

 eligibility] for non-payment of premiums” under the 2023 CAA amendments;

 accordingly, the “existing regulatory option at 42 CFR § 457.342(b) for states

 operating a separate CHIP to consider non-payment of premiums as an exception

 to [continuous eligibility] [was to] end on December 31, 2023.” Id.

    V.     The Instant Lawsuit

         On February 1, 2024, Florida sued CMS. Florida argues that FAQs violate

 the Administrative Procedure Act (“APA”) because they are: (1) contrary to law;

 (2) in excess of CMS’s authority in implementing the 2023 CAA amendments; and

 (3) arbitrary and capricious. Dkt. 1 at 28–37. Florida also argues that the FAQs—a

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 legislative rule that allegedly confuses eligibility and enrollment—can only be

 issued through notice-and-comment rulemaking. Florida now moves for a

 preliminary injunction preventing CMS from enforcing the FAQs. Dkt. 2.

       CMS responds that: (1) Florida’s claims are not ripe for adjudication; (2) the

 Social Security Act impliedly precludes district court jurisdiction; (3) the FAQs are

 mandated by the 2023 CAA amendments; (4) the FAQs are an interpretive rule

 exempt from APA rulemaking requirements; (5) Florida does not face irreparable

 harm; and (6) the equities do not favor injunctive relief. See generally Dkt. 22.

                                LEGAL STANDARD

       To obtain a preliminary injunction concerning the enforcement of the FAQs,

 Florida must show that: “(1) it has a substantial likelihood of success on the merits;

 (2) irreparable injury will be suffered unless the injunction issues; (3) the

 threatened injury to the movant outweighs whatever damage the proposed

 injunction may cause the opposing party; and (4) if issued, the injunction would

 not be adverse to the public interest.” Siegel v. LePore, 234 F.3d 1163, 1176 (11th

 Cir. 2000) (en banc). “The first two factors are ‘the most critical.’” Swain v.

 Junior, 958 F.3d 1081, 1088 (11th Cir. 2020) (quoting Nken v. Holder, 556 U.S.

 418, 434 (2009)). Further, “the third and fourth factors [tend to] merge when, as

 here, the government is the opposing party.” Gonzalez v. Governor of Georgia,

 978 F.3d 1266, 1271 (11th Cir. 2020) (cleaned up) (citations omitted).

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                                      DISCUSSION

    I.        Jurisdiction

         CMS argues that 42 U.S.C. § 1316 impliedly precludes district court

 jurisdiction over the instant dispute. The Court agrees and will therefore not

 address the merits or CMS’s ripeness arguments.

         i.      Implied Preclusion

         District courts “have original jurisdiction of all civil actions arising under the

 Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. Sometimes,

 however, “[a] special statutory review scheme . . . may preclude district courts

 from exercising jurisdiction over challenges to federal agency action.” Axon Enter.,

 Inc. v. FTC, 598 U.S. 175, 185 (2023). In these situations, “[t]he agency fills in for

 the district court, with the court of appeals providing judicial review.” Id. at 185.

         The first implied preclusion issue to consider is whether Congress has

 created a “comprehensive review process . . . that oust[s] district court jurisdiction”

 over challenges to CMS action. Id. at 186 (citing Thunder Basin Coal Co. v. Reich,

 510 U.S. 200, 208 (1994)). Contrary to Florida’s suggestions, this is a preliminary

 question focused on whether there is a valid statutory review scheme that provides

 for some level of exclusive agency review. It is not a means of avoiding or

 diminishing the central considerations posed by implied preclusion caselaw. See

 Elgin v. Dep't of Treasury, 567 U.S. 1, 9–18 (2012) (addressing the existence and

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 validity of an exclusive statutory review scheme before going on to consider

 whether the particular claims brought were of the type Congress intended to be

 reviewed within that scheme under the Thunder Basin factors); Free Enter. Fund v.

 Pub. Co. Accounting Oversight Bd., 561 U.S. 477, 489–92 (2010) (same); Thunder

 Basin, 510 U.S. at 207–16 (same); Axon Enter., 598 U.S. at 185–96 (same).

       A valid and comprehensive review process undoubtedly exists here. 42

 U.S.C. § 1316(a)(1), made applicable to CHIP through 42 U.S.C. §1397gg(e)(2),

 provides for administrate review of state CHIP plans. “Any State dissatisfied with

 a determination [by CMS]” may “file a petition with [CMS] for reconsideration of

 the issue of whether such plan conforms to the requirements for approval under

 [CHIP].” 42 U.S.C. § 1316(a)(2). And, “[a]ny State which is dissatisfied with a

 final determination made by [CMS] on such a reconsideration or final

 determination” may petition for review in the appropriate circuit court. Id. §

 1316(a)(3). Florida does not contest the constitutionality of this statutory scheme

 or the fact that it provides for some level of exclusive agency review of CMS

 action. Nor could it—the Supreme Court has routinely held similar statutory

 schemes valid. The Court sees no reason to treat 42 U.S.C. § 1316 differently.

       The next issue, and the heart of the implied preclusion inquiry, is “whether

 the particular claims brought [are] ‘of the type congress intended to be reviewed’”

 under 42 U.S.C. § 1316. Axon Enter., 598 U.S. at 186 (quoting Thunder Basin, 510

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 U.S. at 208). The Supreme Court has identified three factors to consider in making

 this determination: (1) “could precluding district court jurisdiction foreclose all

 meaningful judicial review of the claim”; (2) “is the claim wholly collateral to the

 statute’s review provisions”; and (3) “is the claim outside of the agency’s

 expertise[.]” Axon Enter., 598 U.S. at 186. “The ultimate question is how best to

 understand what Congress has done—whether the statutory review scheme, though

 exclusive where it applies, reaches the claim[s] in question.” Id.

       Precluding district court jurisdiction would not rule out all meaningful

 judicial review of Florida’s claims. Like the statutes in Thunder Basin and Elgin,

 42 U.S.C. § 1316 “does not foreclose all judicial review . . . but merely directs that

 judicial review shall occur [at the appellate court level].” Elgin, 567 U.S. at 10.

 There is no indication that the Eleventh Circuit is incapable of meaningfully

 reviewing Florida’s APA claims. At least one other federal circuit, moreover, has

 already reviewed APA claims under 42 U.S.C. § 1316 which came on appeal from

 a final CMS determination. See W. Virginia v. Thompson, 475 F.3d 204, 209–14

 (4th Cir. 2007) (reviewing appeal of final CMS determination that was, among

 other things, allegedly violative of 5 U.S.C. § 706(2)(A)). The Court finds such

 review to be adequate, just as other courts have in the past. See New York v. U.S.

 Dept. of Health & Human Services, 07 CIV.8621 (PAC), 2008 WL 5211000, at

 *16 (S.D.N.Y. Dec. 15, 2008) (finding that 42 U.S.C. § 1316 did not foreclose

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 meaningful judicial review of the plaintiffs’ APA claims); see also Axon Enter.,

 598 U.S. at 190 (noting that “Thunder Basin and Elgin both make clear that

 adequate judicial review does not usually demand a district court’s involvement”).

       Florida’s cannot avoid this conclusion by reference to the injury it might

 suffer from “betting the farm” on a decision to ignore the FAQs. In Axon, the

 Supreme Court took care to emphasize the importance of limiting exceptions to

 statutory review schemes which are based on the “the interaction between the

 alleged injury and the timing of review.” 598 U.S. at 191. The majority elaborated

 on this limit by juxtaposing two categories of injuries. On one hand, there are

 injuries like those alleged by the Axon plaintiffs. These “here-and-now” injuries

 include subjection to illegitimate proceedings led by an illegitimate decisionmaker

 and can be synonymized with a violation of established immunity rights. Id. at 192.

 They would exist even if the claimants “won before the agency” because they have

 nothing to do with a particular agency action. And they cannot be redressed on

 appeal or any time after the agency proceedings have begun. Id. at 191–92. On the

 other hand, there are the types of injuries that “could have” been argued by the

 Thunder Basin and Elgin plaintiffs. Id. at 192. These include “greater litigation

 costs” and the “expense and disruption of protracted adjudicatory proceedings.” Id.

 (citations and internal quotations omitted). Unlike the former category of injuries

 which stem from structural constitutional challenges, this latter category does “not

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 justify immediate review.” Id. Such injuries are dependent on the outcome of

 agency proceedings or “other decisions made within it,” and do not interact with

 the timing of agency review so as to preclude later, meaningful judicial review. Id.

       Florida’s asserted potential “bet the farm” injury does not belong in the

 category of injuries that justify immediate district court intervention. It is important

 to recognize that “betting the farm” in this context equates to betting some amount

 of access to arguably unrecoverable federal funding for Florida’s CHIP program.

 Such a loss is wholly dependent on the outcome of a lengthy administrative review

 process that culminates in review by the Eleventh Circuit. Florida’s claims,

 furthermore, do not invoke the type of structural constructional concerns that might

 result in here-and-now injuries sufficient to synonymize Florida with the Axon

 plaintiffs. They instead focus on potential CMS action—something that Congress

 provided an alternative review scheme for by way of 42 U.S.C. § 1316.

       Free Enterprise Fund does not change the Court’s analysis. There, among

 other things, the plaintiffs argued that the Serbanes-Oxley Act (the basis of the

 defendant agency’s authority) “contravened the separation of powers by conferring

 wide-ranging executive power on Board members without subjecting them to

 Presidential control.” Free Enter. Fund, 561 U.S. at 487. This is precisely the type

 of constitutional claim that the Axon majority differentiated from the types of

 claims brought by Florida. These claims result in potential here-and-now injuries

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 independent of any outcome because they challenge structural legitimacy and

 imply a right not to be subjected to actions and proceedings at all. It follows that

 Florida is comparing apples and oranges. Its potential “bet the farm” injuries are

 financial in nature and founded on claims that do not focus on inherent

 constitutional deficiencies.

       Florida also cites Free Enterprise Fund out of context. While courts

 “normally do not require plaintiffs to bet the farm . . . by taking violative action

 before testing the validity of the law,” id. at 490 (citations and internal quotations

 omitted), this Order would merely require Florida to do what all states must do in

 order to receive or retain federal CHIP funding—submit their CHIP plan to CMS

 and allow CMS to review it before seeking judicial review. In Free Enterprise

 Fund, by contrast, the Supreme Court found unreasonable the idea that the

 plaintiffs should go out of their way to incur an unrelated sanction simply to

 supplement “an uncomplimentary inspection report” that was itself not reviewable.

 Id. Requiring individuals to purposefully break rules and subject themselves to

 costly fines cannot be fairly compared with requiring a state to follow established

 statutory and regulatory procedures. Florida can seek and obtain meaningful

 judicial review of its APA claims under 42 U.S.C. § 1316.

       The next sub-issue is whether Florida’s claims are wholly collateral to the

 statute’s review provisions. They are not. Florida’s only argument to the contrary

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 is that CMS has made no “determination;” and thus, there is nothing to review

 under 42 U.S.C. § 1316. The problem with this argument is obvious. Florida

 “cannot avoid the statutorily established administrative-review process by rushing

 to the federal courthouse for an injunction preventing the very action that would set

 the administrative-review process in motion.” Doe v. F.A.A., 432 F.3d 1259, 1263

 (11th Cir. 2005). This is, however, precisely what Florida seeks to do by having

 the Court enter an injunction to bar CMS from enforcing the FAQs’ interpretation

 of the 2023 CAA amendments against it.

       If there is any doubt as to this point, one need only take a closer look at Doe.

 There, the Eleventh Circuit explained the pertinent facts as follows:

       After an investigation revealed (and a subsequent criminal trial
       confirmed beyond a reasonable doubt) that the school from which the
       Plaintiffs received their airmen certificates fraudulently examined and
       certified some applicants for those certificates, the FAA concluded
       that the existence of aircraft mechanics unqualified to hold certificates
       and perform aircraft maintenance posed a serious threat to air safety.
       The FAA was unable to determine which of the mechanics who
       received their certificates from the implicated school had been
       fraudulently certified. Therefore, the FAA wrote letters to the
       Plaintiffs (and approximately 2,000 other mechanics who had been
       certified at the school during the relevant time period) stating that
       reexamination of their airmen competency was necessary under 49
       U.S.C. § 44709. The FAA took no action to suspend or revoke the
       mechanics' certificates. Rather than submitting to reexamination or
       refusing reexamination, thereby risking an FAA order suspending or
       revoking their certificates, the Plaintiffs filed this action in federal
       district court and sought a preliminary injunction instructing the FAA
       how to proceed in its process of reexamination.



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 Id. at 1260. The facts in this case are remarkably similar. CMS released the FAQs

 and requested amended CHIP plans from states that treated nonpayment of

 premiums as an exception to continuous eligibility. Dkt. 2-4 at 2. Rather than

 submitting an amended plan or risking an adverse determination, Florida filed this

 action in federal court seeking a preliminary injunction. This Florida cannot do.

 Further, no reasonable statutory interpretation could result in a finding that CHIP

 plan compliance is wholly collateral to the review provisions of 42 U.S.C. § 1316.1

        Florida’s claims are also not outside CMS’s expertise. It is undisputed that

 any analysis of Florida’s APA claims will largely turn on properly interpreting the

 Medicaid and CHIP statutes. Interpretation of these statutes falls squarely within

 CMS’s realm of expertise, especially considering Medicaid and CHIP’s recognized

 complexities. See Thompson, 475 F.3d at 212 (explaining that “[t]he Medicaid

 statute is a prototypical ‘complex and highly technical regulatory program’

 benefitting from expert administration, which makes deference particularly

 warranted”) (citation omitted). Indeed, Florida does not claim “that tenure

 protections violate Article II,” Axon Enter., 598 U.S. at 194, or “object[] to

 “[CMS’s] existence,” Free Enter. Fund, 561 U.S. at 490. The Court has little doubt


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   The Court also notes that the Supreme Court has found some APA challenges to be
 “inextricably intertwined” with challenges to specific agency determinations. Heckler v. Ringer,
 466 U.S. 602, 614 (1984) (finding the plaintiff’s APA challenge to be inextricably intertwined
 with her claim concerning the invalidity of an agency determination about whether a certain
 surgery is reimbursable under Medicare). This is all the more reason to find that Florida’s claims
 are not “wholly collateral,” if collateral at all, to the review provisions in 42 U.S.C. § 1316.
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 that “exclusive review before [CMS] is appropriate” and that “agency expertise

 could be brought to bear on” Florida’s claims. Thunder Basin, 510 U.S. at 215

 (internal quotations and citations omitted) (cleaned up).

       In sum, Congress’s intent to allocate initial review of Florida’s claims to

 CMS is “fairly discernable in [42 U.S.C. § 1316].” Id. at 207. The Court

 consequently lacks subject-matter jurisdiction over Florida’s claims and dismisses

 this case without prejudice. See Stalley ex rel. U.S. v. Orlando Reg'l Healthcare

 Sys., Inc., 524 F.3d 1229, 1232 (11th Cir. 2008) (“A dismissal for lack of subject-

 matter jurisdiction . . . is entered without prejudice.”) (cleaned up).

                                    CONCLUSION

       Accordingly, it is hereby ORDERED and ADJUDGED:

       (1) Florida’s Motion for Preliminary Injunction (Dkt. 2) is DENIED.

       (2) This case is DISMISSED WITHOUT PREJUDICE.

       DONE AND ORDERED at Tampa, Florida, on May 31, 2024.

                                         /s/ William F. Jung
                                         WILLIAM F. JUNG
                                         UNITED STATES DISTRICT JUDGE

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 Counsel of Record




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                        CERTIFICATE OF SERVICE

      I hereby certify that on September 23, 2024, I electronically filed the

foregoing document with the Clerk of this Court by using the CM/ECF system,

which will serve all parties automatically.


Dated: September 23, 2024                     /s/ Jared M. Kelson
                                              Jared M. Kelson

                                              Counsel for Florida Agency for Health
                                              Care Administration
